      Case 4:23-cv-04155-YGR Document 11-1 Filed 08/17/23 Page 1 of 142




 1 MICHAEL W. BIEN – 096891                         OREN NIMNI*
   ERNEST GALVAN – 196065                            Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                         AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                    Md. Bar No. 2112150205
 3 ROSEN BIEN                                       D DANGARAN*
   GALVAN & GRUNFELD LLP                             Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                  RIGHTS BEHIND BARS
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 5 Telephone: (415) 433-6830                        Washington, D.C. 20001-0506
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                kjanssen@rbgg.com                                amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                         d@rightsbehindbars.org
 8 SUSAN M. BEATY – 324048                          *
                                                     Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                              UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF KARA J.
   themselves and all others similarly situated,            JANSSEN IN SUPPORT OF
17               Plaintiffs,                                PLAINTIFFS’ MOTIONS FOR
                                                            PRELIMINARY INJUNCTION
18        v.                                                AND PROVISIONAL CLASS
                                                            CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4339247.1]                                                            Case No. 3:23-cv-04155
          DECLARATION OF KARA J. JANSSEN IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, Kara J. Janssen, declare:
 2                 1.     I am an attorney duly admitted to practice before this Court. I am Senior
 3 Counsel in the law firm of Rosen Bien Galvan & Grunfeld LLP, and counsel of record for
 4 the Plaintiffs and Proposed Class. I have personal knowledge of the facts set forth herein,
 5 and if called as a witness I could competently so testify. I make this declaration in support
 6 of Plaintiffs’ Motion for Provisional Class Certification.
 7                 2.     From its formation in 1990, RBGG has been a nationally recognized leader
 8 in civil rights, employment, consumer, and antitrust class action litigation. The firm has
 9 specialized in large class action lawsuits seeking to improve conditions in correctional
10 systems. The firm has long specialized in large class action lawsuits seeking to improve
11 conditions in correctional systems. For example, the firm is currently lead or co-lead class
12 counsel in the following correctional class actions: Armstrong v. Brown (N.D. Cal. No. C
13 94-2307 CW), a class action on behalf of prisoners and parolees with disabilities
14 incarcerated in the California state prison and parole systems; Coleman v. Brown (E.D.
15 Cal. No. S 90-0520 KJM-DB P), a class action on behalf of prisoners with psychiatric
16 disabilities incarcerated in the California state prison system; Hernandez v. County of
17 Monterey (N.D. Cal. No. 13-cv-2534 BLF), a class action on behalf of prisoners, including
18 prisoners with disabilities, held at the Monterey County Jail; Hedrick v. Grant (E.D. Cal.
19 No. 2:76-cv-00162-GEB-EFB), a class action on behalf of prisoners and detainees held at
20 the Yuba County Jail; Cole v. County of Santa Clara (N.D. Cal. No. 5:16-cv-06594-LHK),
21 a class action on behalf of prisoners with mobility disabilities at the Santa Clara County
22 Jails; and Babu v. County of Alameda (N.D. Cal No. 5:18-cv-07677), a class action on
23 behalf of prisoners at the Alameda County Jail.
24                 3.     Michael Bien is a partner at RBGG and received his J.D. from Northwestern
25 University School of Law in 1980. Mr. Bien co-founded Rosen, Bien & Asaro, which later
26 because Rosen Bien Galvan & Grunfeld, in 1990. Mr. Bien served as Managing Partner at
27 Rosen Bien Galvan & Grunfeld from 1990 until December 31, 2017. Mr. Bien has
28 substantial experience representing incarcerated persons including in: Armstrong v.
     [4339247.1]                                 1                          Case No. 3:23-cv-04155
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 1 Newsom (N.D. Cal. No. C 94-2307) (class action against CDCR on behalf of over 10,000
 2 prisoners and parolees with certain disabilities, including mobility impairments); Coleman
 3 v. Newsom (E.D. Cal. No. S 90-0520 KJM-DB) (class action against CDCR regarding
 4 mental health treatment); Sabata v. Nebraska (D. Neb. No. 4:17-cv-03107-RFR-MDN)
 5 (action on behalf of incarcerated individuals in Nebraska state prisons); and Hernandez v.
 6 County of Monterey (N.D. Cal. No. 5:13-cv-2354 BLF) (class action on behalf of all
 7 prisoners and a disability sub-class in the Monterey County Jail); L.H. v. Schwarzenegger,
 8 2:-06-02042-LKK-DAD (E.D. Cal.) (a class action under the 8th and 14th Amendments,
 9 the ADA, and the Rehabilitation Act on behalf of all juvenile wards and parolees in
10 California’s Department of Juvenile Justice); Hecker v. California Dep’t of Corrections
11 and Rehabilitation, 2:05-cv-02441-KJM-DAD (E.D. Cal.) (ADA and Rehabilitation Act
12 class action lawsuit against the California Department of Corrections and Rehabilitation on
13 behalf of all prisoners with psychiatric disabilities). Mr. Bien’s work is reflected in many
14 published decisions including Brown v. Plata, 131 S.Ct. 1910 (2011) (upholding first
15 disputed prison population cap order under the Prison Litigation Reform Act of 1996);
16 Coleman v. Brown, 428 Fed. Appx. 743 (9th Cir. 2011) (upholding district court order
17 against state prison system to ensure access to inpatient psychiatric hospital beds); Valdivia
18 v. Schwarzenegger, 599 F.3d 984 (9th Cir. 2010), rehearing en banc denied, 623 F.3d 849,
19 cert. denied, Brown v. Valdivia, 131 S.Ct. 1626 (2011) (addressing interaction between
20 federal due process rights and state administrative procedures); Coleman v.
21 Schwarzenegger, 922 F. Supp. 2d 882 (E.D. Cal. and N.D. Cal. 2009) (first successful
22 contested trial under 1996 statute limiting federal court issuance of prison overcrowding
23 relief). Mr. Bien received numerous awards and instances of peer recognition for my
24 litigation work, including but not limited to Martindale Hubble AV-rating, repeated
25 selection for the Northern California “Super Lawyer” list in Civil Rights, First
26 Amendment, and Business Litigation, and a 2010 CLAY Award. Mr. Bien have been
27 named by the San Francisco and Los Angeles Daily Journal to its list of the Top 100
28 Lawyers in California ten times—in 2010, 2013, and 2015–2022. Mr. Bien has been
    [4339247.1]                                 2                          Case No. 3:23-cv-04155
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 1 recognized by Best Lawyers in America for Commercial Litigation since 2013. In 2021,
 2 the Daily Journal named Mr. Bien as one of California’s Top Lawyers of the Decade. A
 3 copy of Mr. Bien’s resume is attached hereto as Exhibit A.
 4                 4.   Ernest Galvan is a partner at RBGG and received his J.D. from Yale Law
 5 School in 1997. Mr. Galvan clerked in the United States District Court for the Central
 6 District of California for the Honorable Dean D. Pregerson. Upon completing his
 7 clerkship, Mr. Galvan joined the law firm Rosen, Bien & Asaro, which later became Rosen
 8 Bien Galvan & Grunfeld, as an associate. Mr. Galvan became a partner of the firm in
 9 2006. Mr. Galvan has substantial experience representing incarcerated persons including
10 in: Armstrong v. Newsom (N.D. Cal. No. C 94-2307) (class action against CDCR on behalf
11 of over 10,000 prisoners and parolees with certain disabilities, including mobility
12 impairments); Coleman v. Newsom (E.D. Cal. No. S 90-0520 KJM-DB) (class action
13 against CDCR regarding mental health treatment); Sabata v. Nebraska (D. Neb. No. 4:17-
14 cv-03107-RFR-MDN) (action on behalf of incarcerated individuals in Nebraska state
15 prisons); and Hernandez v. County of Monterey (N.D. Cal. No. 5:13-cv-2354 BLF) (class
16 action on behalf of all prisoners and a disability sub-class in the Monterey County Jail).
17 Mr. Galvan’s work is reflected in many published decisions including Brown v. Plata, 131
18 S.Ct. 1910 (2011) (upholding first disputed prison population cap order under the Prison
19 Litigation Reform Act of 1996); Coleman v. Brown, 428 Fed. Appx. 743 (9th Cir. 2011)
20 (upholding district court order against state prison system to ensure access to inpatient
21 psychiatric hospital beds); Valdivia v. Schwarzenegger, 599 F.3d 984 (9th Cir. 2010),
22 rehearing en banc denied, 623 F.3d 849, cert. denied, Brown v. Valdivia, 131 S.Ct. 1626
23 (2011) (addressing interaction between federal due process rights and state administrative
24 procedures); Coleman v. Schwarzenegger, 922 F. Supp. 2d 882 (E.D. Cal. and N.D.
25 Cal. 2009) (first successful contested trial under 1996 statute limiting federal court
26 issuance of prison overcrowding relief). Mr. Galvan has also been recognized as
27 California Lawyer of the Year in 2012 by the California Lawyer Magazine; as a Best
28 Lawyers in America for Appellate Practice and Civil Rights from 2014 to 2021 and by
     [4339247.1]                                 3                          Case No. 3:23-cv-04155
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 1 Northern California SuperLawyers since 2010. A copy of Mr. Galvan’s resume is
 2 attached hereto as Exhibit B.
 3                 5.   I am senior counsel at RBGG and a 2010 graduate of New York University
 4 School of Law, where I was a Root-Tilden-Kern Scholar. I have substantial experience
 5 representing incarcerated individuals in litigation involving prison and jail conditions
 6 including in Cole v. County of Santa Clara, (N.D. Cal. No. 16-CV-06594-LHK (class
 7 action on behalf of prisoners with mobility disabilities); Jewett v. Shasta County (E.D. Cal.
 8 No. 2:13-cv-0882 MCE AC (PC)) (class action on behalf of prisoners with mobility
 9 disabilities); LSPC v. Ahern (Alameda Cnty. Sup. Ct. No. RG12656266) (taxpayer action
10 on behalf of prisoners with mobility disabilities); G.F. v. Contra Costa County (N.D. Cal.
11 No. 3:13-cv-03667-MEJ) (class action on behalf of juveniles with psychiatric disabilities);
12 and Babu v. County of Alameda (N.D. Cal No. 5:18-cv-07677), a class action on behalf of
13 prisoners at the Alameda County Jail. I have been named a Rising Star by Northern
14 California SuperLawyers for the years 2017 through present. A copy of my resume is
15 attached hereto as Exhibit C.
16                 6.   Ginger Jackson-Gleich is an associate at RBGG and a 2018 graduate of
17 Harvard Law School, where she graduated cum laude and served as an editor of the
18 Harvard Law Review. She has experience representing incarcerated individuals in
19 litigation involving prison and jail conditions including in Coleman v. Brown (E.D. Cal.
20 No. S 90-0520 KJM-DB P), a class action on behalf of prisoners with psychiatric
21 disabilities incarcerated in the California state prison system, and she has also assisted with
22 the creation and enforcement of federal consent decrees in the policing context. She has
23 represented clients in state criminal proceedings (in both Massachusetts and California)
24 and in federal compassionate release proceedings. A copy of Ms. Jackson-Gleich’s resume
25 is attached hereto as Exhibit D.
26                 7.   RBGG has done extensive work investigating the claims in this case and has
27 the capacity to prosecute the claims thoroughly and vigorously in this case and properly
28 represent the plaintiff class and subclass and intends to commit all necessary resources to
     [4339247.1]                                 4                          Case No. 3:23-cv-04155
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 1 do so.
 2                 8.     To my knowledge, RBGG has no conflicts of interest that would prevent the
 3 firm from providing zealous representation of the named plaintiffs and the class.
 4                 9.     Attached as Exhibit E is a true and correct copy of Federal Bureau of
 5 Prisons, Population Statistics, last updated August 10, 2023.
 6                 10.    Attached as Exhibit F is a true and correct copy of the United States Senate
 7 Permanent Subcommittee on Investigations, Committee on Homeland Security and
 8 Governmental Affairs Staff Report titled “Sexual Abuse of Female Inmates in Federal
 9 Prisons” dated December 13, 2022.
10                 11.    Attached as Exhibit G is a true and correct copy of the Principal Associate
11 Deputy Attorney General Working Group Report and Recommendations Concerning the
12 Department of Justice’s Response to Sexual Misconduct by Employees of the Federal
13 Bureau of Prisons, dated Nov. 2, 2022.
14                 I declare under penalty of perjury under the laws of the State of California that the
15 foregoing is true and correct, and that this declaration is executed at San Francisco, CA
16 this 17 day of August, 2023.
17
18
19                                                         /s/ Kara J. Janssen
20                                                         Kara J. Janssen

21
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27
28
     [4339247.1]                                 5                          Case No. 3:23-cv-04155
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    EXHIBIT                                           A
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                                                                            Michael W. Bien
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San Francisco, California 94105-1738                                            F: (415) 433-7104
                                                                             E: mbien@rbgg.com



Recognized for his significant legal work by various publications and organizations, Michael
Bien has helped numerous clients resolve complex legal challenges. Mr. Bien has served as lead
counsel in numerous trial and appellate proceedings in state and federal courts. In addition to his
business practice, Mr. Bien has been at the forefront of public interest litigation on behalf of
persons with limited access to the civil justice system.

PERSONAL DATA
Born: New York, N.Y., 1955

EDUCATION
J.D., cum laude, Northwestern University School of Law, Chicago, Illinois (1980), President,
Student Bar Association; President, Founder and Director, Student Funded Public Interest
Fellowships, Inc.

B.A., magna cum laude, Brandeis University, Waltham, Massachusetts (1977), high department
honors in History and American Studies

National Institute of Trial Advocacy, National Session, Boulder, Colorado (1986)

BAR ADMISSION
California, January, 1981; member, United States Supreme Court, Seventh and Ninth Circuit
Court of Appeals, and all United States District Courts in California

LEGAL EMPLOYMENT
Rosen Bien Galvan & Grunfeld LLP; San Francisco, California                           1991–present
Founding Partner & Managing Partner (1991-2017)

Brobeck, Phleger & Harrison, LLP; San Francisco, California
Partner, Litigation Department                                                           1987–1990
Associate, Litigation Department                                                         1980–1987




[264599.7]                                                                        Revised October 6, 2022
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                                                                         Michael W. Bien – Page 2


REPRESENTATIVE REPORTED CASES:
U.S. WeChat Users Alliance v. Trump, 488 F. Supp. 3d 912 (N.D. Cal. 2020)(briefed and argued
as lead counsel granting preliminary injunction on First Amendment grounds against Executive
Order and Commerce Department banning WeChat and successfully opposing Emergency stay
petition in 9th circuit)

Brown v. Plata, 131 S. Ct. 1910 (2011) (briefed as co-lead counsel, secured favorable ruling in
United States Supreme Court affirming lower court order to reduce prison overcrowding in
California)

Hernandez v. County of Monterey, 110 F. Supp. 3d 929 (N.D. Cal. 2015), Hernandez v. County
of Monterey, 305 F.R.D. 132 (N.D. Cal. 2015), Hernandez v. County of Monterey, 70 F.Supp.3d
963 (N.D. Cal. 2014) (lead counsel in successful class action against County of Monterey and
health care provider over jail conditions, ADA, mental health care, medical care, resulted in
Stipulated Injunction requiring systemic changes)

Armstrong v. Brown, 732 F.3d 955 (9th Cir. 2013), cert denied, — S. Ct. —, 2014 WL 859563
(June 9, 2014) (lead counsel for plaintiff class securing favorable ruling under ADA and Rehab
Act against State for parolees with disabilities housed in County Jails)

Armstrong v. Brown, 857 F. Supp. 2d 919 (N.D. Cal. 2012) (lead counsel for plaintiff class
securing favorable ruling under ADA and Rehab Act against State for parolees with disabilities
housed in County Jails)

Armstrong v. Brown, 805 F. Supp. 2d 918 (N.D. Cal. 2011) (awarding plaintiff class’s counsel
their reasonable hourly rates)

Armstrong v. Schwarzenegger, 622 F.3d 1058 (9th Cir. 2010) (argued, briefed as lead counsel,
secured favorable ruling regarding federal disability rights and scope of federal regulations)

Armstrong v. Davis, 318 F.3d 965 (9th Cir. 2003) (argued, briefed as co-lead counsel, secured
favorable ruling regarding complex interaction among three separate federal statutory schemes
governing remedies for disability discrimination)

Armstrong v. Davis, 275 F.3d 849 (9th Cir. 2001) (briefed as co-lead counsel, secured favorable
rulings regarding class certification and federal court power to remedy civil rights violations by a
state government)

Bui v. I.N.S., 76 F.3d 268 (9th Cir. 1996) (lead counsel, secured reversal of immigration appeals
ruling)

Coleman v. Brown, 28 F. Supp. 3d 1068 (E.D. Cal. 2014) (lead counsel for trials resulting in
court finding additional Eighth Amendment violations and ordering additional affirmative relief
to mentally ill prisoners subject to excessive uses of force, undue disciplinary measures, and
segregated housing in California prison system)



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                                                                         Michael W. Bien – Page 3


Coleman v. Brown, 938 F. Supp. 2d 955 (E.D. Cal. 2013) (lead counsel securing ruling that
ongoing Eighth Amendment violations relating to suicide prevention, use of segregated housing,
delays in access to care, and shortages in treatment space precluded termination of lawsuit under
PLRA brought on behalf of mentally ill prisoners in California prison system)

Coleman v. Schwarzenegger, 922 F. Supp. 2d 882 (E.D. Cal. and N.D. Cal. 2009) (co-lead
counsel successfully litigating motion to convene a three-judge court and trial resulting in order
requiring the State of California to reduce its prisoner population as the only means to remedy
ongoing constitutional violations in the provision of medical and mental health care)

Coleman v. Wilson, 101 F.3d 705 (9th Cir. 1996) (argued, briefed as lead counsel, successfully
defended favorable preliminary injunction by having appeal dismissed for lack of jurisdiction)

Coleman v. Wilson, 912 F. Supp. 1282 (E.D. Cal. 1995) (co-lead counsel for trial and briefing
affirming findings of Eighth Amendment violations in the provision of mental health care to
California prisoners and ordering the development and implementation of remedial plans)

Committee to Save Mokelumne River v. East Bay Mun. Utility Dist., 13 F.3d 305 (9th Cir. 1993)
(lead counsel, successfully defended ruling on coverage of Clean Water Act)

Gates v. Shinn, 98 F.3d 463 (9th Cir. 1996) (argued, briefed as co-lead counsel, ruling clarified
contempt powers in complex injunction cases)

Gates v. Gomez, 60 F.3d 525 (9th Cir. 1995) (argued, briefed as co-lead counsel, successfully
defended almost all portions of federal injunctive relief against state government agencies)

Gates v. Deukmejian, 987 F.2d 1392 (9th Cir. 1992) (briefed as co-lead counsel, successfully
defended core elements of district court’s ruling on civil rights attorneys’ fees)

Hernandez v. County of Monterey, 110 F. Supp. 3d 929 (N.D. Cal. 2015)

Hernandez v. County of Monterey, 305 F.R.D. 132 (N.D. Cal. 2015)

Hernandez v. County of Monterey, 70 F. Supp. 3d 963 (N.D. Cal. 2014)

L.H. v. Brown, 848 F. Supp. 2d 1141 (E.D. Cal. 2011)

L.H. v. Schwarzenegger, 519 F. Supp.2d 1072 (E.D. Cal. 2007)

Lucas v. White, 63 F. Supp.2d 1046 (N.D. Cal. 1999) (Lead counsel for Equal Access to Justice
fees award for successful representation of three female prisoners sexually assaulted in BOP
prisons who were paid damages and obtained injunctive relief)

Estate of Prasad v. County of Sutter, 958 F. Supp. 2d 1101 (E.D. Cal. 2013)




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             Case 4:23-cv-04155-YGR Document 11-1 Filed 08/17/23 Page 11 of 142



                                                                          Michael W. Bien – Page 4


Wilson v. U.S. Dist. Court, 103 F.3d 828 (9th Cir. 1996) (argued, briefed as co-lead counsel,
successfully defended favorable district court decision on statutory retroactivity)

REPRESENTATIVE MATTERS
Coleman/Plata v. Newsom, (co-lead counsel representing prisoner class in successful 2009 trial
before federal three-judge court, affirmed by the U.S. Supreme Court, 131 S. Ct. 1910 (2011),
holding that California must reduce prison overcrowding; succeeded on multiple appeals and
writs in 9th Circuit and U.S. Supreme Court)

Azizian v. Federated Department Stores, 499 F.3d 950 (9th Cir. 2007) (co-counsel defending
lead defendant, cosmetics company, Estee Lauder in state court antitrust action which was settled
as a nationwide federal consent decree completed in 2009 including trial and appeal work)

Genencor, Inc. and Genentech, Inc. v. Pfizer, Inc. and Sonoma Foods, Inc. (co-counsel in
successful defense of Pfizer in federal patent action against action for infringement of blocking
patents in biotech case involving Kosher cheese)

Berkeley Center for Independent Living v. Oakland Coliseum (co-lead counsel representing
plaintiff class in successful federal court ADA action against the Coliseum, its public entity
owners and all sports teams and entertainment companies operating at Coliseum)

Computer Education Managers Association (antitrust consulting)

Equity Properties and Development Company (lead counsel in real estate/construction litigation
matters in state court including trial and a successful appeal, McGilvray v. Rouse, (First District
Court of Appeal 1996))

Fluor-Daniel Corporation (lead counsel representing construction company in various
commercial litigation matters in state court)

IDG v. Diversified Data Corp., Santa County Superior Court (lead counsel in successful
representation of software company in trade secrets, right-to-compete, litigation)

NextCard Inc. (lead counsel in representation of internet bank in various litigation matters
including securities, antitrust, intellectual property, breach of contract and employment, in state
and federal court)

Nordlin v. K Mart Corporation, California Court of Appeal, 5th District and California Supreme
Court (1996) (representation of plaintiff in successful state court post-trial and appellate
employment discrimination matter)

Primark Benefits (lead counsel in defense of various actions in state court arising from mergers
and acquisitions)

Systron Donner v. Aerosafe International, Contra Costa County Superior Court and First District
Court of Appeal (co-lead counsel in successful representation of former employees and their new


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                                                                         Michael W. Bien – Page 5


company in state court intellectual property action alleging theft of trade secrets where
inventions were patented, included appellate proceedings)

In re Coordinated Pretrial Proceedings in Petroleum Products Antitrust, (one of key attorneys
on team in successful representation of defendant Union Oil Corporation of California in multi-
year antitrust proceedings concerning oil and gas pricing)

BAR ACTIVITIES
Board Member, Disability Rights Bar Association (2016-2022)

Board Member, First District Appellate Project (2008-present)
Mediator and ENE Evaluation, United States District Court for Northern District of California
(1994–present)
Bar Association of San Francisco, Judiciary Committee (Chair, 1989; Member, 1987–1989)
State Bar of California, Commission on Corrections (Member, 1987–1989)
American Bar Association, Antitrust Section, State Action and Internet Law Subcommittees;
Litigation Section (1984–Present)
San Francisco Public Interest Law Foundation (Director, 1981–1983)
TEACHING, WRITING AND LECTURING
Hastings Law School, Panel re: Solitary Confinement Claims (2022)
Economics Roundtable of San Francisco, Criminal Justice Reform (2021)
Academic and Health Policy Conference on Criminal Justice Health (2021)
McGeorge School of Law, Current Issues on Prisoner Rights (2021)
UCLA Law School, Prisoner Rights class (2021)
Presenter, “New Challenges Raised by Decarceration: Discrimination in Population Reduction
Tactics” (2017)
Guest Lecturer, Disability Rights Bar Association, West Coast Conference, Uber Litigation
(2016)
Presenter, American Bar Association Live Webinar, Recent Reforms in the Law of Solitary
Confinement (2016)
Guest Lecturer, Jacobus TenBroek Disability Law Symposium, Baltimore (2016, 2014, 2012)
Guest Lecturer, International Conference on Solitary Confinement, University of Pittsburg Law
School (2016)
Guest Lecturer, Juveniles in Adult Institutions, UC Hastings (2015)
Guest Lecturer, “De-incarceration through Civil Rights Litigation,” Northwestern University
School of Law, the Roderick and Solange MacArthur Justice Center (2015)



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                                                                       Michael W. Bien – Page 6


“Court Should Affirm 9th Circuit On Crisis Intervention Policing,” (with Lisa Ells) (Daily
Journal, Oct. 24, 2014)
Guest Lecturer, Sentencing & Corrections class, Stanford Law School (2014)
Guest Lecturer, “Coleman/Plata and Its Transformative Impact on California’s Prison System,”
Stanford Law School, American Constitution Society (2014)
Guest Lecturer, Prisoners' Advocates, Loyola University School of Law, New Orleans (2014)
Guest Lecturer, UCI Law School (2013)
Guest Lecturer, AAJ Civil Rights Education Program (2013)
Guest Lecturer, “Health Care After Plata,” UC Hastings Law School Conference, California
Correctional Crisis: Realignment & Reform (2013)
Guest Lecturer, Impact Fund’s 11th Annual Class Action Conference (2013)
Guest Lecturer, “Impact Litigation at the Appellate Level,” San Francisco Bar Association
Panel(2012)
Guest Lecturer, “Realignment in California,” UC Irvine Law School, Public Dialogues
Conference (2012)
Guest Lecturer, “Holding the Correction System Accountable,” Berkeley Law School, Caleb
Foote Symposium (2012)
Guest Lecturer, “Brown v. Plata: The California Prison Overcrowding Crisis,” Northwestern
University School of Law, American Constitution Society (2011)
Guest Lecturer, Prisoner Rights Law, Northwestern University School of Law (2011)
Joshua A. Guberman Lecture (with Jane Kahn), “Representing Prisoners with Serious Mental
Illness, Trapped in a Nightmare: The California Prison Overcrowding Case,” Brandeis
University (2011)
Guest Lecturer, Advanced Seminar on Criminal Law and Public Policy, Stanford University
(2011)
Ruth Chance Lecture, “Brown v. Plata, 131 S. Ct. 1910 (2011),” University of California,
Berkeley, Thelton E. Henderson Center for Social Justice (2011)
Guest Lecturer, “The California Prison Overcrowding Case: Strategic Considerations in the
Representation of an Unpopular and Feared Class in the Defense of Fundamental Constitutional
Rights,” University of Chicago Law School, American Constitution Society (2011)
Workshop Leader, “Bridging the Gap Between the Disability Rights Movement and Other Civil
Rights Movements,” Jacobus tenBroek Disability Law Symposium (2011)
Guest Lecturer, Prisoners Rights, Northwestern University School of Law, American
Constitution Society (2010)
Guest Lecturer, “Private – Public Interest Law,” Northwestern University School of Law, Public
Interest Law Group and Bluhm Legal Clinic (2010)


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                                                                          Michael W. Bien – Page 7


Guest Lecturer, “Triaging and Financing Prison Cases,” Yale Law School, Prisoners’ Rights
Litigation: A Workshop for Advocates (2010)
Guest Lecturer, “California Prison Overcrowding and the Supreme Court,” Northwestern
University School of Law (2009)
Panelist, “Prison Overcrowding Decision,” KQED Forum, San Francisco (2009)
Guest Lecturer, “Prisoner Release Orders and the California Litigation,” George Washington
University School of Law, Prison Litigation Conference (2008)
Panelist and Guest Lecturer, Symposium on Prison Crisis, University of San Francisco Law
School (2008)
Guest Lecturer, “California Prison Crisis,” Boalt Hall School of Law (2007)
Panelist and Guest Lecturer, “California Prison Overcrowding Crisis,” UCLA School of Law,
Prison Class Action Litigation Conference (2007)
Guest Lecturer, “Mental Health in Prisons,” University of California, Berkeley School of Public
Health, Advanced Seminar in Community Mental Health (2006, 2007, 2008, 2009)
Panelist, “Back-End Sentencing and Technical Parole Violations,” Stanford Law School (2006)
Guest Lecturer, “Police Misconduct and Institutional Reform Litigation In California,” Lorman
Education Services, San Francisco (2005)
Panelist, “Civil Rights Litigation: Overused or Under Siege?”, Northern District of California
Judicial Conference (2002)
Instructor in Trial Practice, National Institute of Trial Advocacy, Mid-West Regional at
Northwestern University School of Law (1994, 1997, 1998); Mid-West Regional at Loyola
University School of Law (2001); Western Regional at Golden Gate Law School (1996, 1997);
Western Regional at Boalt Hall School of Law (2000); Deposition Program (2000, 2001)
Panelist, “Prisoner Civil Rights Litigation,” University of California, Berkeley, Critical
Resistance Conference (1998)
Co-author, ABA Antitrust Section, Monograph No. 19, The Noerr-Pennington Doctrine, ABA,
Antitrust Section (1993)
Author, Litigation as an Antitrust Violation: Conflict Between the First Amendment and the
Sherman Act, 16 U.S.F. L. Rev. 41 (1981)
Panelist, “State-Action Immunity, Recent Developments,” ABA Annual Meeting, Antitrust
Section (1990 and 1987)
Panelist, “Part-time Work in Law,” ABA Annual Meeting, Law Practice Management Section
(1990)
Author, “Judicial Selection Process,” San Francisco Lawyer Magazine (1989)
Panelist, “Local Government Antitrust Immunity Act, Recent Developments,” ABA Annual
Meeting, Antitrust Section (1986)



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                                                                      Michael W. Bien – Page 8


Instructor, “Trial Practice,” “Motion Practice,” “Antitrust Law,” Brobeck, Phleger & Harrison
in-house programs (1985–1990)

COMMUNITY ACTIVITIES
Reentry Council of the City and County of San Francisco (Subcommittee Member, 2009-
present)
New Israel Fund (Board of Trustees Member, 2021-present, International Council Member,
2011-2021, Regional Council Member, 2006–present, Chair, Regional Council, 2011-2018)
Congregation Beth Sholom (Rabbi Search Committee, 2007)
Camp Tawonga (Director, 2003–2008)
Religious Witness With Homeless People (Member, Steering Committee, 2003–present)
Jewish Vocational Service (various, 2003–2007)
Brandeis Hillel Day School of San Francisco and Marin (President, 1998–2000; Trustee, 1990–
1996, 1998–2002; Head Search Committee, 2005)
Wexner Heritage Foundation (Fellow, 2000–2002)
Jewish Community Federation (Planning & Allocations Committee, Jewish Education
Subcommittee, Chair, S.F. Division of Campaign, 1995–2002)
Metropolitan YMCA of San Francisco (Director, 1985–1989)
Mission YMCA (Chairperson, Board of Managers, 1985–1989)

HONORS
Daily Journal, Top Lawyers of the Decade (2021)
Morrison-Gitchoff Founders Award, Western Society of Criminology (2017)
Martindale Hubbell AV Rated
The Best Lawyers in America, in Commercial Litigation (2013-2022)
Brandeis University, Alumni Activist Award (with Jane Kahn) (2011)
Leonard E. Weinglass in Defense of Civil Liberties Award, American Association for Justice
(2011)
Selected as Northern California “Super Lawyer” in Civil Rights/First Amendment, Business
Litigation, Antitrust Litigation (2006, 2008-2022)
Daily Journal’s Top 100 List, “California’s Leading Attorneys” (2010, 2013, 2015- 2022)
California Lawyer Magazine, California Lawyer of the Year (“CLAY”) Award for Constitutional
Law (2010, 2020, 2022)
Northwestern University School of Law, Student Funded Public Interest Fellowships, Public
Service Award (2010)



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                                                                       Michael W. Bien – Page 9


The Recorder Attorneys of the Year (2009)
Honored for work on California parole revocation reform, California Public Defender
Association (2005)
Outstanding Mental Health Advocate, California Coalition for Mental Health (2003)
Lion of Judah Award, Brandeis Hillel Day School (2000)
Honoree, California Attorneys for Criminal Justice (1994)
Fellow, American Bar Foundation (1988)
Volunteer of the Year, Mission YMCA (1988)
Pro Bono Award, State Bar of California (1985)
Center for Urban Affairs Fellowship, Northwestern University (1979)

AREAS OF SPECIALTY
  Antitrust Litigation and Counseling       Real Property Litigation
  Trade Practices                           Complex Litigation
  Trade Secrets                             Commercial Litigation
  Intellectual Property                     Disabilities Law
  Class Actions                             Mental Health Law
  Attorneys’ Fees                           Civil Rights
  Securities Litigation                     Prisoner Rights
  Internet Law                              First Amendment
  Constitutional Law                        Appellate Practice

REPRESENTATIVE CLIENTS
  Aerosafe, Inc.                            U.S. WeChat Users Association

  Computer Education Managers Assn.         Pfizer Inc.

  Estee Lauder, Inc.                        Patient Rights Action Fund

                                            National Federation of the Blind




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                                                                               Ernest Galvan
101 Mission Street, Sixth Floor                                                 T: (415) 433‐6830
San Francisco, California 94105‐1738                                            F: (415) 433‐7104
                                                                            E: egalvan@rbgg.com



Ernest Galvan is an AV-rated attorney who represents clients in all phases of complex litigation.
His cases have focused on federal-state relationships and complex constitutional law issues.

REPRESENTATIVE CASES
In re Gadlin, 10 Cal. 5th 915 (2020) (representing amicus group of social science scholars).
California by and through Becerra v. Azar, -- F. Supp. 3d. ---, 2020 WL 6733641 (N.D.Cal.,
2020) (representing amicus group of disability rights organizations in challenge to Medicaid anti-
assignment rule designed to impede unionization of home health workers).
Access Living of Metropolitan Chicago v. Uber Technologies, Inc., 958 F.3d 604 (7th Cir. 2020)
(representing amicus group of disability rights organizations).
Fry v. City of Los Angeles, 245 Cal. App. 4th 539 (2016) (addressing retirement health subsidies
for firefighters and police).
Armstrong v. Brown, 732 F.3d 955 (9th Cir. 2013), cert denied, 134 S. Ct. 2725 (2014).
Armstrong v. Brown, 857 F. Supp. 2d 919 (N.D. Cal. 2012).
Armstrong v. Brown, 805 F. Supp. 2d 918 (N.D. Cal. 2011).
Sterling Park, L.P v. City of Palo Alto, 57 Cal. 4th 1193 (2013) (challenge to elements of city’s
housing plan).
Degelmann v. Advanced Medical Optics, Inc., 659 F.3d 835 (9th Cir. 2011) (representing amicus
Consumers Union against federal preemption of California consumer protection laws).
Retired Employees Association of Orange County v. Orange County, 52 Cal.4th 1171 (2011)
(holding that California government employers are bound by implied contractual terms regarding
vested retirement health benefits).
Brown v. Plata, 131 S.Ct. 1910 (2011) (upholding first disputed prison population cap order
under the Prison Litigation Reform Act of 1996).
Coleman v. Brown, 938 F. Supp. 2d 955 (E.D. Cal. 2013)
Coleman v. Brown, 428 Fed. Appx. 743 (9th Cir. 2011) (upholding district court order against
state prison system to ensure access to inpatient psychiatric hospital beds).
Valdivia v. Schwarzenegger, 599 F.3d 984 (9th Cir. 2010), rehearing en banc denied, 623 F.3d
849, cert. denied, Brown v. Valdivia, 131 S.Ct. 1626 (2011) (addressing interaction between
federal due process rights and state administrative procedures).


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Prison Legal News v. Schwarzenegger, 608 F.3d 446 (9th Cir. 2010) (addressing limits of
continued federal court jurisdiction over state agency’s implementation of settlement agreement
regarding publisher’s First Amendment rights).
In re E.J., 47 Cal.4th 1258 (2010) (concerning conflicts between state constitutional rights and
successful ballot initiative).
Coleman v. Schwarzenegger, 922 F. Supp. 2d 882 (E.D. Cal. and N.D. Cal. 2009) (first
successful contested trial under 1996 statute limiting federal court issuance of prison
overcrowding relief).
Valdivia v. Schwarzenegger, 548 F. Supp. 2d 852 (E.D. Cal. 2008), affirmed 599 F.3d 984 (9th
Cir. 2010), rehearing en banc denied, 623 F.3d 849, cert. denied, Brown v. Valdivia, 131 S.Ct.
1626 (2011) (affirming magistrate’s order regarding interaction between federal due process
guarantees and state administrative procedures, obtained relief for class clients).
Gober v. Ralphs Grocery Co., 137 Cal.App.4th 204 (2006) (concerning constitutional limits on
punitive damages awards, defended clients’ entitlement to substantial award for workplace
harassment).

EDUCATION
Yale Law School                                                                  J.D., June 1997
University of California at Berkeley                              B.A., History, December 1988
                                                                        with highest distinction
Phi Beta Kappa, Regents Scholar, Alumni Scholar

PUBLICATIONS AND PRESENTATIONS
“California Supreme Court Issues Decision on Use of Private Email,” The Recorder, March 8,
2017
“Cal Supreme Court Clarifies BMR [Below Market Rate Housing] Law,” The Registry,
November 12, 2013
“New Group Faces Disenfranchisement: California Secretary of State Puts Criminal Justice
Reform and Voting Rights on a Collision Course,” The Recorder, Vol. 136, No. 11, March 2012
American Constitution Society for Law and Policy, UCLA, “The Constitution Behind Bars, The
Case of California’s Overcrowded Prisons,” March 11, 2009
California State Assembly, Budget Subcommittee, February 24, 2009
George Washington University Law School, Prison Litigation Workshop, March 2008
“Paralegals Revisited,” San Francisco Daily Journal, Aug. 29, 2007.
University of California at Berkeley, School of Law, Prisoner Reentry Seminar, 2007
University of California at Berkeley, School of Law, Seminar on Civil Rights Actions, 2007
Author and Presenter: California Police Misconduct and Institutional Reform Litigation,
Systemic Equitable Relief, Lorman Continuing Legal Education Program, 2005


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AWARDS AND HONORS
California Lawyer of the Year, 2012, California Lawyer Magazine
Top Verdicts of 2011, San Francisco and Los Angeles Daily Journal
Northern California Super Lawyers, 2010-2020
Best Lawyers of America, 2013-2020, for Appellate Practice and Civil Rights

Lawdragon 500 Leading Plaintiff Employment Lawyers, 2018-2020

BAR ADMISSIONS
State Bar of California, 1998, No. 196065
Supreme Court of the United States
U.S. Court of Appeals for the Ninth Circuit
United States District Courts for the Northern, Eastern, Central and Southern Districts of
California


EXPERIENCE
Rosen Bien Galvan & Grunfeld, LLP; San Francisco, California
Partner                                                                     January 2006 – Present
Associate Attorney                                               December 1998 – December 2005
Complex civil litigation at the trial court and appellate levels with focus on briefing and
presenting complex motions and appeals.
United States District Court
for the Central District of California, Los Angeles, California
Law Clerk to the Honorable Dean D. Pregerson                  August 1997 – September 1998
Prepared bench memoranda for law and motion matters. Drafted orders and opinions. Analyzed
pre-trial motions and jury instructions. Prepared bench memoranda for Ninth Circuit panel on
which Judge Pregerson sat by designation.
Altshuler, Berzon, Nussbaum, Berzon & Rubin, San Francisco, California
Law Clerk                                                              June 1996 – August 1996
Legal research and writing for law firm representing labor unions and public interest
organizations.
Yale Law School, New Haven, Connecticut
Research Assistant to Professor Jean Koh Peters                   September 1995 – June 1997
Researched legal and ethical issues for the treatise REPRESENTING CHILDREN IN CHILD
PROTECTIVE PROCEEDINGS: ETHICAL & PRACTICAL DIMENSIONS (Michie Publishing 1997).




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                                                                         Ernest Galvan – Page 4


California Appellate Project, San Francisco, California
Legal Intern                                                           June 1995 – August 1995
Researched legal issues, conducted factual investigations and drafted pleadings to support habeas
corpus petitions for clients on California’s death row.
Charles Schwab & Co., Inc., San Francisco, California
Employee Communications Editor                                         March 1992 – July 1994
Coordinated communications strategy for senior management of nationwide brokerage firm.
Managed the writing, editing and production of internal publications. Designed and
implemented an on-line newsletter.
WBFO FM Public Radio, Buffalo, New York
News Director and Reporter                                         February 1990 – March 1992
Produced and hosted panel discussions on local and national issues for National Public Radio
(NPR) affiliate station. Reported stories for local newscasts and national programs such as All
Things Considered and Morning Edition.




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San Francisco, California 94105-1738                                          F: (415) 433-7104
                                                                         E: KJanssen@rbgg.com



EXPERIENCE
Rosen Bien Galvan & Grunfeld LLP, San Francisco, California
Senior Counsel                                                           January 2020 – Present
Associate Attorney                                                   July 2016 – December 2019
General and complex civil litigation, with an emphasis on civil rights, employment, business,
and attorneys’ fees cases, at the trial court and appellate levels.

Disability Rights Legal Center, Los Angeles, California                  August 2015 – July 2016
Staff Attorney
Class action litigation and individual representation on behalf of people with disabilities. Lead
attorney on multiple matters in charge of all communications, drafting of legal documents,
management of discovery, and settlement efforts. Responded to intakes including legal and
factual research to determine viability of claims and whether further action is warranted.
Communicated with media regarding case developments and performed outreach to the
community.

Disability Rights Advocates, Berkeley, California
Staff Attorney                                                    September 2012 – August 2015
John W. Carson/LD Access Fellow                               September 2010 – September 2012
Class action litigation and structured negotiations to advance the rights of people with
disabilities. Drafted pleadings and motions, handled communications with clients, opposing
counsel, and courts. Managed discovery including written discovery and depositions. Prepared
settlement conference statements and draft settlement agreements. Handled administrative
proceedings including special education due process hearings. Prepared press releases,
communicated with media regarding case developments and performed outreach to the
community.

NYU Offender Reentry Clinic, New York, New York                         August 2009 – May 2010
Student Advocate
Litigated employment discrimination cases involving individuals denied licenses by New York
State. Advocated for use of alternatives to incarceration and presented policy recommendations
to the New York Secretary of State.
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                                                                            Kara J. Janssen – Page 2


Disability Rights Advocates, Berkeley, California                      May 2009 – August 2009
Summer Associate
Performed legal research and assisted with the drafting of motions, declarations, and written
discovery.

The Legal Aid Society, New York, New York                             January 2009 – May 2009
Student Advocate, Immigration Law Unit
Conducted intake interviews, performed legal research, and assisted in the representation of
detained immigrants in removal proceedings.

Bazelon Center for Mental Health Law, Washington, D.C.             June 2008 – August 2008
Legal Intern
Conducted research and prepared memoranda of law for attorneys on issues relating to the
incarceration of individuals with disabilities.

New York University School of Law, New York, New York                  June 2008 – August 2008
Research Assistant for Professor Anthony Thompson
Conducted research regarding the constitutionality of juvenile offenders sentenced to life
imprisonment without the possibility of parole.

EDUCATION
New York University School of Law                                               J.D., May 2010
New York, New York
Honors: Recipient of the Root-Tilden-Kern Scholarship: full merit scholarship for public
service, academic merit and leadership.

Activities: Mental Health Law Association, Co-founder and President; Law Students for Human
Rights, Project Leader; Mediation Organization, Treasurer and Coach; National Lawyers Guild
Detainee Working Group, Co-chair.

University of Arizona, Tucson, Arizona      B.A. in Psychology, magna cum laude, May 2006
Honors: Recipient of Full Tuition Scholarship for Academic Excellence; Phi Beta Kappa, Alpha
of Arizona Chapter.

BAR ADMISSIONS
State Bar of California No. 274762 (2010)
U.S. District Courts for the Northern and Central Districts of California
U.S. Courts of Appeals for the Second and Ninth Circuits

PUBLISHED CASES
Noel v. New York City Taxi & Limousine Comm’n, 687 F.3d 63 (2d Cir. 2012)
Noel v. New York City Taxi & Limousine Comm’n, 837 F. Supp. 2d 268 (S.D.N.Y. 2011)



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                                                                         Kara J. Janssen – Page 3


PUBLICATIONS/PRESENTATIONS

“Making the ADA Work for Indigent Clients” Federal Public Defender’s Office for the Central
District of California, July 27, 2018, Los Angeles, California

“Strategies for Litigating on behalf of Incarcerated People with Disabilities” ACLU National
Prison Project Webinar, May 18, 2017

“How to Litigate the Disability Rights of Incarcerated Persons” Jacobus tenBroek Disability Law
Symposium, March 30, 2017, Baltimore, MD

Co-Panelist, “Education Rights,” Juvenile Law Institute, January 29, 2016, Riverside, California

“Know Your Rights! Empower Yourself!”, Southern California Resource Services for
Independent Living, January 8, 2015, Downey, California and February 19, 2015, Alhambra,
California

Co-panelist,” Legal Updates,” National Federation of the Blind of California State Convention,
October 11, 2014, Los Angeles, California

Co-presenter, “Education Rights: Students in the Juvenile Justice System”, Contra Costa County
Office of the Public Defender, March 26, 2014 Martinez, California

Co-panelist, “Cognitive Processing Deficits: Impact beyond Academic Achievement and
Sensory Processing Deficits, Related Impairments, and Impacts for Litigation,” California
Attorneys for Criminal Justice and California Public Defenders Association Capital Case
Defense Seminar, February 16, 2014, Monterey, California

Co-panelist, “Technology and Access: Leveling the Playing Field in Higher Education,”
Disability Rights Legal Center’s First Annual Disability Rights Summit, October 22, 2013, Los
Angeles, California

Co-presenter, “Recent Litigation Developments: College Students with Disabilities,” Private
College Disability Resource Center, October 28, 2011, Academy of Art University, San
Francisco, California

PROFESSIONAL AFFILIATIONS
American Bar Association, Member, 2010 to present
Disability Rights Bar Association, Member, 2010 to present




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                                                                Ginger Jackson‐Gleich
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San Francisco, California 94105‐1738                                       F: (415) 433‐7104
                                                               E: GJackson‐Gleich@rbgg.com



EXPERIENCE
Rosen Bien Galvan & Grunfeld LLP, San Francisco, California                     2022 – Present
Associate Attorney
General and complex civil litigation, with an emphasis on civil rights, employment, business,
and attorneys’ fees cases, at the trial court and appellate levels.

Supreme Court of California, San Francisco California
Law Clerk to the Honorable Joshua Groban                      November 2021 – August 2022
Law Clerk to the Honorable Mariano-Florentino Cuéllar              August – October 2021

Compassionate Release Clearinghouse                             January 2021 – August 2021
Pro Bono Attorney

The Prison Policy Initiative, Easthampton, Massachusetts               August 2020 – July 2021
Policy Counsel
Working remotely from California, wrote 50-state reports on jail voting and jury exclusion.
Advocated for prison gerrymandering reform.

U.S. District Court for the Northern District of California          July 2019 – August 2020
Law Clerk to the Honorable Edward M. Chen
Wrote bench memos. Drafted orders and opinions. Assisted with trials. Supervised legal
externs.

Alameda County Public Defender’s Office                          September 2018 – July 2019
Oakland, California
Post-Bar Legal Assistant
Interviewed Spanish- and English-speaking clients. Represented clients at arraignment. Wrote
and argued motions and wrote legal memos.

Alameda County Public Defender’s Office                              May 2017 – August 2017
Oakland, California
Summer Law Clerk
Drafted appellate briefs. Wrote legal research memos. Assisted attorneys in preparation for
trial.
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                                                                  Ginger Jackson‐Gleich – Page 2


American Civil Liberties Union, New York, New York                      July 2016 – August 2016
Intern, Criminal Law Reform Project
Wrote memoranda discussing legal theories for litigation of challenges to indigent defense
systems. Investigated legislative history of state drug laws. Interviewed jury venire for death
penalty appeal.

Department of Justice, Civil Rights Division, Washington, D.C.           May 2016 – July 2016
Intern, Special Litigation Section
Drafted compliance documents for consent decrees. Wrote legal memos on discriminatory
policing. Collected evidence of excessive use of force by police. Wrote memo on protections for
LGBT prisoners.

Human Rights Watch, New York, New York                               January 2016 – April 2016
Legal Intern, U.S. Program
Conducted legal and empirical research for report on criminalization of drug possession in the
U.S.

Harvard Defenders, Cambridge, Massachusetts                                            2015 – 2018
Student Attorney & Director of Training
Provide free representation to low-income defendants at show-cause hearings. Designed and
organized monthly trainings covering ethics, legal defense strategies, and investigation and
representation skills.

Mount Tamalpais College, San Quentin, California                                  2010 and 2014
Tutor and Teaching Assistant

San Francisco University High School, San Francisco, California                   2010 – 2015
Director of Student Leadership, Class Dean, & Teacher
Developed and directed student leadership program. Led team of senior class advisors. Taught
AP Economics.

San Francisco Bar Association, San Francisco, California                                     2009
Bilingual Legal Interviewer
Interviewed Spanish- and English-speaking clients. Referred clients to attorneys, legal services,
and clinics.

Office of Mayor John Hickenlooper, Denver, Colorado                                     2008
Special Assistant
Wrote speeches. Staffed the Mayor at events. Communicated with constituents on behalf of the
Mayor’s Office.




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                                                               Ginger Jackson‐Gleich – Page 3


EDUCATION
Harvard Law School, Cambridge, Massachusetts                           J.D., cum laude, 2018
Honors: Harvard University Presidential Public Service Fellowship; James Vorenberg Equal
Justice Summer Fellowship; Heyman Summer Internship for Federal Government Service
Activities: Editor and Outreach Chair, Harvard Law Review; Research Assistant to Professor
Philip Heymann

University of California, Berkeley              M.A., Jurisprudence and Social Policy, 2010
Honors: Philip Selznick Fellowship for Jurisprudence and Social Policy; Law and Economics
Fellowship
Activities: Research Assistant to Professor Frank Zimring

University of North Carolina, Chapel Hill                  B.A., Highest Distinction, May 2007
                                                               Political Science and Economics
Honors: Phi Beta Kappa; John Motley Morehead Scholarship (merit scholarship—now called
the Morehead-Cain Scholarship); Chancellor’s L. Richardson Preyer Award for Excellence in
Political Science; Undergraduate Fellow, Center for the Study of the Presidency, Washington,
D.C.
Thesis: The Impact of Felony Disenfranchisement on Voter Turnout Among Eligible, Non-
Felon Voters (Highest Honors)

BAR ADMISSIONS
State Bar of California, No. 324454 (2018)




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                                                                                                                              A-Z Topics    Site Map     FOIA




Home            About Us              Inmates             Locations      Careers            Business             Resources                 Contact Us



Statistics                                                            Statistics Overview   Inmate Statistics   Population Statistics      Staff Statistics




 Population Statistics
        Population Totals
        Population Breakdown
              BOP Population
              Private Population
              Other Facility Populations
        Past Population Totals




    158,138 Total Federal Inmates

    143,561 federal inmates in BOP Custody

    0 federal inmates in privately managed facilities

    14,577 federal inmates in other types of facilities




 Last Updated August 10, 2023.
 Data refreshed every Thursday at 12:00 A.M.




    Inmate Population Breakdown

      BOP Facility                     State    Total

       ALDERSON FPC                    WV       690

       ALICEVILLE FCI                  AL       1466

       ALICEVILLE-CAMP                 AL       179

       ALLENWOOD LOW FCI               PA       1056

       ALLENWOOD MED FCI               PA       1277

       ALLENWOOD USP                   PA       323

       ASHLAND FCI                     KY       1152

       ASHLAND-CAMP                    KY       154

       ATLANTA USP                     GA       1958

       ATWATER USP                     CA       1172

       ATWATER-CAMP                    CA       117
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BOP Facility            State   Total
BASTROP FCI             TX      1001

BASTROP-CAMP            TX      113

BEAUMONT LOW FCI-CAMP   TX      384

BEAUMONT LOW FCI        TX      1643

BEAUMONT MED FCI        TX      1646

BEAUMONT USP            TX      1228

BECKLEY FCI             WV      1606

BECKLEY-CAMP            WV      77

BENNETTSVILLE FCI       SC      1572

BENNETTSVILLE-CAMP      SC      87

BERLIN FCI              NH      700

BERLIN-CAMP             NH      26

BIG SANDY USP           KY      1376

BIG SANDY-CAMP          KY      37

BIG SPRING FCI          TX      1003

BIG SPRING-CAMP         TX      114

BROOKLYN MDC            NY      1549

BRYAN FPC               TX      629

BUTNER FMC              NC      849

BUTNER LOW FCI          NC      958

BUTNER MED I FCI        NC      586

BUTNER MED II FCI       NC      1447

BUTNER-CAMP             NC      228

CANAAN USP              PA      1189

CANAAN-CAMP             PA      86

CARSWELL FMC            TX      849

CARSWELL-CAMP           TX      168

CHICAGO MCC             IL      481

COLEMAN I USP           FL      1407

COLEMAN II USP          FL      1219

COLEMAN LOW FCI-CAMP    FL      474

COLEMAN LOW FCI         FL      1617

COLEMAN MED FCI         FL      1569

CUMBERLAND FCI          MD      679

CUMBERLAND-CAMP         MD      224

DANBURY FCI             CT      866

DANBURY-CAMP            CT      94

DEVENS FMC              MA      840

DEVENS-CAMP             MA      72

DUBLIN FCI              CA      549

DUBLIN-CAMP             CA      125
       Case 4:23-cv-04155-YGR Document 11-1 Filed 08/17/23 Page 33 of 142
BOP Facility            State   Total
DULUTH FPC              MN      401

EDGEFIELD FCI           SC      1574

EDGEFIELD-CAMP          SC      403

EL RENO FCI             OK      1083

EL RENO-CAMP            OK      144

ELKTON FCI              OH      1611

ELKTON-FSL              OH      382

ENGLEWOOD FCI           CO      888

ENGLEWOOD-CAMP          CO      82

ESTILL-CAMP             SC      69

FAIRTON FCI             NJ      764

FAIRTON-CAMP            NJ      62

FLORENCE ADMAX USP      CO      323

FLORENCE FCI-CAMP       CO      153

FLORENCE FCI            CO      1098

FLORENCE HIGH USP       CO      962

FORREST CITY FCI-CAMP   AR      207

FORREST CITY FCI        AR      1607

FORREST CITY MED FCI    AR      1687

FORT DIX FCI            NJ      3530

FORT DIX-CAMP           NJ      246
FORT WORTH
ADMINISTRATIVE          TX      1520

GILMER FCI              WV      1586

GILMER-CAMP             WV      52

GREENVILLE FCI          IL      958

GREENVILLE-CAMP         IL      236

GUAYNABO MDC            PR      1158

HAZELTON FCI-FEMALE     WV      376

HAZELTON FCI            WV      1709

HAZELTON USP            WV      1618

HAZELTON-CAMP           WV      92

HERLONG FCI             CA      1462

HERLONG-CAMP            CA      83

HONOLULU FDC            HI      278

HOUSTON FDC             TX      756

JESUP FCI               GA      1079

JESUP-CAMP              GA      97

JESUP-FSL               GA      484

LA TUNA FCI             TX      625

LA TUNA-CAMP            TX      217

LEAVENWORTH USP         KS      1292
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BOP Facility           State   Total
LEAVENWORTH-CAMP       KS      317

LEE USP-CAMP           VA      44

LEE USP                VA      1517

LEWISBURG USP          PA      715

LEWISBURG-CAMP         PA      291

LEXINGTON FMC          KY      1087

LEXINGTON-CAMP         KY      178

LOMPOC FCI             CA      875

LOMPOC USP-CAMP N      CA      123

LOMPOC USP-CAMP        CA      251

LOMPOC USP             CA      1390

LORETTO FCI            PA      761

LORETTO-CAMP           PA      56

LOS ANGELES MDC        CA      598

MANCHESTER FCI         KY      1056

MANCHESTER-CAMP        KY      50

MARIANNA FCI           FL      1012

MARIANNA-CAMP          FL      220

MARION USP             IL      1112

MARION-CAMP            IL      180

MCCREARY USP           KY      1586

MCCREARY-CAMP          KY      87

MCDOWELL FCI           WV      1562

MCDOWELL-CAMP          WV      26

MCKEAN FCI             PA      939

MCKEAN-CAMP            PA      150

MEMPHIS FCI            TN      825

MEMPHIS-CAMP           TN      75

MENDOTA FCI            CA      1078

MENDOTA-CAMP           CA      109

MIAMI FCI-CAMP         FL      157

MIAMI FCI              FL      801

MIAMI FDC              FL      938

MILAN FCI              MI      1597

MONTGOMERY FPC         AL      439

MORGANTOWN FCI         WV      517

OAKDALE I FCI          LA      842

OAKDALE II FCI-CAMP    LA      126

OAKDALE II FCI         LA      1061

OKLAHOMA CITY FTC      OK      1147

OTISVILLE FCI          NY      988
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BOP Facility           State   Total
OTISVILLE-CAMP         NY      88

OXFORD FCI             WI      1081

PEKIN FCI              IL      1082

PEKIN-CAMP F           IL      242

PENSACOLA FPC          FL      409

PETERSBURG FCI-CAMP    VA      192

PETERSBURG FCI         VA      501

PETERSBURG MED FCI     VA      1703

PHILADELPHIA FDC       PA      909

PHOENIX FCI            AZ      944

PHOENIX-CAMP           AZ      237

POLLOCK MED FCI        LA      1577

POLLOCK USP            LA      1122

POLLOCK-CAMP           LA      160

RAY BROOK FCI          NY      690

ROCHESTER FMC          MN      584

SAFFORD FCI            AZ      664

SAN DIEGO MCC          CA      747

SANDSTONE FCI          MN      1146

SCHUYLKILL FCI         PA      1043

SCHUYLKILL-CAMP        PA      109

SEAGOVILLE FCI         TX      1706

SEAGOVILLE-CAMP        TX      112

SEATAC FDC             WA      705

SHERIDAN FCI           OR      1232

SHERIDAN-CAMP          OR      341

SPRINGFIELD USMCFP     MO      978

TALLADEGA FCI          AL      906

TALLADEGA-CAMP         AL      115

TALLAHASSEE FCI        FL      889

TERMINAL ISLAND FCI    CA      949

TERRE HAUTE FCI-CAMP   IN      239

TERRE HAUTE FCI        IN      1213

TERRE HAUTE USP        IN      1185

TEXARKANA FCI          TX      997

TEXARKANA-CAMP         TX      231

THOMSON ADMIN USP      IL      1197

THOMSON AUSP-CAMP      IL      131

THREE RIVERS FCI       TX      1108

THREE RIVERS-CAMP      TX      232

TUCSON FCI             AZ      390
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 BOP Facility                    State   Total
 TUCSON USP                      AZ      1316

 TUCSON-CAMP                     AZ      129

 VICTORVILLE MED I FCI           CA      1463

 VICTORVILLE MED I-CAMP          CA      175

 VICTORVILLE MED II FCI          CA      1449

 VICTORVILLE USP                 CA      1119

 WASECA FCI                      MN      717

 WILLIAMSBURG FCI                SC      1382

 WILLIAMSBURG-CAMP               SC      86

 YANKTON FPC                     SD      395

 YAZOO CITY FCI-CAMP             MS      75

 YAZOO CITY FCI                  MS      1340

 YAZOO CITY II FCI               MS      1492

 YAZOO CITY USP                  MS      1589




 Private Facility    State   Total




 Other Facility Types            Total

 CONTRACT JUVENILES              17

 HOME CONFINEMENT                5933
 JAIL/SHORT-TERM
 DETENTION                       574

 LONG-TERM BOARDERS              83

 RRC*S                           7970




Past Inmate Population Totals

 Year    Population     Change

 1980    24,640         0

 1981    26,313         +1,673

 1982    30,531         +4,218

 1983    33,216         +2,685

 1984    35,795         +2,579

 1985    40,330         +4,535

 1986    46,055         +5,725

 1987    49,378         +3,323

 1988    50,513         +1,135
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        Year      Population       Change

        1989      57,762           +7,249

        1990      64,936           +7,174

        1991      71,508           +6,572

        1992      79,678           +8,170

        1993      88,565           +8,887

        1994      95,162           +6,597

        1995      100,958          +5,796

        1996      105,443          +4,485

        1997      112,289          +6,846

        1998      122,316          +10,027

        1999      133,689          +11,373

        2000      145,125          +11,436

        2001      156,572          +11,447

        2002      163,436          +6,864

        2003      172,499          +9,063

        2004      179,895          +7,396

        2005      187,394          +7,499

        2006      192,584          +5,190

        2007      200,020          +7,436

        2008      201,668          +1,648

        2009      208,759          +7,091

        2010      210,227          +1,468

        2011      217,768          +7,541

        2012      218,687          +919

        2013      219,298          +611

        2014      214,149          -5,149

        2015      205,725          -8,426

        2016      192,170          -13,553

        2017      185,617          -6,553

        2018      181,698          -3,919

        2019      177,214          -4,484

        2020      155,562          -21,652


      Save Past Population Totals:
      CSV | XSL | PDF




About Us                    Inmates          Locations                Careers                 Business                 Resources        Resources For ...
About Our Agency            Find an Inmate   List of our Facilities   Life at the BOP         Acquisitions             Policy & Forms   Victims & Witnesses
About Our Facilities        First Step Act   Map of our Locations     Explore Opportunities   Solicitations & Awards   News Stories     Employees
Historical Information      Communications   Search for a Facility    Current Openings        Reentry Contracting      Press Releases   Volunteers
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Statistics       Custody & Care     Application Process   Publications         Former Inmates
                 Visiting           Our Hiring Process    Research & Reports   Media Reps
                 Report a Concern
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     EXHIBIT                                            F
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United States Senate
PERMANENT SUBCOMMITTEE ON INVESTIGATIONS
Committee on Homeland Security and Governmental Affairs
                                                        Jon Ossoff, Chair
                                                        Ron Johnson, Ranking Member


SEXUAL ABUSE OF FEMALE INMATES IN FEDERAL PRISONS

                                  STAFF REPORT

          PERMANENT SUBCOMMITTEE ON INVESTIGATIONS

                            UNITED STATES SENATE




                     RELEASED IN CONJUNCTION WITH THE
                 PERMANENT SUBCOMMITTEE ON INVESTIGATIONS
                         DECEMBER 13, 2022 HEARING
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                        SENATOR JON OSSOFF
                              Chair
                       SENATOR RON JOHNSON
                        Ranking Minority Member
         PERMANENT SUBCOMMITTEE ON INVESTIGATIONS
                         SARA SCHAUMBURG
                             Staff Director
                           CAITLIN WARNER
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                       DANIEL M. EISENBERG
                   Deputy Staff Director & Senior Counsel
               MEERAN AHN, BALAJI NARAIN, & LI YU
                         Senior Counsels
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                              Counsel
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                           Law Clerks
                           KATE KIELCESKI
                           Subcommittee Clerk




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                         Sexual Abuse of Female Inmates in Federal Prisons

EXECUTIVE SUMMARY

       In April 2022, the Permanent Subcommittee on Investigations (“PSI” or “the
Subcommittee”) launched a bipartisan investigation into sexual abuse of female prisoners in
custody of the Federal Bureau of Prisons (“BOP”).

       The Subcommittee reviewed non-public BOP and whistleblower documents, and it
conducted more than two dozen interviews with senior BOP leaders, whistleblowers, and
survivors of sexual abuse. The Subcommittee found:

    •    BOP employees sexually abused female prisoners in at least two-thirds (19 of 29
         facilities) of federal prisons that have held women over the past decade. 1

    •    BOP has failed to successfully implement the Prison Rape Elimination Act (“PREA”). It
         failed to prevent, detect, and stop recurring sexual abuse in at least four federal prisons,
         including abuse by senior prison officials. At FCI Dublin, for example, the former
         Warden and Chaplain both sexually abused female prisoners.

    •    BOP management failures enabled continued sexual abuse of female prisoners by BOP’s
         own employees.

    •    BOP Office of Internal Affairs’ (“BOP OIA” or “OIA”) investigative practices are
         seriously flawed. There is currently a backlog of 8,000 internal affairs cases, including at
         least hundreds of sexual abuse cases. 2

                                                       ***


1
  There are currently 27 female facilities where BOP holds women. Since 2012, there have been two BOP facilities
that were used to hold women but no longer do: FCC Coleman and MCC New York. Thus, since 2012, there were
29 BOP facilities in total that have held women. See Exhibit 1; Bureau of Prisons, Our Locations
(https://www.bop.gov/locations/list.jsp); Email from Congressional Research Service to PSI (Dec. 9, 2022) (on file
with PSI) (confirming 29 total facilities between 2012 and 2022 held female prisoners). The Subcommittee
reviewed public criminal convictions and data produced by BOP concerning substantiated sexual abuse cases of
prisoners by BOP employees. See Exhibit 1; Staff-on-Inmate Cases by Facility (2012-2021), Production from DOJ
to PSI (Nov. 4, 2022) (PSI-BOPOIA-Prod4-0001-0049). The Subcommittee found sexual abuse of female prisoners
by BOP employees in 19 of 29 federal facilities that held women since 2012. Because BOP did not disclose the
gender of the victim of abuse in the data that it produced to the Subcommittee, the Subcommittee did not include
BOP OIA substantiated sexual abuse cases in the remaining 10 of 29 facilities holding both men and women where
there was no public criminal conviction. For this reason, there were abuse cases in at least 19 of 29 facilities, or,
two-thirds.
2
  Office of Internal Affairs, BOP, Report for Fiscal Year 2020
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf); Beth Reese, Chief of the Office of Internal
Affairs, BOP, Interview with PSI (Oct. 28, 2022); Lawsuit settled in which 15 women alleged sexual abuse at
Florida prison, Tampa Bay Times (May 5, 2022) (https://www.tampabay.com/news/florida/2021/05/05/lawsuit-
settled-in-which-15-women-alleged-sexual-abuse-at-florida-prison/).



                                                          1
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         In 2003, Congress passed PREA “to eradicate prisoner rape in all types of correctional
facilities in this country” by requiring federal prisons to adopt certain policies and practices
designed to mitigate the risk of sexual abuse, track allegations of sexual abuse, and protect
potential victims. 3 Yet according to the Subcommittee’s review of court filings and non-public
BOP data dating back to 2012, BOP employees have sexually abused women in their custody in
at least 19 of 29—or two-thirds—of facilities where BOP incarcerates women. 4

        In at least four BOP facilities, multiple women endured ongoing sexual abuse for months
or years. 5 Beginning in June 2021, the Department of Justice (“DOJ”) indicted five BOP
employees at California’s Federal Correctional Institution (“FCI”) Dublin—including the
Warden and the Chaplain—for repeated sexual abuse of at least eight female prisoners under
their supervision. 6 The horrific abuse at FCI Dublin was not unique among BOP’s prisons. BOP
failed to detect and prevent repeated sexual abuse in at least three other facilities before FCI
Dublin.

             •   Starting in approximately 2012, at least two officers repeatedly sexually abused at
                 least eight female prisoners at the Metropolitan Correctional Center (“MCC”)
                 New York over the course of several years. 7

             •   Starting in approximately 2016, at least two male lieutenants and one officer
                 sexually abused at least nine female prisoners at the Metropolitan Detention
                 Center (“MDC”) Brooklyn in New York. 8


3
  Bureau of Justice Assistance, Prison Rape Elimination Act (PREA): Overview (https://bja.ojp.gov/program/prison-
rape-elimination-act-prea/overview).
4
  See footnote 1. “BOP employees” in this report includes bargaining staff, mid-level managers, and supervisors.
5
  See, e.g., U.S. Attorney’s Office, Southern District of New York: Correctional Officer At Metropolitan
Correctional Center Sentenced To 40 Months In Prison For Engaging In Abusive Sexual Contact With Inmates
(Dec. 8, 2020) (https://www.justice.gov/usao-sdny/pr/correctional-officer-metropolitan-correctional-center-
sentenced-40-months-prison); Office of Public Affairs, Department of Justice: Jury Convicts Former Federal Prison
Warden for Sexual Abuse of Three Female Inmates (Dec. 8, 2022) (https://www.justice.gov/opa/pr/jury-convicts-
former-federal-prison-warden-sexual-abuse-three-female-inmates); U.S. Attorney’s Office, Eastern District of New
York: Former Federal Bureau of Prisons Lieutenant Sentenced to 25 Years in Prison for Sexual Abuse and
Violation of Civil Rights Convictions (July 31, 2019) (https://www.justice.gov/usao-edny/pr/former-federal-bureau-
prisons-lieutenant-sentenced-25-years-prison-sexual-abuse-and); Affidavit of Keith Vann, Production from DOJ to
PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-0135-0144).
6
  Lisa Fernandez, 5th officer at Dublin prison charged in widening sex abuse scandal, KTVU FOX 2 (Mar. 24,
2022) (https://www.ktvu.com/news/5th-guard-at-dublin-prison-charged-in-widening-sex-abuse-scandal). United
States v. Highhouse, No. 22-cr-000016-HSG (N.D. Cal. 2022); United States. v. Klinger, No. 4:22-CR-00031-JSW
(N.D. Cal., June 25, 2021); United States. v. Bellhouse, No. 4:21-MJ-71905-MRGD (N.D. Cal., Nov. 30, 2021);
United States. Chavez, No. 4:22-CR-00104-JSW (N.D. Cal., Mar. 10, 2022); United States v. Garcia, No. 4:21-CR-
429 (N.D. Cal. 2022).
7
  Benjamin Weiser, U.S. Pays $4.2 Million to Victims of Jail Guard’s Long-Running Sex Abuse, New York Times
(July 18, 2022) (https://www.nytimes.com/2022/07/18/nyregion/mcc-officer-sex-abuse-victims-payout.html);
Herrera v. United States, 20-cv-10206 (PKC) (S.D.N.Y. Mar. 27, 2022); U.S. Attorney’s Office, Eastern District of
New York: Former Federal Correctional Officer Sentenced to Seven Years for Sexually Abusing an Inmate (May 4,
2022) (https://oig.justice.gov/press/2016/2016-05-04.pdf).
8
  Joseph Goldstein, Brooklyn Prison Supervisors Charged With Sexually Assaulting Inmates, New York Times (May
25, 2017) (https://www.nytimes.com/2017/05/25/nyregion/prison-supervisors-sex-abuse-prevention-rape-



                                                        2
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             •   Starting in approximately 2012 through 2020, there were at least six male BOP
                 employees who sexually abused at least ten female prisoners at the Federal
                 Correctional Complex (“FCC”) Coleman in Florida. 9 The Subcommittee
                 obtained copies of non-public sworn, compelled statements from officers at FCC
                 Coleman, wherein the officers admitted to sexual abuse of female detainees in
                 graphic detail. 10 DOJ’s Office of the Inspector General (“OIG”) declined to
                 investigate these FCC Coleman officers for sexual abuse and they were never
                 prosecuted. 11

        The Subcommittee found that the mechanisms that BOP employs to identify and prevent
sexual abuse of female prisoners by BOP employees are ineffective. Audits intended to assess
sexual abuse in prisons (known as “PREA audits”) found that FCC Coleman and FCI Dublin
were compliant with every PREA standard during the time when senior BOP officials admitted
to the Subcommittee that there was a “culture of abuse.” 12 Further, BOP failed to systematically
analyze PREA data, missing a key opportunity to identify problematic facilities or employees. 13

         BOP OIA, the component of BOP responsible for investigating staff misconduct, has
failed to timely investigate and resolve allegations of employee misconduct concerning both
sexual abuse of female prisoners and other matters. The Subcommittee’s investigation
uncovered that as of November 2022, BOP OIA had a backlog of approximately 8,000 cases. 14
Some cases have been pending for more than five years. 15 BOP OIA’s failures impeded BOP’s
ability to hold wrongdoers accountable.



charges.html); United States v. Eugenio Perez, 1:17-cr-00280-KAM (E.D.N.Y. 2018); United States v. Martinez,
1:17-cr-00281-ERK (E.D.N.Y. 2019); United States v. Armando Moronta, 17-CR-281 (E.D.N.Y. 2017).
9
  See Answer at ¶ 26-29, Beaubrun v. United States, 5:19-CV-0615-TJC (M.D. Fl. 2020) [hereinafter Beaubrun
Answer].
10
   2019 Affidavit of Christopher Palomares, Production from DOJ to PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-
0101-0111) [hereinafter 2019 Palomares Aff.]; 2018 Affidavit of Christopher Palomares, Production from DOJ to
PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-0112-0123) [hereinafter 2018 Palomares Aff.]; Affidavit of Daniel
Kuilan, Production from DOJ to PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-0188-0196) [hereinafter Kuilan Aff.];
Affidavit of Keith Vann, Production from DOJ to PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-0135-0144) [hereinafter
Vann Aff.]; Affidavit of Tracy Laudenslager, Production from DOJ to PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-
0093-0100) [hereinafter Laudenslager Aff.]; Affidavit of Timothy Phillips, Production from DOJ to PSI (Oct. 18,
2022) (PSI-BOPOIA-Prod2-0124-0134) [hereinafter Phillips Aff.]; Affidavit of Scott Campbell Production from
DOJ to PSI (Oct. 18, 2022) (PSI-BOPOIA-Prod2-0086-0092) [hereinafter Campbell Aff.].
11
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
12
   2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022); 2022 FCI Dublin PREA Audit,
Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0262-0381); 2018 FCC Coleman PREA Audit,
Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0635-0726); 2021 FCC Coleman PREA Audit,
Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261); Beth Reese, Chief of the Office of
Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen, PhD, Acting Director of Reentry
Services, BOP, Interview with PSI (Nov. 4, 2022).
13
   Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
14
   See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
15
   Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).



                                                         3
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Key Findings

        1. Over the past decade, female inmates in at least two-thirds (19 of 29) of federal
           prisons that held women were sexually abused by male BOP employees,
           including senior prison officials. Multiple BOP employees sexually abused
           multiple female prisoners at MCC New York, MDC Brooklyn, FCC Coleman, and
           FCI Dublin. 16 Between 2012 and 2020, BOP has opened 5,415 internal affairs cases
           alleging sexual abuse of male or female prisoners by BOP employees. 17 There were
           at least 134 instances across 19 female facilities where BOP employees were either
           prosecuted for sexual abuse of female prisoners or where BOP OIA substantiated
           allegations that BOP employees sexually abused female prisoners. 18

        2. BOP failed to detect, prevent, and respond to sexual abuse of female prisoners in
           its custody. BOP failed to systematically analyze PREA complaint data and relied on
           flawed PREA audits that missed sexual abuse of female prisoners by male BOP
           employees at FCC Coleman and FCI Dublin. 19 At FCC Coleman, BOP transferred
           all female prisoners out of the prison two days before the auditor’s on-site inspection
           at a time when multiple women were being abused. 20 At FCI Dublin, the former
           PREA compliance officer, responsible for training supervisors on the PREA
           requirements and coordinating the PREA audit, was convicted of sexually abusing
           female prisoners on December 8, 2022. 21

        3. BOP failed to hold employees accountable for misconduct. BOP has a backlog of
           approximately 8,000 internal affairs cases alleging employee misconduct, some of
           which have been pending for more than five years. 22 OIA’s failure to clear pending
           cases impedes BOP’s ability to hold employees accountable.

        4. BOP failed to take agency-wide action to address sexual abuse of female inmates
           by male BOP employees. In interviews with the Subcommittee, BOP could not
           identify any agency-wide actions it had undertaken in response to sexual abuse of
16
   See Exhibit 1.
17
   Staff-on-Inmate Cases by Facility (2012-2021), Production from DOJ to PSI (Nov. 4, 2022) (PSI-BOPOIA-
Prod4-0001-0049).
18
   See footnote 1; Exhibit 1.
19
   See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); Melissa Rios, Western Regional
Director, BOP, Interview with PSI (Nov. 10, 2022); Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview
with PSI (Nov. 16, 2022); 2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with
PSI); 2022 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0262-0381);
2018 FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0635-0726);
2021 FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261).
20
   See FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261) at
PSI-BOPOIA-Prod1-000136.
21
   Office of Public Affairs, Department of Justice: Jury Convicts Former Federal Prison Warden for Sexual Abuse
of Three Female Inmates (Dec. 8, 2022) (https://www.justice.gov/opa/pr/jury-convicts-former-federal-prison-
warden-sexual-abuse-three-female-inmates); 2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4,
2022) (on file with PSI).
22
   See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).



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             numerous female inmates by multiple BOP employees at MCC New York, MDC
             Brooklyn, and FCC Coleman. It was only after the abuse at FCI Dublin came to light
             that BOP began to institute agency-wide changes. 23




23
  See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); Melissa Rios, Western Regional
Director, BOP, Interview with PSI (Nov. 10, 2022); Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview
with PSI (Nov. 16, 2022).


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     I.   Introduction

         BOP “is responsible for the custody and care of federal inmates.” 24 As of November
2022, BOP held approximately 160,000 prisoners across its 122 facilities. 25 Approximately
11,000 were female and incarcerated in BOP’s 27 “female facilities.” 26 Six of the 27 female
facilities hold women exclusively, and 21 hold both men and women. 27 Since 2012, there were
two additional federal prisons that held women but no longer do: FCC Coleman and MCC New
York. 28

             a. Female Prisoners Are Disproportionately Vulnerable to Sexual Abuse

        Women entering prison are more likely to have experienced physical and/or sexual abuse
as children and adults, as compared to men in prison. 29 According to a February 2020 report by
the U.S. Commission on Civil Rights, research suggests that at least 50 percent of women
entering prison report that they experienced physical and/or sexual abuse before their
incarceration. 30 They are also significantly more likely to be sexually harassed and abused while
incarcerated. 31 According to the National Standards to Prevent, Detect, and Respond to Prison
Rape: Final Rule, women with histories of sexual abuse—including women in prisons and
jails—are particularly traumatized by subsequent abuse. 32

             b. Sexual Contact Between BOP Employees and Prisoners is a Federal Crime
                and Also Prohibited by BOP Policy

        Sexual abuse of prisoners in BOP custody by employees is both a federal crime and
subject to BOP administrative sanctions.

        18 U.S.C. § 2243(b) makes it a felony—punishable by up to 15 years of imprisonment—
for a BOP employee to “knowingly [engage] in a sexual act with another person who is—(1) in
official detention; and (2) under the custodial, supervisory, or disciplinary authority of the [BOP

24
   Bureau of Prisons, About Our Agency (https://www.bop.gov/about/agency/).
25
   Bureau of Prisons, Statistics (https://www.bop.gov/about/statistics/population_statistics.jsp); Bureau of Prisons,
Locations (https://www.bop.gov/locations/).
26
   Bureau of Prisons, Statistics (https://www.bop.gov/about/statistics/statistics_inmate_gender.jsp).
27
   Bureau of Prisons, Our Locations (https://www.bop.gov/locations/list.jsp).
28
   See Email from Congressional Research Service to PSI (Dec. 9, 2022) (on file with PSI); Bureau of Prisons, Our
Locations (https://www.bop.gov/locations/list.jsp).
29
   U.S. Commission on Civil Rights, Women in Prison: Seeking Justice Behind Bars (February 2020)
(https://www.usccr.gov/files/pubs/2020/02-26-Women-in-Prison.pdf).
30
   U.S. Commission on Civil Rights, Women in Prison: Seeking Justice Behind Bars (February 2020),
(https://www.usccr.gov/files/pubs/2020/02-26-Women-in-Prison.pdf) (citing Nancy Wolff, Jing Shi, and Jane
Siegel, Patterns of Victimization Among Male and Female Offenders and Evidence of an Enduring Legacy, Violence
Victimization, Vol. 24, No. 4 (2009) at 469-84) (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3793850).
31
   U.S. Commission on Civil Rights, Women in Prison: Seeking Justice Behind Bars (February 2020),
https://www.usccr.gov/files/pubs/2020/02-26-Women-in-Prison.pdf.
32
   See Department of Justice, National Standards to Prevent, Detect, and Respond to Prison Rape: Final Rule, 77
Fed. Reg. 37,106, 37,132 (June 20, 2012) (the “2012 DOJ PREA Standards Final Notice”)
(https://www.govinfo.gov/content/pkg/FR-2012-06-20/html/2012-12427.htm) (citing BJS, unpublished data, 2004
Survey of Inmates in State and Federal Correctional Facilities and 2002 Survey of Inmates in Local Jails).



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employee] so engaging.” BOP “staff sexual relations with inmates is always illegal” as there is
no “consent” defense to a violation of 18 U.S.C. § 2243(b). 33 As OIG explained in a 2005
report, this is because the “inherently unequal” relationship between BOP employees and
prisoners precludes prisoners from having “the same ability as staff members to consent to a
sexual relationship.” 34

        BOP policy has “zero tolerance toward all forms of sexual activity, including sexual
abuse and sexual harassment.” 35 Per the policy, “Termination shall be the presumptive
disciplinary sanction for staff who have engaged in sexual abuse.” 36

             c. The Process for Investigating Allegations of Sexual Abuse by BOP
                Employees

        As part of PREA’s standards, BOP is required to establish reporting mechanisms for
inmates to raise complaints about sexual abuse. 37 Those standards also require prevention
planning, response planning, training and education, screening for risk of sexual victimization
and abusiveness, reporting, official response following an inmate report, investigation,
discipline, medical and mental healthcare, data collection and review, and prison audits. 38

        Complaints of sexual abuse of female prisoners by BOP employees can be investigated
by either BOP itself, through OIA, or by OIG. 39 BOP OIA refers all complaints of sexual abuse
or harassment by employees to OIG. OIG—an independent entity with the authority to
investigate criminal misconduct by DOJ employees—evaluates those complaints and decides
whether to investigate or send them back to BOP, which can take two forms. 40 First, OIG can
make a “management referral” for BOP to investigate at its discretion. 41 Second, OIG can make
a “monitored referral,” whereby BOP continues the investigation and reports its determination to
OIG once the investigation has concluded. 42




33
   Department of Justice, Office of Inspector General, Deterring Staff Sexual Abuse of Federal Inmates (Apr. 2005)
(oig.justice.gov/sites/default/files/archive/special/0504/index.htm). See also, e.g., United States v. Martinez, 388 F.
Supp. 3d 225, 236 (E.D.N.Y. 2019) (“consent is not relevant” for “sexual abuse of a ward” violations under 18
U.S.C. § 2243(b)).
34
   Department of Justice, Office of Inspector General, Deterring Staff Sexual Abuse of Federal Inmates (Apr. 2005)
(oig.justice.gov/sites/default/files/archive/special/0504/index.htm).
35
   BOP Program Statement 5324.06 (preamble).
36
   BOP Program Statement 5324.06 § 115.76(b).
37
   See 28 C.F.R § 115.
38
   See 28 C.F.R § 115.
39
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
40
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
41
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
42
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).



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        BOP OIA does not investigate allegations of criminal misconduct referred to OIG before
OIG has decided whether to retain the case. 43 If OIG declines to pursue a criminal or
administrative investigation, BOP will pursue an administrative investigation. 44 BOP OIA has
the ability to compel BOP employees, as a condition of employment, to sit for interviews about
the allegations against them. 45 BOP OIA closes cases in one of three ways: substantiation of
allegations, no substantiation of allegations, or closure for administrative reasons without
reaching the merits of the allegations. 46

 II.    The Subcommittee’s Investigation

       In April 2022, the Subcommittee launched an eight-month bipartisan investigation of
sexual abuse of female inmates in federal prisons. Specifically, the Subcommittee evaluated
whether female prisoners in the custody of BOP were safe from sexual abuse by BOP
employees. The Subcommittee did the following:

             •   Reviewed non-public documents and data provided by BOP, BOP
                 whistleblowers, and OIG.

             •   Interviewed more than two dozen witnesses, including:
                     o Four current senior officials within the BOP: Chief of BOP OIA, Beth
                         Reese; Acting Assistant Director of Reentry Services Division, Alix
                         McLearen, PhD; Regional Director for the Western Region with oversight
                         of FCI Dublin, Melissa Rios; and Warden of FCI Dublin from October
                         2017 to November 2020, Wiley Jenkins. 47
                     o Twelve survivors of sexual abuse in BOP custody. These women were
                         abused by male BOP employees in eight different BOP facilities. 48




43
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022). DOJ OIG, as with all federal Inspector General Offices, has a right of first refusal among law
enforcement agencies to investigate allegations of misconduct by employees of the agency overseen by the Inspector
General’s Office.
44
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
45
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
46
   See Office of Internal Affairs, BOP, Report for Fiscal Year 2020 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
47
   Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); Melissa Rios, Western Regional
Director, BOP, Interview with PSI (Nov. 10, 2022); Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview
with PSI (Nov. 16, 2022).
48
   W.P., Interview with PSI (Sept. 8, 2022); C.R., Interview with PSI (Aug. 30, 2022); C.D., Interview with PSI
(Oct. 14, 2022); K.D., Interview with PSI (Apr. 28, 2022); L.D., Interview with PSI (May 12, 2022); L.R., Interview
with PSI (June 17, 2022); S.M.R., Interview with PSI (Sept. 7, 2022); B.M., Interview with PSI (Aug. 4, 2022);
A.P., Interview with PSI (June 2, 2022); R.L., Interview with PSI (Oct. 12, 2022); R.D., Interview with PSI (July 5,
2022); V.M., Interview with PSI (June 14, 2022).



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                      o Eight BOP whistleblowers who came forward to report misconduct or
                        BOP’s deficient management practices. 49
                      o Brenda V. Smith, Esq., a law professor who studies sexual abuse in
                        custodial settings. 50

             •   Received briefings from:
                    o The OIG Assistant Inspector General for Investigations and two OIG
                       Senior Counsels to the Inspector General (collectively, “OIG”) concerning
                       OIG’s investigations into allegations of sexual abuse at FCC Coleman,
                       and the processes by which it coordinates investigative work with BOP
                       and decides which cases to investigate itself. 51
                    o DOJ’s Office of the Deputy Attorney General concerning a November 2,
                       2022 report issued by a Working Group convened at the direction of the
                       Deputy Attorney General Lisa Monaco to develop recommendations for
                       reducing sexual abuse of prisoners by BOP employees. 52

III.    There Were At Least Four BOP Facilities Between 2012 and 2022 with Recurring
        Sexual Abuse of Female Prisoners by Male BOP Employees

         The Subcommittee identified four BOP facilities over the past decade where multiple
male BOP employees sexually abused multiple female prisoners under their supervision. In
many instances, the women at these four facilities were abused multiple times over a period of
months or years. The facilities were MCC New York, MDC Brooklyn, FCC Coleman, and FCI
Dublin. 53 For each of them, the Subcommittee reviewed court filings, media reports, and OIA
investigative materials to better understand the extent of the sexual abuse. We discuss each
facility below.




49
   J.R., Interview with PSI (May 24, 2022); A.M., Interview with PSI (June 7, 2022); T.K., Interview with PSI (Aug.
31, 2022); F.M., Interview with PSI (Oct. 4, 2022); S.M., Interview with PSI (Aug. 11, 2022); E.C., S.C., J.L.,
Interview with PSI (July 28, 2022).
50
   Brenda V. Smith, Professor of Law, American University Washington College of Law, Interview with PSI (June
10, 2022).
51
   OIG Briefing to PSI (Nov. 9, 2022).
52
   Office of the Deputy Attorney General, Department of Justice, Briefing to PSI (Nov. 21, 2022). Bipartisan staff
from the Senate Judiciary Committee also attended this briefing. Working Group of DOJ Components, Report and
Recommendations Concerning the Department of Justice’s Response to Sexual Misconduct by Employees of the
Federal Bureau of Prisons (Nov. 2, 2022).
53
   See, e.g., U.S. Attorney’s Office, Southern District of New York: Correctional Officer At Metropolitan
Correctional Center Sentenced To 40 Months In Prison For Engaging In Abusive Sexual Contact With Inmates
(Dec. 8, 2020) (https://www.justice.gov/usao-sdny/pr/correctional-officer-metropolitan-correctional-center-
sentenced-40-months-prison); Office of Public Affairs, Department of Justice: Jury Convicts Former Federal Prison
Warden for Sexual Abuse of Three Female Inmates (Dec. 8, 2022) (https://www.justice.gov/opa/pr/jury-convicts-
former-federal-prison-warden-sexual-abuse-three-female-inmates); U.S. Attorney’s Office, Eastern District of New
York: Former Federal Bureau of Prisons Lieutenant Sentenced to 25 Years in Prison for Sexual Abuse and
Violation of Civil Rights Convictions (July 31, 2019) (https://www.justice.gov/usao-edny/pr/former-federal-bureau-
prisons-lieutenant-sentenced-25-years-prison-sexual-abuse-and); Vann Aff.



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             a. MCC New York

        MCC New York, opened in 1975, was an administrative security facility primarily used
to hold male and female detainees awaiting trial in the federal courthouses in the Southern
District of New York. 54 On August 26, 2021, BOP announced it would shut down this facility to
address unsanitary conditions, decrepit facilities, and chronic staff shortages. 55 Today, MCC
New York is undergoing repairs and is not in use. 56 Prior to its closure, MCC New York housed
approximately 750 prisoners, both male and female. 57

       Between approximately 2012 and 2018, then-MCC New York officer Colin Akparanta
sexually abused at least seven female prisoners under his supervision. 58 On December 8, 2022,
Akparanta was sentenced to 40 months imprisonment. 59

        In a civil suit filed in 2020, three of Akparanta’s victims alleged that BOP staff at MCC
New York “ignored warning signs [and] inmates’ sex abuse allegations against [] Akparanta.” 60
Warnings included a “town hall meeting” in 2017 where a BOP supervisor “told the assembled
[female prisoners], in substance or effect, ‘I don’t want to hear nothing about my officers
touching you.’” 61 The lawsuit further alleged that a BOP officer at MCC New York “ignored []
pleas for help” from a group of female prisoners about Akparanta’s sexual advances and
“quipped that [] Akparanta will ‘eventually get caught.’” 62 Between 2021 and 2022, BOP made
multiple payments totaling $4.2 million to victims of sex abuse at MCC New York. 63 BOP has
temporarily shut down MCC New York. 64



54
   State Courts, New York County Jail and Prison System (https://www.statecourts.org/inmate-search/new-york/new-
york-county/new-york-mcc/).
55
   Benjamin Weiser, Justice Dept. to Close Troubled Jail Where Jeffrey Epstein Died, New York Times (Aug. 26,
2021) (https://www.nytimes.com/2021/08/26/nyregion/MCC-epstein-jail-closed.html).
56
   See Federal Bureau of Prisons, MCC New York (https://www.bop.gov/locations/institutions/nym/); Benjamin
Weiser, Justice Dept. to Close Troubled Jail Where Jeffrey Epstein Died, New York Times (Aug. 26, 2021)
(https://www.nytimes.com/2021/08/26/nyregion/MCC-epstein-jail-closed.html).
57
   State Courts, New York County Jail and Prison System (https://www.statecourts.org/inmate-search/new-york/new-
york-county/new-york-mcc/).
58
   U.S. Attorney’s Office, Southern District of New York: Correctional Officer At Metropolitan Correctional Center
Sentenced To 40 Months In Prison For Engaging In Abusive Sexual Contact With Inmates (Dec. 8, 2020)
(https://www.justice.gov/usao-sdny/pr/correctional-officer-metropolitan-correctional-center-sentenced-40-months-
prison); United States v. Colin Akparanta, 19-CR-363 (S.D.N.Y.).
59
   U.S. Attorney’s Office, Southern District of New York: Correctional Officer At Metropolitan Correctional Center
Sentenced To 40 Months In Prison For Engaging In Abusive Sexual Contact With Inmates (Dec. 8, 2020)
(https://www.justice.gov/usao-sdny/pr/correctional-officer-metropolitan-correctional-center-sentenced-40-months-
prison); United States v. Colin Akparanta, 19-CR-363 (S.D.N.Y.).
60
   See Complaint, Dkt. 1 ¶ 4, Herrera v. United States, 20 Civ. 10206 (PKC) (S.D.N.Y. 2020).
61
   See Complaint, Dkt. 1 ¶ 100, Herrera v. United States, 20 Civ. 10206 (PKC) (S.D.N.Y. 2020).
62
   See Complaint, Dkt. 1 ¶ 107, Herrera v. United States, 20 Civ. 10206 (PKC) (S.D.N.Y. 2020).
63
   Benjamin Weiser, U.S. Pays $4.2 Million to Victims of Jail Guard’s Long-Running Sex Abuse, New York Times
(July 18, 2022) (https://www.nytimes.com/2022/07/18/nyregion/mcc-officer-sex-abuse-victims-payout.html).
64
   Jonathan Dienst, MCC, Lower Manhattan Jail Where Jeffrey Epstein Died, Transfers Out All Inmates, NBC New
York (Oct. 19, 2021) (https://www.nbcnewyork.com/news/local/mcc-lower-manhattan-jail-were-jeffrey-epstein-
died-transfers-out-all-inmates/3331966/).



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        Separately, DNA evidence confirmed that on February 14, 2015, then-MCC New York
officer Rudell Mullings assaulted a female prisoner in one of the prison corridors. 65 On May 4,
2016, he was sentenced to seven years imprisonment. 66

             b. MDC Brooklyn

      MDC Brooklyn is an administrative security metropolitan detention center located in
Brooklyn, New York, which houses over 1,500 inmates, including men and women.67

        In 2017, DOJ indicted two lieutenants (Carlos Martinez and Eugenio Perez) and one
officer (Armando Moronta) at MDC Brooklyn for repeated sexual abuse of nine female prisoners
during the night shift. 68 Martinez was convicted after a two-week jury trial, where prosecutors
introduced evidence that he had brought a Plan B pill into the prison for the woman he raped. 69
Perez was convicted after a two-week jury trial and sentenced to 25 years imprisonment for
sexually abusing five women held at MDC Brooklyn. 70 Moronta pleaded guilty and was
sentenced to 10 years imprisonment for abusing three women held at MDC Brooklyn and
smuggling narcotics into the prison. 71 The New York Times described these events as “one of the
largest sexual assault investigations to confront [BOP] in at least a decade.” 72

             c. FCC Coleman

        FCC Coleman is currently an all-male facility with four different components: a low
security federal correctional institution with an adjacent minimum-security satellite camp (FCI
Coleman Low); a medium security federal correctional institution (FCI Coleman Medium); a
high security penitentiary (USP Coleman I); and another high security penitentiary (USP


65
   U.S. Attorney’s Office, Eastern District of New York: Former Federal Correctional Officer Sentenced To Seven
Years For Sexually Abusing An Inmate (May 4, 2016) (https://www.justice.gov/usao-edny/pr/former-federal-
correctional-officer-sentenced-seven-years-sexually-abusing-inmate); See United States v. Rudell Mullings, 15-CR-
538 (E.D.N.Y.); United States v. Colin Akparanta, 19-CR-363 (S.D.N.Y.).
66
   U.S. Attorney’s Office, Eastern District of New York: Former Federal Correctional Officer Sentenced To Seven
Years For Sexually Abusing An Inmate (May 4, 2016) (https://www.justice.gov/usao-edny/pr/former-federal-
correctional-officer-sentenced-seven-years-sexually-abusing-inmate); See United States v. Rudell Mullings, 15-CR-
538 (E.D.N.Y.).
67
   Federal Bureau of Prisons, MDC Brooklyn (https://www.bop.gov/locations/institutions/bro/).
68
   U.S. Attorney’s Office, Eastern District of New York: Three Federal Correctional Officers Charged with
Sexually Abusing Inmates (May 25, 2017) (https://oig.justice.gov/press/2017/2017-05-25.pdf).
69
   Alan Feuer, Former Lieutenant at Brooklyn Federal Jail Convicted of Raping Female Inmate, New York Times
(Jan. 19, 2018) (https://www.nytimes.com/2018/01/19/nyregion/jail-guard-convicted-rape.html).
70
   U.S. Attorney’s Office, Eastern District of New York: Former Federal Bureau of Prisons Lieutenant Sentenced to
25 Years in Prison for Sexual Abuse and Violation of Civil Rights Convictions (July 31, 2019)
(https://www.justice.gov/usao-edny/pr/former-federal-bureau-prisons-lieutenant-sentenced-25-years-prison-sexual-
abuse-and).
71
   U.S. Attorney’s Office, Eastern District of New York: Former Federal Correctional Officer Sentenced to 10
Years in Prison for Sexual Abuse, Bribery and Narcotics Charges (Oct. 24, 2018) (https://www.justice.gov/usao-
edny/pr/former-federal-correctional-officer-sentenced-10-years-prison-sexual-abuse-bribery-and).
72
   Joseph Goldstein, Federal Jail in Brooklyn Faces a String of Sexual Assault Cases, New York Times (Aug. 1,
2017) (https://www.nytimes.com/2017/08/01/nyregion/federal-jail-in-brooklyn-faces-a-string-of-sexual-assault-
cases.html).



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Coleman II). 73 There are currently over 6,000 inmates housed across the complex. 74 Prior to
April 2021, FCC Coleman housed both male and female prisoners. 75 In April 2021, BOP
transferred all female prisoners out of FCC Coleman, coinciding with public allegations of
sexual abuse. 76

        On May 5, 2021, the United States Government paid at least $1.25 million to settle a civil
lawsuit brought by 15 women currently and formerly incarcerated at FCC Coleman who accused
eight BOP employees at that facility of years of sexual abuse. 77 During the course of the lawsuit,
the United States Government, a defendant, admitted in a court filing that six of those employees
had in fact engaged in sexual conduct with at least ten of the plaintiffs. 78 Sexual contact between
BOP employees and prisoners is a federal crime and violates BOP policy. 79 In interviews
compelled by BOP OIA during administrative investigations, prior to the United States
Government’s court filing, all six officers had already had admitted to sexually abusing female
prisoners under their supervision. 80 None of these six officers was ever prosecuted. 81

        The Subcommittee investigated how BOP officers who admitted to crimes in sworn
statements were never prosecuted. 82 As discussed above in Section I.C., once OIG declines to
pursue a criminal or administrative investigation, BOP will conduct its own administrative
investigation, either through OIA or the Special Investigative Services at the facility. 83 One of
BOP OIA’s investigative tools is requiring employees to answer questions under oath during
what is known as a Garrity interview. 84



73
   Federal Bureau of Prisons, USP Coleman II (https://www.bop.gov/locations/institutions/clp/).
74
   Federal Bureau of Prisons, FCI Coleman Low, (https://www.bop.gov/locations/institutions/col/) ; Federal Bureau
of Prisons, FCI Coleman Medium, (https://www.bop.gov/locations/institutions/com/) (accessed Dec. 6, 2022);
Federal Bureau of Prisons, USP Coleman I, (https://www.bop.gov/locations/institutions/cop/); Federal Bureau of
Prisons, USP Coleman II (https://www.bop.gov/locations/institutions/clp/).
75
   2021 Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261).
76
   Carl Hiassen, Female inmates feared reprisals from prison guards who raped them, Miami Herald (Sept. 25,
2020) (https://www.miamiherald.com/opinion/opn-columns-blogs/carl-hiaasen/article245829215.html); 2021
Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261) at PSI-
BOPOIA-Prod1-000136.
77
   Romy Ellenbogen, Lawsuit settled in which 15 women alleged sexual abuse at Florida prison, Tampa Bay Times
(May 5, 2022) (https://www.tampabay.com/news/florida/2021/05/05/lawsuit-settled-in-which-15-women-alleged-
sexual-abuse-at-florida-prison/). The settlement amount is likely much greater as eleven women did not disclose the
amount of their recovery.
78
   See Beaubrun Answer at 6-8. See also 18 U.S.C. § 2243(b).
79
   18 U.S.C. § 2243(b); Department of Justice, Office of Inspector General, Deterring Staff Sexual Abuse of Federal
Inmates (Apr. 2005) (http://oig.justice.gov/sites/default/files/archive/special/0504/index.htm).
80
   2018 Palomares Aff.; 2019 Palomares Aff.; Kuilan Aff; Vann Aff.; Laudenslager Aff.; Phillips Aff.; Campbell
Aff.
81
   Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); OIG Briefing
to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
82
   The Subcommittee asked BOP OIA Chief Reese this question during an interview. She said, “I do not know.”
Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
83
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
84
   Garrity v. New Jersey, 385 U.S. 493 (1967).



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        In 1967, the United States Supreme Court held in Garrity v. New Jersey that when a
government employer forces an employee to answer questions under oath as a condition of
employment, that interview is considered “compelled,” and any inculpatory statements made by
the employee during that interview cannot be used against him in a subsequent criminal
prosecution. 85 In other words, if a BOP employee admits to sexual misconduct in a compelled
interview, statements made during that interview cannot be used against him in a criminal
prosecution by OIG or any other law enforcement entity.

        To the extent that OIG were to pursue criminal charges after the BOP employee admitted
to a crime in the BOP OIA-compelled interview, OIG would have to show that it had reasons to
pursue criminal charges independent from anything disclosed in the Garrity interview and that
none of the evidence used in the prosecution was derived from the Garrity interview. 86 These
are difficult thresholds to clear in most cases. 87 The practical effect is that “if [the BOP
employee] can be compelled, it’s a get out of jail free card” under certain circumstances, OIG
told the Subcommittee. 88

        In the case of FCC Coleman, BOP OIA received female prisoners’ complaints of sexual
misconduct by at least six officers. 89 BOP OIA sent the complaints to OIG. 90 OIG declined to
investigate and referred the cases back to BOP OIA. 91 BOP OIA compelled each of these
officers to sit for interviews. 92 In those interviews, the officers made sweeping admissions to
misconduct, making subsequent criminal prosecution difficult. 93

     The following contains excerpts of affidavits that memorialize admissions from former
BOP employees at FCC Coleman following BOP OIA-compelled interviews.

       In an affidavit dated October 2, 2019, former BOP correctional officer, Keith Vann,
admitted in his BOP OIA-compelled interview: 94




85
   Garrity v. New Jersey, 385 U.S. 493 (1967).
86
   OIG Briefing to PSI (Nov. 9, 2022).
87
   OIG Briefing to PSI (Nov. 9, 2022).
88
   OIG Briefing to PSI (Nov. 9, 2022).
89
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
90
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
91
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
92
   OIG Briefing to PSI (Nov. 9, 2022); Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI
(Oct. 28, 2022).
93
   OIG Briefing to PSI (Nov. 9, 2022). See also Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview
with PSI (Oct. 28, 2022).
94
   Vann Aff.



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      In an affidavit dated June 28, 2019, former BOP correctional officer Christopher
Palomares admitted in his BOP OIA-compelled interview: 95




       In an affidavit dated June 28, 2019, former BOP correctional officer Scott Campbell
admitted in his BOP OIA-compelled interview: 96




       In an affidavit dated October 3, 2019, former BOP correctional officer Timothy Phillips
admitted in his BOP OIA-compelled interview: 97




95
   2019 Palomares Aff.
96
   Campbell Aff.
97
   Phillips Aff.


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        After reviewing affidavits in these cases in response to the Subcommittee’s request, OIG
told the Subcommittee in a briefing:

                 There is no world in which we can say this is a good outcome.
                 These individuals knew they have been compelled and could retire
                 and resign and spill to [BOP] OIA and basically have immunity in
                 some cases for engaging in sexual activity with multiple inmates.
                 It is a terrible outcome. 98

        OIG has recently reformed its complaint screening practices to mitigate the risk of
overlooking widespread sexual abuse in a BOP facility by employees again. Although OIA
provided the FCC Coleman allegations to OIG on multiple occasions, OIG is also considering a
written memorandum with OIA to memorialize BOP OIA’s current practice, such that BOP OIA
would have an affirmative, written responsibility to inform OIG of new evidence uncovered
during OIA’s administrative investigation, prior to Garrity interviews, that could support a
criminal investigation. 99

             d. FCI Dublin

        FCI Dublin is an all-female facility with two components: a low security federal
correctional institution and an adjacent minimum-security satellite camp. 100 There are currently
477 female offenders housed across the prison. 101

        In the past eighteen months, DOJ has indicted five BOP employees for sexual abuse of at
least eight female detainees at FCI Dublin.

             •   In June 2021, the U.S. Attorney’s Office for the Northern District of California
                 filed a criminal complaint against Ross Klinger, a former BOP correctional officer
                 and recycling technician, with sexual abuse of a ward. 102 He pleaded guilty to
                 three counts of sexual abuse of a ward. 103 The criminal complaint cites sexual
                 abuse of two female prisoners. 104

             •   In November 2021, the U.S. Attorney’s Office for the Northern District of
                 California indicted Ray J. Garcia, the former Warden of FCI Dublin, on two


98
   OIG Briefing to PSI (Nov. 9, 2022).
99
   Email from OIG to PSI (Dec. 11, 2022) (on file with PSI).
100
    Federal Bureau of Prisons, FCI Dublin (https://www.bop.gov/locations/institutions/dub/).
101
    Federal Bureau of Prisons, FCI Dublin (https://www.bop.gov/locations/institutions/dub/).
102
    Michael R. Sisak and Michael Balsamo, Worker pleads guilty to abusing inmates at US women’s prison, AP
News (Feb. 11, 2022) (https://apnews.com/article/coronavirus-pandemic-health-california-oakland-prisons-
5085536a92b12afa46bbfcf00cba46d9).
103
    U.S. Attorney’s Office Northern District of California: Bureau Of Prisons Correctional Officer Charged With
Sexual Abuse Of A Ward (June 30, 2021) (www.justice.gov/usao-ndca/pr/bureau-prisons-correctional-officer-
charged-sexual-abuse-ward).
104
    United States v. Klinger, No. 4:22-CR-00031-JSW (N.D. Cal., June 25, 2021).



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                 counts of sexual abuse of a ward. 105 According to the criminal complaint, Garcia
                 knowingly had sexual contact with at least one female prisoner, asked at least two
                 inmates to strip naked for him during rounds and took photos, and stored a “large
                 volume of sexually graphic photographs” on his BOP issued cellphone. 106 In the
                 two years prior to his arrest, Garcia was the PREA compliance officer at FCI
                 Dublin, responsible for ensuring that the facility was adhering to PREA policies
                 and training other employees, including new supervisors. 107 On December 8,
                 2022, Garcia was convicted by a jury of sexually abusing female prisoners. 108

             •   On November 309, 2021, the United States Attorney’s Office for the Northern
                 District of California filed a criminal complaint against John Bellhouse for sexual
                 abuse of a prison ward. 109 Bellhouse served as a correctional officer and safety
                 administrator at FCI Dublin before being placed on administrative leave in March
                 2021. 110 In June 2020, a prisoner identified that Bellhouse and another BOP
                 employee were engaging in sexual interactions with several prisoners, and also
                 providing prisoners with contraband, money and personal cellphone use. 111
                 Bellhouse pleaded not guilty and is currently awaiting trial, which is scheduled
                 for the summer of 2023. 112



105
    U.S. Attorney’s Office, Northern District of California: Warden Of Federal Corrections Institute In Dublin
Charged With Sexual Abuse Of A Ward (Sept. 29, 2021) (https://www.justice.gov/usao-ndca/pr/warden-federal-
corrections-institute-dublin-charged-sexual-abuse-ward). For the criminal complaint filed against Warden Garcia,
see https://www.documentcloud.org/documents/21408685-warden-ray-j-garcia.
106
    U.S. Attorney’s Office, Northern District of California: Warden Of Federal Corrections Institute In Dublin
Charged With Sexual Abuse Of A Ward (Sept. 29, 2021) (https://www.justice.gov/usao-ndca/pr/warden-federal-
corrections-institute-dublin-charged-sexual-abuse-ward). For the criminal complaint filed against Warden Garcia,
see https://www.documentcloud.org/documents/21408685-warden-ray-j-garcia.
107
    Michael R. Sisak and Michael Balsamo, Abuse-clouded prison gets attention, but will things change?, AP News
(May 5, 2022) (https://apnews.com/article/business-prisons-california-sexual-abuse-only-on-ap-
3a4db9ab478bfdd545ef3c7e08cd273b); Office of Public Affairs, Department of Justice: Jury Convicts Former
Federal Prison Warden for Sexual Abuse of Three Female Inmates (Dec. 8, 2022)
(https://www.justice.gov/opa/pr/jury-convicts-former-federal-prison-warden-sexual-abuse-three-female-inmates);
2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with PSI).
108
    Office of Public Affairs, Department of Justice: Jury Convicts Former Federal Prison Warden for Sexual Abuse
of Three Female Inmates (Dec. 8, 2022) (https://www.justice.gov/opa/pr/jury-convicts-former-federal-prison-
warden-sexual-abuse-three-female-inmates).
109
    U.S. Attorney’s Office, Northern District of California: Federal Correctional Officer Charged With Sexual Abuse
Of An Inmate (Dec. 3, 2021) (https://www.justice.gov/usao-ndca/pr/federal-correctional-officer-charged-sexual-
abuse-inmate). The U.S. Attorney’s Office filed a superseding indictment with additional charges against Bellhouse
on September 29, 2022. See Department of Justice, FCI Dublin Officer Faces Abuse Charges Against Two
Additional Incarcerated Victims (Sept. 29, 2022) (https://www.justice.gov/opa/pr/fci-dublin-correctional-officer-
faces-abuse-charges-against-two-additional-incarcerated).
110
    U.S. Attorney’s Office, Northern District of California: Federal Correctional Officer Charged With Sexual Abuse
Of An Inmate (Dec. 3, 2021) (https://www.justice.gov/usao-ndca/pr/federal-correctional-officer-charged-sexual-
abuse-inmate).
111
    See Complaint at ¶ 114, United States v. Bellhouse, 4:21-mj-71905-MRGD (N.D. Cal. 2021).
112
    Dublin prison guard faces more charges of sexual abuse of female inmates, Bay City News Service (Oct. 2,
2022) (https://www.danvillesanramon.com/news/2022/10/02/dublin-prison-guard-faces-more-charges-of-sexual-
abuse-of-female-inmates).



                                                        16
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             •   In January 2022, the Criminal Section of the Civil Rights Division of DOJ filed
                 an information against James Highhouse, a former Chaplain at FCI Dublin, on
                 charges of sexual abuse of a ward, abusive sexual contact, and making false
                 statements to investigators. 113 In February 2022, Highhouse pleaded guilty to five
                 felonies for sexually abusing a female inmate and lying to investigators about the
                 misconduct. 114 In August 2022, Highhouse was sentenced to 84 months in prison
                 followed by five years of supervised released. 115

             •   On March 10, 2022, Enrique Chavez, a food service foreman at FCI Dublin was
                 indicted on two counts of abusive sexual contact with a prison inmate. 116
                 According to the indictment, Chavez touched the woman’s breasts, buttocks and
                 genitals on two separate occasions in October 2020. 117 Chavez pleaded guilty on
                 October 27, 2022, to abusive sexual contact with a female prison inmate while he
                 was employed at FCI Dublin. 118 The count carries a maximum statutory sentence
                 of two years imprisonment and a $250,000 fine, with a minimum period of
                 supervision following release from prison of five years and a maximum of a
                 lifetime of supervision. 119 Sentencing is scheduled for February 2, 2023. 120

       As of May 2022, OIG and/or BOP were investigating at least 17 additional current or
former employees at FCI Dublin for sexual misconduct. 121

       The most recent indictments are not the only examples of repeated sexual abuse of female
prisoners at FCI Dublin. Since the 1990s, there have been at least three additional high-profile
cases of sexual abuse of female prisoners involving male BOP employees.

113
    United States v. James Highhouse, 4:22-CR-16 (N.D. Cal. 2022).
114
    Department of Justice, Former Bureau of Prisons Chaplain Pleads Guilty to Sexual Assault and Lying to Federal
Agents (Feb. 23, 2022) (https://www.justice.gov/opa/pr/former-bureau-prisons-chaplain-pleads-guilty-sexual-
assault-and-lying-federal-agents).
115
    Department of Justice, Federal Prison Chaplain Sentenced for Sexual Assault and Lying to Federal Agents (Aug.
31, 2022) (https://www.justice.gov/opa/pr/federal-prison-chaplain-sentenced-sexual-assault-and-lying-federal-
agents).
116
    Department of Justice, Correctional Officer at FCI Dublin Charged for Abusive Sexual Contact with Female
Inmate (Mar. 23, 2022) (https://www.justice.gov/opa/pr/correctional-officer-fci-dublin-charged-abusive-sexual-
contact-female-inmate).
117
    United States v. Chavez, 4:22cr104 (N.D. Cal. 2021) (indictment filed on Mar. 10, 2022).
118
    U.S. Attorney’s Office Northern District of California: Former Correctional Officer Admits To Abusive Sexual
Contact With Inmate (Oct. 27, 2022) (https://www.justice.gov/usao-ndca/pr/former-correctional-officer-admits-
abusive-sexual-contact-inmate).
119
    U.S. Attorney’s Office Northern District of California: Former Correctional Officer Admits To Abusive Sexual
Contact With Inmate (Oct. 27, 2022) (https://www.justice.gov/usao-ndca/pr/former-correctional-officer-admits-
abusive-sexual-contact-inmate).
120
    U.S. Attorney’s Office Northern District of California: Former Correctional Officer Admits To Abusive Sexual
Contact With Inmate (Oct. 27, 2022) (https://www.justice.gov/usao-ndca/pr/former-correctional-officer-admits-
abusive-sexual-contact-inmate).
121
    Lisa Fernandez, 25 Dublin prison employees under investigation for sex, drug, lying abuses, KTVU FOX 2 (May
5, 2022) (https://www.ktvu.com/news/25-dublin-prison-employees-under-investigation-for-sex-drug-lying-abuses).
For the full list of investigations, see https://www.documentcloud.org/documents/21882894-dublin-prison-open-
investigations.



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             •   In 1996, three women were brought to a male housing unit at an adjacent facility
                 where BOP officers opened their cell doors allowing male inmates to rape them.
                 The United States settled in 1998 and BOP promised “to adopt and implement
                 certain policies and procedures designed to reduce the risk to female prisoners of
                 sexual assaults.” 122

             •   In the late 1990s and early 2000s, four male BOP employees at FCI Dublin were
                 convicted or pleaded guilty to sexual abuse of female inmates at that facility. 123

             •   In the early 2010s, according to media reports, approximately “a dozen Dublin
                 employees were removed for sexually abusing inmates,” including one who
                 videotaped himself having sex with inmates and stored those tapes in a prison
                 locker. None were arrested. 124

             e. Sexual Abuse Across Other BOP Facilities that Hold Female Prisoners

         In an attempt to understand the breadth of sexual abuse of female prisoners by male BOP
employees, the Subcommittee analyzed court filings in criminal cases, civil cases, and BOP
records concerning the number of substantiated allegations of sexual abuse by BOP employees.
Through those efforts, PSI was able to identify that over the past decade BOP opened 5,415
cases of sexual abuse from male and female inmates by BOP employees. 125 Of those cases, 586
were substantiated. 126 There were at least 134 cases for which a BOP employee was convicted
of sexually abusing a female prisoner or where BOP OIA substantiated allegations that a female
prisoner was sexually abused by a BOP employee. 127 BOP employees sexually abused women
in their custody in at least two-thirds (19 of the 29) of the facilities where BOP has held
incarcerated women this past decade. 128




122
    Lucas v. White, 96-cv-2905-TEH (N.D. Cal. 1997) (settlement agreement on file with PSI).
123
    United States v. Accursi, 4:97-cr-40101 (N.D. Cal.); United States v. Hyson, 4:99-cr-40031 (N.D. Cal.); United
States v. Hawthorne, 4:99-cr-40051 (N.D. Cal.); United States v. Donaldson, 4:02-cr-40153 (N.D. Cal.); United
States v. Rodarte, 4:02-cr-40153 (N.D. Cal.). See also Josh Richman, Lawyer: Abuse of inmates rampant; Guard’s
indictment latest problem to surface at Dublin’s Federal Correctional Institution, Tri Valley Herald (Aug. 21, 2002)
(on file with PSI); Josh Richman, Ex-Dublin guard agrees to deal, admits to abuse; Plea bargain calls for 10-16
months in prison, The Daily Review (May 17, 2003) (on file with PSI).
124
    Michael R. Sisak and Michael Balsamo, Abuse-clouded prison gets attention, but will things change?, AP News
(May 5, 2022) (https://apnews.com/article/business-prisons-california-sexual-abuse-only-on-ap-
3a4db9ab478bfdd545ef3c7e08cd273b).
125
    Staff-on-Inmate Cases by Facility (2012-2021), Production from DOJ to PSI (Nov. 4, 2022) (PSI-BOPOIA-
Prod4-0001-0049).
126
    Staff-on-Inmate Cases by Facility (2012-2021), Production from DOJ to PSI (Nov. 4, 2022) (PSI-BOPOIA-
Prod4-0001-0049). The Subcommittee calculated the total number of substantiated cases by tabulating data
produced by DOJ.
127
    See Exhibit 1. The Subcommittee arrived at this number by reviewing court filings and cases where BOP OIA
substantiated allegations sexual abuse of female prisoners by BOP employees at the six female-only facilities.
128
    See footnote 1; Exhibit 1.



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IV.     BOP Does Not Systematically Analyze Key Indicators of Sexual Abuse in its
        Facilities

        The Subcommittee asked BOP for the information it relies upon to monitor compliance
with PREA, including the risk of BOP employees sexually abusing female prisoners. BOP
witnesses, including OIA Chief Reese, Acting Assistant Director for Reentry Services Alix
McLearen, PhD, Western Regional Director Rios, and former FCI Dublin Warden Wiley Jenkins
identified three categories of information used to assess risk and monitor compliance: (1) PREA
audits; (2) complaints filed by inmates concerning staff-initiated sexual abuse; and (3)
disposition of those complaints. 129

        The Subcommittee determined that PREA audits of FCC Coleman and FCI Dublin failed
to detect the culture of BOP employees sexually abusing female detainees at those facilities
before, during, and after abuse occurred. The Subcommittee also found that BOP does not
systematically analyze complaint data to detect potentially problematic employees or institutions.
Finally, BOP has accrued a backlog of approximately 8,000 cases and does not report case
closure rates in a way that would indicate its progress in clearing the backlog.

            a. Flawed PREA Audits Failed to Detect the Culture of Sexual Abuse of Female
               Prisoners by Employees at FCC Coleman and FCI Dublin

         PREA “is intended to make confinement facilities free from sexual abuse and its
threat.” 130 When Congress passed PREA in 2003, it established a National Prison Rape
Elimination Commission (the “NPRE Commission”) to “carry out a comprehensive legal and
factual study of the penological, physical, mental, medical, social, and economic impacts of
prison rape” and to issue a report with “recommended national standards for reducing prison
rape[.]” 131 The recommendations, adopted by DOJ and binding on BOP, require periodic PREA
audits of all federal correctional facilities to ensure compliance with the standards put forth in the
regulations. 132 According to DOJ, PREA auditors “are responsible for conducting high quality,
reliable, objective, and comprehensive audits that hold agencies and facilities accountable for
keeping individuals in their custody and care safe from sexual abuse and sexual harassment.” 133

       PREA audits assess whether an institution is compliant with the 45 PREA standards by
reviewing policies and practices within the institution, interviewing employees and prisoners,
and reviewing documentation from the audit period, such as prisoner complaints of sexual abuse


129
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); Melissa Rios, Western Regional
Director, BOP, Interview with PSI (Nov. 10, 2022); Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview
with PSI (Nov. 16, 2022).
130
    Bureau of Justice Assistance, Prison Rape Elimination Act Auditors: Information and Resources (Nov. 2021)
(https://www.prearesourcecenter.org/sites/default/files/PREA-Auditors-FS.pdf).
131
    Pub. L. 108-79, § 7, codified at 34 U.S.C. § 30306.
132
    See 28 C.F.R § 115.
133
    Bureau of Justice Assistance, Prison Rape Elimination Act Auditors: Information and Resources (Nov. 2021)
(https://www.prearesourcecenter.org/sites/default/files/PREA-Auditors-FS.pdf).



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or harassment. 134 PREA audits are one of the key tools that BOP relies upon to assess whether
its facilities have implemented the standards designed to mitigate the risk of sexual abuse of
prisoners. 135 When the Subcommittee asked the BOP Regional Director for the Western Region,
Melissa Rios, the BOP official responsible for oversight of FCI Dublin among other facilities,
how the regional office monitored potential sex abuse in its facilities, she explained that she
relies on PREA policies to mitigate the risk of sexual assault, and PREA audits to assess
compliance with the PREA policies. 136

        The Subcommittee reviewed PREA audits of FCC Coleman and FCI Dublin—where
there were, per BOP OIA Chief Reese, “cultural issues” concerning sexual misconduct by
employees—to evaluate whether the audits detected that there was a sexual abuse problem. 137 In
other words, did the PREA audits predating and during the period of multiple BOP employees
abusing multiple women find that the prison was not compliant with some or all of the PREA
standards? Did the audits covering the periods of significant sexual abuse detect the cultural
issues at that prison?

        The Subcommittee found that BOP failed to accomplish either outcome with its PREA
audits. PREA audits during all of the relevant periods for these facilities came back clean: these
audits found that FCC Coleman and FCI Dublin were compliant with all PREA standards before,
during, and after the multiple, documented instances of sexual abuse. 138 Table 1 shows the
results of these audits.




134
    See, e.g., 2021 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with PSI).
135
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
135
    28 C.F.R. § 115 (citing BJS report); Melissa Rios, Western Regional Director, BOP, Interview with PSI (Nov.
10, 2022).
136
    Melissa Rios, Western Regional Director, BOP, Interview with PSI (Nov. 10, 2022). See also Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
136
    Melissa Rios, Western Regional Director, BOP, Interview with PSI (Nov. 10, 2022).
137
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
138
    Compare 2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with PSI); 2022 FCI
Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0262-0381); 2018 FCC
Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0635-0726); and 2021
FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261) with
Section III.C., supra. See also Exhibit 1.


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Table 1: PREA Audits of FCC Coleman and FCI Dublin 139

                    Facility         PREA Audit Date               Results (Standards)
                                     March 22, 2015            Exceeded: 4
                                                               Met: 38
                                                               Not Met: 0
                                                               Not Applicable: 1
              FCC Coleman            April 19, 2018            Exceeded: 2
                                                               Met: 43
                                                               Not Met: 0
                                     September 7, 2021         Exceeded: 1
                                                               Met: 44
                                                               Not Met: 0
                                     May 16, 2014              Exceeded: 2
                                                               Met: 40
                                                               Not Met: 0
                                                               Not Applicable: 1
              FCI Dublin             June 14, 2017             Exceeded: 0
                                                               Met: 41
                                                               Not Met: 0
                                                               Not Applicable: 2
                                     March 12, 2022            Exceeded: 0
                                                               Met: 45
                                                               Not Met: 0

        When asked in an interview with the Subcommittee whether PREA audits can help detect
a culture of abuse at a facility, BOP’s Acting Director of Reentry Services said, “it is clear the
PREA audit did not do that at Coleman.” 140

        The Subcommittee has concerns about PREA audits of FCC Coleman and FCI Dublin.
PREA auditors seek to interview a representative sample of prisoners incarcerated at a facility. 141
For the FCC Coleman PREA audit of 2021, BOP transferred all female prisoners out of the
prison two days before the auditor arrived for on-site interviews. 142 The auditor did not
interview any female prisoners. 143


139
    2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with PSI); 2022 FCI Dublin
PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0262-0381); 2018 FCC Coleman
PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0635-0726); 2021 FCC Coleman
PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-0261).
140
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
141
    See 2021 FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-
0261).
142
    See 2021 FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-
0261).
143
    See 2021 FCC Coleman PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (PSI-BOPOIA-Prod1-0125-
0261).



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        The PREA audit of FCI Dublin from 2017 identifies the then-Associate Warden, Ray J.
Garcia, as the facility’s PREA compliance officer—the individual responsible for ensuring that
the facility was compliant with the PREA standards, training new supervisors on PREA
procedures and policies, and coordinating the PREA audit. 144 After Garcia was promoted to
Warden, he was indicted for sexually abusing multiple female prisoners under his supervision for
a period of years, and convicted by a jury on December 8, 2022. 145

             b. BOP Does Not Systematically Analyze PREA Complaint Data

        In 2009, the National Prison Rape Elimination Commission (the “NPRE
Commission”)—a bipartisan Commission that Congress created through PREA to study policies
and practices related to the prevention, detection, response, and monitoring of sexual abuse in
correction and detention facilities in the United States—issued a report underscoring the
importance of analyzing data trends to identify and prevent prison rape and sexual abuse. 146 The
NPRE’s 2009 report noted that “data are especially useful in documenting patterns and trends
and in measuring performance within facilities and throughout entire correctional systems.” 147
Based on recommendations in NPRE Commission’s 2009 report, DOJ finalized the National
Standards to Prevent, Detect, and Respond to Prison Rape (the “National PREA Standards”) in
2012. 148 In relevant parts, the National PREA Standards promulgated by DOJ require BOP to
“collect accurate, uniform data for every allegation of sexual abuse” and “review[the] data
collected … [to] identify[] problem areas [and] tak[e] corrective action on an ongoing basis.” 149

        Complaint data, which is collected and stored by BOP OIA, is one of the primary
indicators that BOP could use to detect sexual abuse in a specific facility or by a specific staff
member. 150 During an interview with the Subcommittee, BOP OIA Chief Reese explained that

144
    See 2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4, 2022) (on file with PSI); Michael R.
Sisak and Michael Balsamo, Abuse-clouded prison gets attention, but will things change?, AP News (May 5, 2022)
(apnews.com/article/government-and-politics-prisons-california-bf66f02f8d21137461497d26c38c6ac5).
145
    Office of Public Affairs, Department of Justice: Jury Convicts Former Federal Prison Warden for Sexual Abuse
of Three Female Inmates (Dec. 8, 2022) (https://www.justice.gov/opa/pr/jury-convicts-former-federal-prison-
warden-sexual-abuse-three-female-inmates); 2017 FCI Dublin PREA Audit, Production from DOJ to PSI (Oct. 4,
2022) (on file with PSI).
146
    National Prison Rape Elimination Commission, National Rape Elimination Commission Report at 85 (June
2009). The value of analyzing data trends was made clear to BOP two decades prior. In 1999, the Government
Accountability Office (“GAO”) issued a report that examined BOP’s policies, practices, and systems for preventing
and addressing BOP employee-initiated sexual abuse of female prisoners. See Government Accountability Office,
Women in Prison: Sexual Misconduct by Correctional Staff, GAO-GGD-99-104 (1999)
(https://www.gao.gov/products/ggd-99-104). GAO identified deficiencies with BOP OIA’s informational systems
for “tracking . . . allegations of staff-on-inmate sexual misconduct in federal prisons” since “information on all
allegations were not readily available from [that] system.” Based on that finding, GAO issued a recommendation to
the BOP Director to “develop systems and procedures to monitor and analyze allegations of staff sexual misconduct
in federal prisons and periodically report results to [DOJ OIG] and to appropriate BOP officials (e.g., senior
managers and wardens).”
147
    National Prison Rape Elimination Commission, National Rape Elimination Commission Report at 85 (June
2009).
148
    See Department of Justice, 2012 DOJ PREA Standards Final Notice, 77 Fed. Reg. 37,106 (2021).
149
    28 C.F.R. § 115.88.
150
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).



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OIA is the entity within BOP that has primary responsibility for tracking and overseeing
employee misconduct. 151 OIA maintains a database that contains information about all of the
complaints it receives, including type of misconduct, facility, identity of employee, date, and
other related information. 152

         In the Subcommittee’s interviews of Chief Reese, Dr. McLearen, and Regional Director
Rios, these witnesses described how complaints of sexual abuse against BOP employees can
suggest whether a region, group of facilities, individual facility, or employee merits additional
scrutiny. 153 The absence of complaints can also be probative: if female prisoners do not feel safe
filing a complaint, the number of complaints at a particular institution may be artificially
suppressed, meriting further scrutiny. 154

        Yet while BOP is required by law to collect and analyze complaint data, it does not
systematically use it to prevent and/or detect sexual abuse of female prisoners by employees. 155
In other words, it does not have a practice of analyzing this data to identify facilities with an
outlier number of complaints or broader system-wide issues. 156 Although BOP may be aware of
multiple complaints against individual employees, it does not appear that BOP analyzes this data
to specifically identify BOP employees accused of abusing multiple women who merit additional
scrutiny. 157 BOP OIA does not, in the ordinary course of business, report any complaint data to
BOP leadership in the Central Office in Washington, D.C., the Regional Offices, or Wardens. 158
Indeed, as DOJ acknowledged to the Subcommittee, “the system used [by BOP] to track staff-
initiated incidents was designed primarily for individual case tracking and not for trend analysis
of data across matters.” 159 Therefore, save for an ad hoc review, BOP does not ascertain
whether the number of sexual abuse allegations at a specific facility or region is trending or part
of a larger pattern. 160

            c. The Office of Internal Affairs Annual Reporting Is Confusing, Omits
               Relevant Information, and Obscures BOP’s Internal Affairs Case Backlog

        BOP OIA generates an annual report for each fiscal year, intended to provide
“information concerning the types and frequency of misconduct that occurs within [BOP]. The
report is intended for managers and supervisors to address any trends and to identify any need for
training to prevent misconduct from occurring.” 161

151
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
152
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
153
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022); Melissa Rios, Western Regional
Director, BOP, Interview with PSI (Nov. 10, 2022).
154
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
155
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
156
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
157
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
158
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
159
    See Email from DOJ to PSI (Oct. 18, 2022) (on file with PSI).
160
    See Email from DOJ to PSI (Oct. 18, 2022) (on file with PSI).
161
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).



                                                      23
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        The report identifies how many cases BOP OIA closed by category of alleged
misconduct. 162 However, BOP OIA does not report out critical categories of information, such
as the facilities where misconduct was alleged, the type of facility where misconduct was alleged
(i.e., whether it was a female facility), the gender of the complainant in sexual abuse cases
(except for the most recent report, in FY 2020), the identity of the BOP employee accused of
abuse, and whether the employee was named in other complaints over time. 163

        Additionally, its presentation of case closure data is confusing, obscuring how long cases
have been pending and the total case backlog. 164 Each year, OIA reports the total number of
cases it closed according to the year that the case was opened. In other words, cases that were
opened in one fiscal year but closed in another fiscal year are reported under the fiscal year they
were originally opened. This method of presenting data obscures how long cases have been
pending and the extent of the case backlog. 165 Further, the report does not disclose what portion
of the backlog is comprised of sexual abuse or any other category of case. 166

 V.      BOP Fails to Hold Employees Accountable for Misconduct

       “Obviously there [was] a cultural issue and a sense of permissiveness with staff having
too much time with inmates [at FCC Coleman]. There [was] also a belief that staff [would]
engage in this behavior without repercussions.”
                                      -BOP OIA Chief Reese 167

             a. BOP Internal Affairs Has a Backlog of Approximately 8,000 Misconduct
                Cases

         Per BOP guidelines, OIA should resolve complaints of employee misconduct within 180
days. 168 Local investigators at each institution should resolve complaints within 120 days. 169
The Subcommittee found that BOP’s past and current practices violate these guidelines. 170



162
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
163
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
164
    See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Office of
Internal Affairs, BOP, Report for Fiscal Year 2020 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
165
    See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Office of
Internal Affairs BOP, Report for Fiscal Year 2020; Beth Reese, Chief of the Office of Internal Affairs, BOP,
Interview with PSI (Oct. 28, 2022).
166
    See Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Office of
Internal Affairs BOP, Report for Fiscal Year 2020.
167
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
168
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
169
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
170
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022). Chief Reese told
the Subcommittee that the Warden involved in the incident she recalled was later investigated for failure to report.



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        During FY 2020, the latest data that BOP OIA has analyzed and reported, BOP OIA
opened 5,270 cases of allegations of employee misconduct—not limited to sexual misconduct—
involving 6,593 of BOP’s 37,000 employees. 171 More than 1,100 of these cases alleged
violations of Classification 1 offenses, the most serious misconduct, including sexual abuse or
sexual harassment of female detainees. 172 Yet as of March 17, 2021, BOP OIA had only closed
1,663 cases, or 31.6%. 173 Of cases opened in FY 2020, 3,607 cases, or 68.4%, remained open. 174

         For FY 2020, there were 554 allegations of BOP employees and contractors sexually
abusing prisoners reported to BOP OIA or detected during an open BOP OIA investigation. 175
As of March 17, 2021, BOP substantiated five allegations of sexual abuse reported that year,
which involved two BOP employees, two contract/residential reentry employees, and one
employee working in a privatized facility. 176 BOP did not sustain 215 allegations, and 304 were
still pending. 177

       Failure to timely clear cases adds up. During the course of its investigation, the
Subcommittee uncovered that as of October 28, 2022, OIA had a backlog of approximately
8,000 cases, with some cases pending for more than five years. 178 During an interview with the
Subcommittee, BOP OIA Chief Reese said that BOP does not expect to be able to clear the
backlog for another two years, at the earliest. 179




171
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 8
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf); Beth Reese, Chief of the Office of Internal
Affairs, BOP, Interview with PSI (Oct. 28, 2022).
172
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 8
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf); Beth Reese, Chief of the Office of Internal
Affairs, BOP, Interview with PSI (Oct. 28, 2022). Classification 1 cases are defined as allegations, which, if
substantiated, would constitute a prosecutable offense (other than offenses such as misdemeanor arrests).
Classification 1 cases, which include sex abuse, bribery, trafficking of contraband, and inappropriate use of a
firearm, must be reported to OIA immediately and referred to OIG immediately. Bureau of Prisons, Program
Statement (May 20, 2003) (https://www.bop.gov/policy/progstat/1210_024.pdf).
173
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 11 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
174
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 11 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
175
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 32 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
176
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 12 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf).
177
    Office of Internal Affairs, BOP, Report for Fiscal Year 2020 at 32 (Jan. 6, 2021)
(https://www.bop.gov/foia/docs/FY_2020_Annual_OIA_Report.pdf). The Subcommittee took these figures directly
from BOP OIA’s FY 2020 annual report. The Subcommittee notes that they do not add up. BOP OIA reports that
there were 554 allegations of BOP employees sexually abusing prisons, and that it sustained 5, did not sustain 215,
and had 304 pending—a total of 524. The report does not expressly account for 30 of these allegations (554 minus
524). This is another example of BOP OIA’s confusing presentation of data.
178
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
179
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).



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             b. BOP’s Inability to Timely Investigate and Close Internal Affairs Complaints
                Has Failed to Hold Wrongdoers Accountable

         There are significant consequences to BOP OIA’s failure to timely investigate and
resolve allegations of staff misconduct. First, as BOP OIA Chief Reese explained to the
Subcommittee in an interview, the longer cases drag on, the harder it can be to sustain allegations
of misconduct. 180 “[E]vidence can go missing and memories are not as clear,” she said. 181
Second, Chief Reese said that BOP OIA’s inability to close cases “could create a perception that
staff is not being held accountable.” 182

         The lack of accountability has significant consequences across the culture of BOP
facilities nationwide. As a preliminary concern, it makes prisons less safe. As Chief Reese
explained, when inmates feel that prison employees can break the rules with impunity, inmates
may feel less safe, increasing the likelihood that they will break the rules themselves. 183

         In an interview with the Subcommittee, Wiley Jenkins, current Warden at the
Metropolitan Detention Center Los Angeles (California) and former Warden at FCI Dublin who
left his post there just prior to DOJ’s indictments of five BOP employees there for sexual abuse
of female prisoners, told the Subcommittee that in his view, the BOP OIA investigative process
takes too long, even for sex abuse cases that can be more complicated. 184 In his recollection, it
has been this way for the entirety of his 20-plus year career with BOP. 185 He described the
consequences of lengthy delays in resolving internal affairs cases as preventing managers from
holding staff accountable, staff perceiving that their concerns are not addressed, and
administrative investigations are not just. 186 “[P]eople [can] lose faith in the process,” he said. 187

         Loss of faith in the internal disciplinary process is exacerbated by vulnerabilities in the
design of the internal affairs system. For example, when complaints of BOP employees’ sexual
abuse are submitted to the Warden, he is obligated to refer them onto BOP OIA. However, if the
Warden does not do so, there is no way for BOP OIA to know that he had received the
complaints at all. BOP OIA has no record of complaints that do not leave the Warden’s
office. 188 Indeed, in an interview with the Subcommittee, the BOP OIA Chief Reese recalled at
least one instance where she learned that this had happened and noted that “there may be
more.” 189




180
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
181
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
182
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
183
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
184
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
185
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
186
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
187
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
188
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
189
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022). Reese noted that the
warden in the one instance she could recall was investigated for his failure to report.



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       Per Chief Reese, BOP OIA is aware of the risk that senior managers within an institution
could pressure investigators to close a case prematurely. 190 She told PSI that there are
vulnerabilities in any human system, and that part of the ongoing conversation at BOP OIA is
making sure that no one is working on anything where they have a personal connection. 191

             c. OIG Lacks Resources to Pursue Criminal Investigations of Most BOP
                Employees Accused of Crimes

        OIG has the primary responsibility for criminal investigations into allegations of
misconduct by current BOP employees. Due to capacity constraints, OIG is only able to pursue
a fraction of the allegations of criminal misconduct, including sexual abuse of female prisoners
by employees.

        For the past decade, OIG’s staff of approximately 80 non-supervisory criminal special
agents reviewed approximately 700 cases per year that could implicate sexual abuse or
harassment, and thousands more per year of various other employee misconduct. 192 Last year,
the OIG Special Agent in Charge (“SAC”) of the Miami office reviewed 2,000 BOP complaints
alone, and the SAC of the Dallas Office reviewed 2,300 complaints. 193 Because OIG is only
able to fully investigate a fraction of allegations of misconduct by BOP employees, it sends the
vast majority of cases back to BOP OIA as a management referral for BOP to investigate or as a
“monitored referral” by which BOP OIA conducts the investigation and then sends a report of its
findings back to OIG.

        The referral process triages investigations, but can reduce the deterrent of criminal
sanctions, cause delay, and preclude fully independent investigations of allegations of
misconduct from outside the agency. It can also lead to perverse outcomes like the one
uncovered by the Subcommittee’s investigation with respect to sex abuse at FCC Coleman.
There, BOP OIA investigated allegations of sexual abuse and compelled the subjects of the
investigation to sit for interviews under oath; then, the subjects of the investigation admitted to
crimes and were effectively immunized from criminal prosecution under the Garrity standard.

        In the past year, OIG has taken steps to institute reforms to address the potential
difficulties in investigating sexual abuse of female prisoners. OIG has prioritized investigations
of sexual misconduct cases, sought additional resources to be able to investigate a higher
percentage of sexual misconduct allegations it receives, required its SACs to specifically note
whether they had determined if the subject of an incoming complaint had previously been
accused of misconduct, and is proactively analyzing case information in its database to identify
“hot spots” by individual and institution. 194




190
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
191
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
192
    OIG Briefing to PSI (Nov. 9, 2022).
193
    OIG Briefing to PSI (Nov. 9, 2022).
194
    OIG Briefing to PSI (Nov. 9, 2022).


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VI.     BOP’s Deficient Response to Sexual Abuse

       BOP failed to take agency-wide action to address sexual abuse of female inmates by male
BOP employees. While BOP’s and DOJ’s recent focus on sexual abuse prevention and
deterrence represents progress, it comes years after significant incidents of abuse came to light.

        During interviews with the Subcommittee, BOP articulated two opposing views
concerning how it viewed BOP employees’ sexual abuse of prisoners at these four facilities. On
the one hand, BOP OIA Chief Reese and Acting Assistant Director for Reentry Services, Alix
McLearen, PhD, described abuse, at least with respect to FCC Coleman and FCI Dublin, as
partially attributable to the culture of those institutions at the time. 195

        But Regional Director Rios and Warden Jenkins viewed abuse at these four facilities as
individual misconduct, even when there were multiple employees abusing multiple female
prisoners in the same facility over the same period of time. 196 When asked in an interview with
the Subcommittee whether there was a culture of abuse at FCI Dublin evidenced by the five
criminal prosecutions of BOP employees there, all within a two-year period, Warden Jenkins
replied, “no.” 197 In his view, sex abuse by BOP employees at FCI Dublin did not reflect broader
issues at the prison. 198 His remedy for BOP employee sexual abuse of female prisoners at the
scale of FCI Dublin would be the same as his remedy to a one-off cases of sexual abuse. 199 “It
goes back to individual choices of people making poor decisions,” he said. 200

        On November 4, 2022, the Subcommittee interviewed Dr. McLearen appearing on behalf
of BOP to address the actions that BOP has taken in response to sexual abuse cases at MCC New
York, MDC Brooklyn, FCC Coleman, and FCI Dublin. In response to the abuse at MCC New
York, MDC Brooklyn, and FCC Coleman, it does not appear that BOP took any agency-wide
actions to prevent abuse from occurring at other facilities in the future. BOP informed the
Subcommittee that in response to sexual abuse by BOP employees at these three facilities, it
conducted additional oversight of those facilities and changed leadership. 201 For example,
following revelations of abuse at MDC Brooklyn, BOP removed the Warden and implemented
additional PREA compliance training at that facility. 202 However, BOP appears to have made no
changes to its policies or practices across its network of 122 prisons. 203




195
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022); Alix McLearen,
PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
196
    Melissa Rios, Regional Director for the Western Region, BOP, Interview with PSI (Nov. 10, 2022); Wiley
Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
197
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
198
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
199
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
200
    Wiley Jenkins, Former Warden at FCI Dublin, BOP, Interview with PSI (Nov. 16, 2022).
201
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
202
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
203
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).



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       It appears BOP only reevaluated the way that it responded to BOP employee sexual abuse
of female prisoners last year, following sexual abuse at FCI Dublin. 204 Last year, BOP did the
following:

             •   Updated language in its employee handbook pertaining to sexual abuse prevention
                 for clarity. 205

             •   Updated language in the standardized PREA poster hung in all BOP institutions
                 that provides resources for prisoners concerning sexual abuse or harassment for
                 clarity. 206

             •   Updated and standardized the script of the orientation training for inmates upon
                 arrival to a new facility concerning how to report sexual abuse. BOP also created
                 an informational video to be played at orientation where employees explained in
                 “short, clear, and direct statements” that there is zero tolerance for sexual
                 abuse.” 207

             •   Retained a contractor to train OIA investigators on how to interview inmate
                 victims of sexual abuse. 208

       In addition to BOP implementing reforms, DOJ and BOP leadership have taken steps—
coinciding with the Subcommittee’s investigation—to address the issue of sexual abuse of
female prisoners by male employees.

         In October 2022, BOP informed the Subcommittee that it planned to reorganize the chain
of command for internal affairs investigators so that those stationed to work in individual
facilities report up to the OIA Chief in the Central Office in Washington D.C. instead of the
facility’s Warden. 209 BOP also informed the Subcommittee that it will hire additional OIA
investigators and BOP will conduct Women’s Institution Cultural Assessment for facilities
holding women, which include on-site inspections and interviews with detainees designed to
increase BOP’s awareness of conditions at those facilities. 210

       A July 14, 2022 memorandum from the Deputy Attorney General called on DOJ to
convene a group of senior DOJ officials (the “Working Group”) to “review the Department’s
approach to rooting out and preventing sexual misconduct by BOP employees.” 211 On


204
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
205
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
206
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
207
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
208
    Alix McLearen, PhD, Acting Director of Reentry Services, BOP, Interview with PSI (Nov. 4, 2022).
209
    Beth Reese, Chief of the Office of Internal Affairs, BOP, Interview with PSI (Oct. 28, 2022).
210
    Alix McLearen, PhD, Acting DirectorBeth Reese, Chief of Reentry Servicesthe Office of Internal Affairs, BOP,
Interview with PSI (Nov. 4Oct. 28, 2022).
211
    Working Group of DOJ Components, Report and Recommendations Concerning the Department of Justice’s
Response to Sexual Misconduct by Employees of the Federal Bureau of Prisons (Nov. 2, 2022).



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November 2, 2022, the Working Group issued its report of recommendations for both BOP and
DOJ. 212

         The Working Group recommended that BOP improve reporting mechanisms for BOP
employees who commit sexual misconduct; DOJ prioritize investigations of BOP employees
accused of misconduct; and BOP enhance the use of administrative actions and discipline of
BOP employees who are found to have committed sexual misconduct. 213 The Subcommittee
notes that it is difficult to evaluate the Working Group’s recommendations because the Working
Group did not establish the basis for them. It did not discuss the scope of sexual abuse in BOP
facilities, whether it viewed the problem as specific to particular institutions or systemic across
BOP facilities, or how long these issues may have persisted. The Working Group did not posit
the cause of these problems or include a comprehensive analysis of historical data that it had
obtained from DOJ and BOP that might identify relevant trends or patterns. 214

VII.    Conclusion

       BOP failed to detect or prevent sexual abuse of incarcerated women by male BOP
employees. The agency’s poor implementation of the audit program and reporting mechanisms
required by PREA allowed serious, repeated sexual abuse in at least four facilities to go
undetected. BOP’s internal affairs practices have failed to hold employees accountable, and
multiple admitted sexual abusers were not criminally prosecuted as a result. Further, for a
decade, BOP failed to respond to this abuse or implement agency-wide reforms. Moving
forward, BOP should consider the Subcommittee’s findings as it works to implement changes to
how it handles sexual abuse of female prisoners by male BOP employees.




212
    Working Group of DOJ Components, Report and Recommendations Concerning the Department of Justice’s
Response to Sexual Misconduct by Employees of the Federal Bureau of Prisons (Nov. 2, 2022).
213
    Working Group of DOJ Components, Report and Recommendations Concerning the Department of Justice’s
Response to Sexual Misconduct by Employees of the Federal Bureau of Prisons (Nov. 2, 2022); Office of the
Deputy Attorney General, Department of Justice, Briefing to PSI (Nov. 21, 2022).
214
    Working Group of DOJ Components, Report and Recommendations Concerning the Department of Justice’s
Response to Sexual Misconduct by Employees of the Federal Bureau of Prisons (Nov. 2, 2022); Office of the
Deputy Attorney General, Department of Justice, Briefing to PSI (Nov. 21, 2022). Such data analysis, required by
the PREA standards, could inform BOP’s own surveillance systems. The Working Group planned for this work to
happen in the future, recommending that BOP create a standing Advisory Group to oversee BOP data collection and
analysis.


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                     Exhibit 1
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            Sexual Abuse of Female Prisoners by BOP Employees from 2012 to 2022 1
    Facility                                 Source                                 Number of Women
                                                                                        Abused
FCI Alderson        United States v. Jeffrey Walton,                                      1
                    5:14-CR-64 (S.D. W.Va.)
                    United States v. Richard Canterbury,                                     1
                    5:14-CR-281 (S.D. W.Va.)
                    United States v. Jarrod Grimes,                                          6
                    5:18-CR-69 (S.D. W.Va.)
                    OIA Substantiated Cases 2                                                5
FCI Aliceville      United States v. Jesse Bailey,                                           1
                    7:17-CR-504 (N.D. Ala.)
                    United States v. Adrian Stargell,                                        2
                    7:20-CR-56 (N.D. Ala.)
                    United States v. Eric Ellis,                                             1
                    7:21-CR-167 (N.D. Ala.)
                    OIA Substantiated Cases 3                                                5
MDC Brooklyn        United States v. Armando Moronta,                                        3
                    17-CR-281 (E.D.N.Y.)
                    United States v. Eugenio Perez,                                          5
                    17-CR-280 (E.D.N.Y.)
                    United States v. Carlos Martinez,                                        1
                    17-CR-2790 (E.D.N.Y.)
FPC Bryan           United States v. James Graves,                                           2
                    1:20-CR-287 (S.D. Tex.)
                    United States v. Marshall Thomas,                                        2
                    4:15-CR-535 (S.D. Tex.)
                    United States v. Kendrick Brooks,                                        1
                    4:15-CR-00536 (S.D. Tex.)
                    OIA Substantiated Cases 4                                                6



1
  This table lists cases of sexual abuse of female prisoners by BOP employees. Data from the table was
derived from two sources. First, cases where a male BOP employee pleaded guilty or was convicted of
sexually abusing a female prisoner. Second, cases where BOP OIA substantiated allegations of sexual
abuse by male BOP employees at one of the six female-only BOP facilities. The Subcommittee did not
include cases where OIA substantiated cases of sexual abuse by BOP employees at any of the non-
female-only facilities because the data that BOP produced to the Subcommittee did not identify the
gender of the complaint(s).
2
  Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).
3
  Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).
4
  Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).


                                                   1
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FMC Carswell         United States v. Brady Green 5                                                1
                     4u:r1t4-cr-00145-O (N.D. Tex.)
                     United States v. Yvonne Marrufo,                                              1
                     4:15-cr-00205-A (N.D. Tex.)
                     United States v. Matthew McGaugh,                                             1
                     4:17-cr-00105-O (N.D. Tex.)
                     United States v. Luise Curiel,                                                3
                     4:22-cr-00132-P (N.D. Tex.)
                     OIA Substantiated Cases 6                                                    16
FCC Coleman   Beaubrun v. United States, 7                                                        10
              5:19-cv-00615-TJC-PRL (M.D. Fla. 2022).
FCI Danbury   United States v. Carlos Sanchez,                                                     1
              3:18-cr-00320
FCI Dublin    Peterson v. Martinez, et al.,                                                        1
              3:19-cv-01447 (N.D. Cal.)
              United States v. Ray Garcia,                                                         2
              4:21-CR-429 (N.D. Cal.)
              United States v. John Bellhouse,                                                     1
              4:21-MJ-71905 (N.D. Cal.)
              United States v. James Highhouse,                                                    1
              4:22-CR-16 (N.D. Cal.)
              United States v. Ross Klinger,                                                       3
              4:22-CR-31 (N.D. Cal.)
              United States v. Enrique Chavez,                                                     1
              4:22-CR-104 (N.D. Cal.)
              OIA Substantiated Cases 8                                                           10
FCI Hazelton  United States v. Scott Born,                                                         1
              1:20-CR-99 (N.D. W.Va.)
FDC Houston   United States v. Samuel Hawkins,                                                     1
              4:16-CR-153 (S.D. Tex.)
FMC Lexington United States v. Christopher Goodwin,                                                4
              5:21-CR-85 (E.D. Ky.)
              United States v. Hosea Lee,                                                          4
              5:21-CR-84 (E.D. Ky.)



5
  Green was charged with and pleaded guilty to falsely denying that he had sex with a ward.
6
  Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).
7
  Fifteen plaintiffs alleged that they were sexually abused by eight officers. Defendant United States
answered plaintiffs’ pleading by admitting allegations that six of the eight officers had sexual interactions
with ten of the plaintiffs. See Beaubrun Answer.
8
  Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).


                                                      2
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MDC Los         United States v. Abel Concho,                                             1
Angeles         2:21-CR-446 (C.D. Cal.)
                United States v. Jose Viera,                                              1
                2:22-CR-211 (C.D. Cal.)
MCC New         United States v. Rudell Mullings,                                         1
York            15-CR-538 (E.D.N.Y.)
                United States v. Colin Akparanta,                                         7
                19-CR-363 (S.D.N.Y.)
FDC Miami       United States v. Damon Coleman,                                           1
                3:19-CR-104 (E.D. Va.)
FCI Phoenix     United States v. James Toadvine,                                          1
                2:15-CR-1535 (D. Ariz.)
                United States v. Edward Mendoza,                                          1
                2:15-CR-1325 (D. Ariz.)
                United States v. Darrell McCoy,                                           1
                CR-2:17-cr-01410-DLR-1 (D. Ariz.)
                United States v. Irvin Anglin,                                            1
                2020-CR-00625-JJT
MDC San Diego United States v. Brandon McKinney,                                          1
                3:11-CR-1020 (S.D. Cal.)
FCI Tallahassee United States v. Jimmy Highsmith,                                         2
                4:21-CR-008 (N.D. Fla.)
                United States v. Phillip Golightly,
                4:20-cr-032 (N.D. Fla.)
FCC Victorville United States v. Apolonio Gamez,                                          3
                5:18-CR-100 (C.D. Cal.)
FCI-Waseca      United States v. Mark McShane,                                            1
                18-CR-109 (D. Minn.)
                OIA Substantiated Cases 9                                                 8




9
 Staff-on-Inmate Sex Abuse Sustained Cases from 2012-Present, Production from DOJ to PSI (Nov. 10,
2022) (PSI-BOPOIA-Prod4-001-049).


                                                 3
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                     Exhibit 2
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                                                 2012 Staff-on-Inmate
                                       Opened Between 01/01/2012 to 12/31/2012
Institution/Facility                  Total No. Opened    Closed,      Closed, Not   Admin.    Currently Open
                                                         Sustained      Sustained    Closure
Adams County Corr CTR (CI) - ACC            1                0              1           0            0
Alderson (FPC) - ALD                        4                0              4           0            0
Allenwood (FCC) - ALX                       12               0             12           0            0
Annapolis Junction (CCM) - CBR              2                0              1           1            0
Ashland (FCI) - ASH                         2                0              2           0            0
Atlanta (CCM) - CAT                         2                0              2           0            0
Atlanta (USP) - ATL                         9                2              7           0            0
Atwater (USP) - ATW                         3                0              3           0            0
Bastrop (FCI) - BAS                         1                0              1           0            0
Beaumont (FCC) - BMX                        8                3              5           0            0
Beckley (FCI) - BEC                         2                1              1           0            0
Bennettsville (FCI) - BEN                   6                0              6           0            0
Big Spring (CI) - BSC                       3                1              2           0            0
Big Spring (FCI) - BIG                      1                0              1           0            0
Brooklyn (MDC) - BRO                        7                2              5           0            0
Bryan (FPC) - BRY                           3                1              2           0            0
Butner (FCC) - BUX                          10               3              5           2            0
Canaan (USP) - CAA                          9                0              8           1            0
Carswell (FMC) - CRW                        8                1              7           0            0
Chicago (CCM) - CCH                         5                0              3           2            0
Chicago (MCC) - CCC                         4                0              4           0            0
Cibola County (CI) - CIB                    1                1              0           0            0
Cincinnati (CCM) - CCN                      2                0              2           0            0
Coleman (FCC) - COX                         30               2             28           0            0
Cumberland (FCI) - CUM                      1                0              1           0            0
D. Ray James Correctional Fac - DRJ         3                0              3           0            0
Dalby (CI) - DAL                            1                0              1           0            0
Dallas (CCM) - CDA                           7               0              5           2            0
Danbury (FCI) - DAN                         6                0              3           3            0
Devens (FMC) - DEV                          2                0              2           0            0
Dublin (FCI) - DUB                           3               0              3           0            0
Duluth (FPC) - DTH                          1                0              1           0            0
Eden Dention Center (CI) - EDN              2                0              2           0            0
Edgefield (FCI) - EDG                       1                0              1           0            0
El Paso (CCM) - CEP                         1                0              1           0            0
El Reno (FCI) - ERE                         1                0              1           0            0
Elkton (FCI) - ELK                          3                0              3           0            0
Englewood (FCI) - ENG                       3                0              3           0            0
Estill (FCI) - EST                          2                0              2           0            0
Fairton (FCI) - FAI                         6                0              6           0            0
Florence (FCC) - FLX                        24               1             22           1            0
Forrest City (FCC) - FOX                    3                0              3           0            0
Fort Dix (FCI) - FTD                        6                0              6           0            0
Fort Worth (FCI) - FTW                      3                1              2           0            0
Gilmer (FCI) - GIL                          1                0              1           0            0

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                                                 2012 Staff-on-Inmate
                                       Opened Between 01/01/2012 to 12/31/2012
Institution/Facility                  Total No. Opened    Closed,      Closed, Not   Admin.    Currently Open
                                                         Sustained      Sustained    Closure
Greenville (FCI) - GRE                      4                0              4           0            0
Guaynabo (MDC) - GUA                        2                2              0           0            0
Hazelton (FCC) - HAX                        7                0              6           1            0
Herlong (FCI) - HER                         3                1              2           0            0
Honolulu (FDC) - HON                        3                1              2           0            0
Houston (CCM) - CHN                         2                0              0           2            0
Houston (FDC) - HOU                         2                2              0           0            0
Jesup (FCI) - JES                           2                0              2           0            0
Kansas City (CCM) - CKC                     2                0              0           2            0
La Tuna (FCI) - LAT                         6                0              6           0            0
Leavenworth (USP) - LVN                      4               2              2           0            0
Lewisburg (USP) - LEW                       22               1             21           0            0
Lexington (FMC) - LEX                       5                2              3           0            0
Lompoc (FCC) - LOX                          3                0              2           1            0
Long Beach (CCM) - CLB                      2                1              0           1            0
Loretto (FCI) - LOR                          4               1              2           1            0
Marianna (FCI) - MNA                        6                1              4           1            0
Marion (USP) - MAR                          3                0              3           0            0
McCreary (USP) - MCR                        12               0             12           0            0
McDowell (FCI) - MCD                        2                0              2           0            0
McKean (FCI) - MCK                          4                0              4           0            0
McRae (CI) - MCA                            1                0              1           0            0
Mendota (FCI) - MEN                         1                1              0           0            0
Miami (CCM) - CMM                           4                0              1           0            0
Miami (FDC) - MIM                           1                0              1           0            0
Milan (FCI) - MIL                           4                0              4           0            0
Montgomery (CCM) - CMY                      1                0              1           0            0
Montgomery (FPC) - MON                      4                0              4           0            0
Morgantown (FCI) - MRG                      3                0              3           0            0
Moshannon Valley (CI) - MVC                 1                0              1           0            0
Nashville (CCM) - CNV                       6                0              5           1            0
NE Ohio Corr Ctr (CI) - NOC                 1                0              0           1            0
New York (MCC) - NYM                        3                1              2           0            0
Oakdale (FCC) - OAX                         9                0              9           0            0
Oklahoma City (FTC) - OKL                   5                0              3           2            0
Orlando (CCM) - COR                         1                0              1           0            0
Otisville (FCI) - OTV                       3                1              2           0            0
Oxford (FCI) - OXF                          1                0              0           1            0
Pekin (FCI) - PEK                           3                1              1           1            0
Pensacola (FPC) - PEN                        2               2              0           0            0
Petersburg (FCC) - PEX                      5                0              4           1            0
Philadelphia (CCM) - CPA                    2                0              0           2            0
Philadelphia (FDC) - PHL                     3               1              2           0            0
Phoenix (CCM) - CPH                         4                0              2           2            0
Phoenix (FCI) - PHX                         6                2              3           1            0

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                                                 2012 Staff-on-Inmate
                                       Opened Between 01/01/2012 to 12/31/2012
Institution/Facility                  Total No. Opened    Closed,      Closed, Not   Admin.    Currently Open
                                                         Sustained      Sustained    Closure
Pittsburgh (CCM) - CPG                      7                0              5           2            0
Pollock (FCC) - POX                          3               1              2           0            0
Raleigh (CCM) - CRL                         1                0              0           1            0
Ray Brook (FCI) - RBK                       1                0              1           0            0
Reeves I and II (CI) - REE                  5                4              1           0            0
Rivers (CI) - RIV                           2                1              1           0            0
Rochester (FMC) - RCH                       3                1              2           0            0
Safford (FCI) - SAF                         3                0              3           0            0
San Diego (MCC) - SDC                       2                0              2           0            0
Sandstone (FCI) - SST                       2                0              2           0            0
Sheridan (FCI) - SHE                        3                1              2           0            0
Springfield (MCFP) - SPG                    9                1              8           0            0
Taft (CI) - TAF                             2                0              1           1            0
Talladega (FCI) - TDG                       8                0              7           1            0
Tallahassee (FCI) - TAL                     26               1             23           2            0
Terminal Island (FCI) - TRM                 2                0              2           0            0
Terre Haute (FCC) - THX                     14               0             14           0            0
Texarkana (FCI) - TEX                       1                0              1           0            0
Tucson (FCC) - TCX                          10               0             10           0            0
Victorville (FCC) - VIX                     23               1             19           3            0
Waseca (FCI) - WAS                           6               1              3           2            0
Willacy County Corr. Ctr (CI) - WLC         2                1              0           1            0
Williamsburg (FCI) - WIL                     3               1              1           1            0
Yazoo City (FCC) - YAX                      17               2             12           3            0




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                                                 2013 Staff-on-Inmate
                                       Opened Between 01/01/2013 to 12/31/2013
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Adams County Corr CTR (CI) - ACC            2                0             2           0            0
Alderson (FPC) - ALD                        3                1             2           0            0
Aliceville (FCI) - ALI                      1                0             1           0            0
Allenwood (FCC) - ALX                       18               1            17           0            0
Annapolis Junction (CCM) - CBR              1                0             0           1            0
Atlanta (CCM) - CAT                         1                0             0           1            0
Atlanta (USP) - ATL                         8                0             6           2            0
Atwater (USP) - ATW                         2                0             2           0            0
Bastrop (FCI) - BAS                         1                0             1           0            0
Beaumont (FCC) - BMX                        9                0             9           0            0
Beckley (FCI) - BEC                          7               1             5           1            0
Bennettsville (FCI) - BEN                   1                0             1           0            0
Berlin (FCI) - BER                          2                0             2           0            0
Big Sandy (USP) - BSY                       3                1             2           0            0
Big Spring (CI) - BSC                        8               3             4           1            0
Big Spring (FCI) - BIG                      7                0             7           0            0
Brooklyn (MDC) - BRO                        6                1             5           0            0
Bryan (FPC) - BRY                           3                1             2           0            0
Butner (FCC) - BUX                          14               2            11           1            0
Canaan (USP) - CAA                          16               0            16           0            0
Carswell (FMC) - CRW                        8                1             7           0            0
Chicago (MCC) - CCC                         3                0             3           0            0
Cibola County (CI) - CIB                    2                0             1           1            0
Cincinnati (CCM) - CCN                      1                0             0           1            0
Coleman (FCC) - COX                         28               2            25           1            0
Cumberland (FCI) - CUM                      1                0             0           1            0
D. Ray James Correctional Fac - DRJ         2                0             2           0            0
Dalby (CI) - DAL                            4                1             2           1            0
Dallas (CCM) - CDA                          9                1             2           6            0
Danbury (FCI) - DAN                          3               1             1           1            0
Detroit (CCM) - CDT                         1                0             1           0            0
Devens (FMC) - DEV                          5                0             4           1            0
Dublin (FCI) - DUB                          4                0             4           0            0
Eden Dention Center (CI) - EDN              1                0             0           1            0
Edgefield (FCI) - EDG                       3                0             1           2            0
El Paso (CCM) - CEP                         2                0             2           0            0
El Reno (FCI) - ERE                         4                0             4           0            0
Elkton (FCI) - ELK                          1                0             1           0            0
Englewood (FCI) - ENG                       8                1             7           0            0
Estill (FCI) - EST                          8                2             6           0            0
Fairton (FCI) - FAI                         7                0             7           0            0
Florence (FCC) - FLX                        42               1            40           1            0
Forrest City (FCC) - FOX                    5                0             5           0            0
Fort Dix (FCI) - FTD                        10               0            10           0            0
Fort Worth (FCI) - FTW                      7                0             6           1            0

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                                                 2013 Staff-on-Inmate
                                       Opened Between 01/01/2013 to 12/31/2013
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Gilmer (FCI) - GIL                           9               1             8           0            0
Greenville (FCI) - GRE                      1                0             1           0            0
Guaynabo (MDC) - GUA                        2                1             1           0            0
Hazelton (FCC) - HAX                        13               4             9           0            0
Herlong (FCI) - HER                         11               3             8           0            0
Honolulu (FDC) - HON                        1                1             0           0            0
Houston (CCM) - CHN                         1                1             0           0            0
Houston (FDC) - HOU                          3               1             2           0            0
Jesup (FCI) - JES                           11               1            10           0            0
Kansas City (CCM) - CKC                     2                1             0           1            0
La Tuna (FCI) - LAT                         7                0             6           1            0
Leavenworth (USP) - LVN                     2                0             2           0            0
Lee (USP) - LEE                             4                1             3           0            0
Lewisburg (USP) - LEW                       24               1            23           0            0
Lexington (FMC) - LEX                       5                1             3           1            0
Lompoc (FCC) - LOX                           6               0             4           2            0
Long Beach (CCM) - CLB                      2                0             0           2            0
Loretto (FCI) - LOR                         3                0             2           1            0
Los Angeles (MDC) - LOS                     2                0             1           1            0
Marianna (FCI) - MNA                        8                1             7           0            0
Marion (USP) - MAR                          5                1             4           0            0
McCreary (USP) - MCR                        14               1            13           0            0
McDowell (FCI) - MCD                        5                0             5           0            0
Memphis (FCI) - MEM                         2                0             2           0            0
Mendota (FCI) - MEN                         6                0             5           1            0
Miami (FDC) - MIM                           2                0             2           0            0
Milan (FCI) - MIL                           2                0             2           0            0
Minneapolis (CCM) - CMS                     3                0             2           1            0
Montgomery (CCM) - CMY                      2                0             1           1            0
Montgomery (FPC) - MON                      1                0             1           0            0
Morgantown (FCI) - MRG                      3                0             3           0            0
Moshannon Valley (CI) - MVC                 1                0             1           0            0
Nashville (CCM) - CNV                       3                0             3           0            0
NE Ohio Corr Ctr (CI) - NOC                 2                1             0           1            0
New Orleans (CCM) - CNO                     1                0             1           0            0
New York (CCM) - CNK                        3                1             0           2            0
New York (MCC) - NYM                        1                0             1           0            0
Oakdale (FCC) - OAX                         7                2             5           0            0
Oklahoma City (FTC) - OKL                   6                1             5           0            0
Otisville (FCI) - OTV                       1                0             1           0            0
Oxford (FCI) - OXF                           3               3             0           0            0
Pekin (FCI) - PEK                           2                1             1           0            0
Pensacola (FPC) - PEN                       1                0             0           1            0
Petersburg (FCC) - PEX                      4                0             3           1            0
Phoenix (CCM) - CPH                         2                0             1           1            0

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                                                 2013 Staff-on-Inmate
                                       Opened Between 01/01/2013 to 12/31/2013
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Phoenix (FCI) - PHX                         2                1             1           0            0
Pollock (FCC) - POX                         8                0             8           0            0
Ray Brook (FCI) - RBK                       3                0             3           0            0
Reeves I and II (CI) - REE                  1                1             0           0            0
Reeves III (CI) - RVS                       2                0             2           0            0
Rivers (CI) - RIV                           2                0             2           0            0
Rochester (FMC) - RCH                       2                1             1           0            0
Sacramento (CCM) - CSC                      1                0             0           1            0
San Antonio (CCM) - CSA                     2                0             0           2            0
Sandstone (FCI) - SST                       2                0             2           0            0
Schuylkill (FCI) - SCH                      3                0             3           0            0
Seagoville (FCI) - SEA                      3                1             2           0            0
SeaTac (FDC) - SET                          1                0             1           0            0
Seattle (CCM) - CSE                         1                0             0           1            0
Sheridan (FCI) - SHE                        7                0             7           0            0
Springfield (MCFP) - SPG                    5                0             4           1            0
St Louis (CCM) - CST                        1                0             0           1            0
Taft (CI) - TAF                             2                0             2           0            0
Talladega (FCI) - TDG                       2                0             2           0            0
Tallahassee (FCI) - TAL                     29               5            22           2            0
Terminal Island (FCI) - TRM                 3                1             2           0            0
Terre Haute (FCC) - THX                     9                0             9           0            0
Texarkana (FCI) - TEX                       1                0             1           0            0
Three Rivers (FCI) - TRV                    5                0             5           0            0
Tucson (FCC) - TCX                          7                0             7           0            0
Victorville (FCC) - VIX                     42               2            34           6            0
Waseca (FCI) - WAS                          7                2             5           0            0
Willacy County Corr. Ctr (CI) - WLC         1                1             0           0            0
Williamsburg (FCI) - WIL                    1                0             1           0            0
Yazoo City (FCC) - YAX                      7                2             5           0            0




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                                                 2014 Staff-on-Inmate
                                       Opened Between 01/01/2014 to 12/31/2014
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Adams County Corr CTR (CI) - ACC            1                0             1           0            0
Alderson (FPC) - ALD                        3                2             0           1            0
Aliceville (FCI) - ALI                      4                0             4           0            0
Allenwood (FCC) - ALX                       11               2             8           0            1
Annapolis Junction (CCM) - CBR              2                0             1           1            0
Ashland (FCI) - ASH                         3                0             3           0            0
Atlanta (CCM) - CAT                         1                0             0           1            0
Atlanta (USP) - ATL                         17               0            11           6            0
Atwater (USP) - ATW                         2                0             2           0            0
Beaumont (FCC) - BMX                        8                0             7           1            0
Beckley (FCI) - BEC                         5                0             5           0            0
Bennettsville (FCI) - BEN                   2                0             2           0            0
Berlin (FCI) - BER                          5                1             4           0            0
Big Sandy (USP) - BSY                       1                1             0           0            0
Big Spring (CI) - BSC                       3                2             1           0            0
Big Spring (FCI) - BIG                      5                0             5           0            0
Brooklyn (MDC) - BRO                        8                0             7           1            0
Bryan (FPC) - BRY                           4                2             2           0            0
Butner (FCC) - BUX                          6                1             5           0            0
Canaan (USP) - CAA                          8                0             8           0            0
Carswell (FMC) - CRW                        11               2             7           2            0
Chicago (CCM) - CCH                         2                0             2           0            0
Chicago (MCC) - CCC                         3                0             2           1            0
Cincinnati (CCM) - CCN                      1                0             0           1            0
Coleman (FCC) - COX                         18               3            14           1            0
Cumberland (FCI) - CUM                      1                0             0           1            0
D. Ray James Correctional Fac - DRJ         1                0             1           0            0
Dalby (CI) - DAL                            2                1             1           0            0
Dallas (CCM) - CDA                          5                0             1           4            0
Danbury (FCI) - DAN                         3                0             3           0            0
Devens (FMC) - DEV                          2                1             1           0            0
Dublin (FCI) - DUB                           7               3             2           2            0
Duluth (FPC) - DTH                          2                0             2           0            0
Eden Dention Center (CI) - EDN              3                2             1           0            0
Edgefield (FCI) - EDG                       6                1             5           0            0
El Reno (FCI) - ERE                         1                0             1           0            0
Elkton (FCI) - ELK                          4                1             3           0            0
Englewood (FCI) - ENG                       3                1             2           0            0
Estill (FCI) - EST                          9                1             8           0            0
Fairton (FCI) - FAI                         1                0             1           0            0
Florence (FCC) - FLX                        46               0            44           2            0
Forrest City (FCC) - FOX                    2                0             2           0            0
Fort Dix (FCI) - FTD                        6                1             5           0            0
Fort Worth (FCI) - FTW                      2                0             2           0            0
Gilmer (FCI) - GIL                          8                1             7           0            0

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                                                 2014 Staff-on-Inmate
                                       Opened Between 01/01/2014 to 12/31/2014
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Hazelton (FCC) - HAX                        10               2             7           1            0
Herlong (FCI) - HER                         2                2             0           0            0
Honolulu (FDC) - HON                        1                1             0           0            0
Houston (CCM) - CHN                         2                0             2           0            0
Jesup (FCI) - JES                            6               1             5           0            0
Kansas City (CCM) - CKC                     1                0             0           1            0
La Tuna (FCI) - LAT                         4                0             4           0            0
Leavenworth (USP) - LVN                     1                0             1           0            0
Lee (USP) - LEE                             1                0             1           0            0
Lewisburg (USP) - LEW                       17               0            17           0            0
Lompoc (FCC) - LOX                          4                1             3           0            0
Long Beach (CCM) - CLB                      1                0             0           1            0
Loretto (FCI) - LOR                         4                0             2           2            0
Los Angeles (MDC) - LOS                     3                0             2           1            0
Marianna (FCI) - MNA                        3                0             3           0            0
Marion (USP) - MAR                          4                0             2           2            0
McCreary (USP) - MCR                        5                2             3           0            0
McKean (FCI) - MCK                          1                0             0           1            0
McRae (CI) - MCA                            1                1             0           0            0
Memphis (FCI) - MEM                         2                0             2           0            0
Mendota (FCI) - MEN                         2                0             2           0            0
Miami (CCM) - CMM                           4                0             2           2            0
Miami (FCI) - MIA                           2                0             1           0            1
Miami (FDC) - MIM                            9               2             3           4            0
Milan (FCI) - MIL                           1                0             1           0            0
Minneapolis (CCM) - CMS                     2                0             2           0            0
Montgomery (CCM) - CMY                      4                0             0           4            0
Montgomery (FPC) - MON                      1                1             0           0            0
Morgantown (FCI) - MRG                      2                1             1           0            0
Moshannon Valley (CI) - MVC                 1                1             0           0            0
Nashville (CCM) - CNV                       3                0             0           3            0
NE Ohio Corr Ctr (CI) - NOC                 2                1             0           1            0
New York (CCM) - CNK                        1                0             0           1            0
New York (MCC) - NYM                        3                0             3           0            0
Oakdale (FCC) - OAX                         1                0             1           0            0
Oklahoma City (FTC) - OKL                   2                1             1           0            0
Orlando (CCM) - COR                         1                0             1           0            0
Otisville (FCI) - OTV                       2                0             2           0            0
Oxford (FCI) - OXF                          1                0             1           0            0
Pekin (FCI) - PEK                           1                0             1           0            0
Petersburg (FCC) - PEX                      3                1             2           0            0
Philadelphia (CCM) - CPA                    2                0             1           1            0
Philadelphia (FDC) - PHL                    7                0             7           0            0
Phoenix (FCI) - PHX                         1                0             0           0            1
Pittsburgh (CCM) - CPG                      6                0             5           1            0

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                                                 2014 Staff-on-Inmate
                                       Opened Between 01/01/2014 to 12/31/2014
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Pollock (FCC) - POX                         8                1             6           1            0
Raleigh (CCM) - CRL                         2                0             0           2            0
Ray Brook (FCI) - RBK                       2                0             2           0            0
Reeves I and II (CI) - REE                  2                2             0           0            0
Reeves III (CI) - RVS                       2                0             2           0            0
Rivers (CI) - RIV                           4                1             3           0            0
Rochester (FMC) - RCH                       3                1             2           0            0
Sacramento (CCM) - CSC                      2                0             0           2            0
Safford (FCI) - SAF                         2                1             1           0            0
San Antonio (CCM) - CSA                     3                1             1           1            0
San Diego (MCC) - SDC                       3                1             1           1            0
Sandstone (FCI) - SST                       1                0             1           0            0
Schuylkill (FCI) - SCH                      2                0             2           0            0
Seagoville (FCI) - SEA                       1               0             1           0            0
Seattle (CCM) - CSE                         2                0             1           1            0
Sheridan (FCI) - SHE                        3                0             2           1            0
Springfield (MCFP) - SPG                    9                1             6           2            0
St Louis (CCM) - CST                        1                0             0           1            0
Taft (CI) - TAF                             2                0             2           0            0
Talladega (FCI) - TDG                       2                0             2           0            0
Tallahassee (FCI) - TAL                     14               2            10           2            0
Terre Haute (FCC) - THX                     10               0             8           2            0
Texarkana (FCI) - TEX                       4                2             2           0            0
Tucson (FCC) - TCX                          9                1             7           1            0
Victorville (FCC) - VIX                     14               0            11           0            3
Waseca (FCI) - WAS                          7                3             4           0            0
Willacy County Corr. Ctr (CI) - WLC          2               1             0           1            0
Williamsburg (FCI) - WIL                    1                0             1           0            0
Yankton (FPC) - YAN                         2                0             2           0            0
Yazoo City (FCC) - YAX                      6                2             4           0            0




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                                                 2015 Staff-on-Inmate
                                       Opened Between 01/01/2015 to 12/31/2015
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Adams County Corr CTR (CI) - ACC            3                1             2           0            0
Aliceville (FCI) - ALI                      6                0             5           0            1
Allenwood (FCC) - ALX                       12               1            11           0            0
Annapolis Junction (CCM) - CBR              2                0             0           2            0
Ashland (FCI) - ASH                         2                0             2           0            0
Atlanta (CCM) - CAT                         1                0             0           1            0
Atlanta (USP) - ATL                         5                1             3           1            0
Atwater (USP) - ATW                         1                0             1           0            0
Baltimore (CCM) closed - CDR                4                1             1           2            0
Bastrop (FCI) - BAS                         2                0             2           0            0
Beaumont (FCC) - BMX                        7                1             6           0            0
Beckley (FCI) - BEC                         2                1             1           0            0
Bennettsville (FCI) - BEN                   5                1             4           0            0
Berlin (FCI) - BER                          3                0             1           1            1
Big Sandy (USP) - BSY                       1                1             0           0            0
Big Spring (CI) - BSC                       6                3             3           0            0
Big Spring (FCI) - BIG                      3                2             1           0            0
Brooklyn (MDC) - BRO                        5                1             4           0            0
Bryan (FPC) - BRY                           4                1             3           0            0
Butner (FCC) - BUX                          3                0             3           0            0
Canaan (USP) - CAA                          3                0             3           0            0
Carswell (FMC) - CRW                        8                2             5           1            0
Chicago (CCM) - CCH                         4                2             2           0            0
Chicago (MCC) - CCC                          2               0             2           0            0
Cibola County (CI) - CIB                     1               0             1           0            0
Cincinnati (CCM) - CCN                      5                0             2           3            0
Coleman (FCC) - COX                         16               5            10           1            0
Cumberland (FCI) - CUM                      5                1             4           0            0
D. Ray James Correctional Fac - DRJ          4               2             1           1            0
Dalby (CI) - DAL                            2                0             2           0            0
Dallas (CCM) - CDA                          1                0             0           1            0
Danbury (FCI) - DAN                         4                1             2           0            1
Detroit (CCM) - CDT                         1                0             0           1            0
Devens (FMC) - DEV                          1                0             1           0            0
Dublin (FCI) - DUB                          5                1             4           0            0
Eden Dention Center (CI) - EDN              1                1             0           0            0
El Reno (FCI) - ERE                         2                2             0           0            0
Elkton (FCI) - ELK                           1               0             1           0            0
Englewood (FCI) - ENG                        2               1             1           0            0
Estill (FCI) - EST                          8                1             7           0            0
Fairton (FCI) - FAI                         2                0             2           0            0
Florence (FCC) - FLX                        44               1            42           1            0
Forrest City (FCC) - FOX                    2                0             2           0            0
Fort Dix (FCI) - FTD                        3                0             3           0            0
Fort Worth (FCI) - FTW                      4                1             3           0            0

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                                                 2015 Staff-on-Inmate
                                       Opened Between 01/01/2015 to 12/31/2015
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Gilmer (FCI) - GIL                          5                3             2           0            0
Great Plains Correc. Facility (GPC)         3                1             0           2            0
Greenville (FCI) - GRE                      2                0             2           0            0
Guaynabo (MDC) - GUA                        2                1             1           0            0
Hazelton (FCC) - HAX                        11               1            10           0            0
Herlong (FCI) - HER                         4                0             3           1            0
Honolulu (FDC) - HON                        1                0             1           0            0
Houston (FDC) - HOU                         2                1             1           0            0
Jesup (FCI) - JES                           1                0             0           1            0
Kansas City (CCM) - CKC                     1                0             0           1            0
La Tuna (FCI) - LAT                         5                1             4           0            0
Leavenworth (USP) - LVN                     5                0             5           0            0
Lewisburg (USP) - LEW                       14               1            13           0            0
Lexington (FMC) - LEX                       5                2             3           0            0
Lompoc (FCC) - LOX                          4                0             3           1            0
Loretto (FCI) - LOR                          3               1             2           0            0
Los Angeles (MDC) - LOS                      2               0             1           1            0
Manchester (FCI) - MAN                       2               0             2           0            0
Marianna (FCI) - MNA                        2                0             2           0            0
Marion (USP) - MAR                          3                0             1           1            1
McCreary (USP) - MCR                        4                0             4           0            0
McDowell (FCI) - MCD                        3                0             3           0            0
McKean (FCI) - MCK                          1                0             1           0            0
McRae (CI) - MCA                            1                0             1           0            0
Memphis (FCI) - MEM                         1                0             1           0            0
Mendota (FCI) - MEN                         1                0             1           0            0
Miami (FCI) - MIA                           1                0             1           0            0
Miami (FDC) - MIM                           7                1             5           1            0
Minneapolis (CCM) - CMS                     1                0             0           1            0
Montgomery (CCM) - CMY                      2                0             0           2            0
Montgomery (FPC) - MON                      2                1             1           0            0
Morgantown (FCI) - MRG                      1                0             1           0            0
Moshannon Valley (CI) - MVC                 5                0             5           0            0
Nashville (CCM) - CNV                       1                0             1           0            0
NE Ohio Corr Ctr (CI) - NOC                 1                0             0           1            0
New Orleans (CCM) - CNO                     2                0             2           0            0
New York (CCM) - CNK                        1                0             0           1            0
New York (MCC) - NYM                        1                1             0           0            0
Oakdale (FCC) - OAX                         2                0             2           0            0
Oklahoma City (FTC) - OKL                   2                0             2           0            0
Orlando (CCM) - COR                         1                0             1           0            0
Otisville (FCI) - OTV                        4               1             3           0            0
Oxford (FCI) - OXF                          1                0             1           0            0
Pekin (FCI) - PEK                           1                0             1           0            0
Petersburg (FCC) - PEX                      2                0             2           0            0

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                                                 2015 Staff-on-Inmate
                                       Opened Between 01/01/2015 to 12/31/2015
Institution/Facility                  Total No. Opened    Closed,     Closed, Not   Admin.    Currently Open
                                                         Sustained     Sustained    Closure
Philadelphia (CCM) - CPA                    1                1             0           0           0
Philadelphia (FDC) - PHL                    2                0             2           0           0
Phoenix (FCI) - PHX                         6                3             3           0           0
Pittsburgh (CCM) - CPG                      2                0             1           1           0
Pollock (FCC) - POX                         5                0             4           1           0
Raleigh (CCM) - CRL                         1                0             1           0           0
Ray Brook (FCI) - RBK                       2                0             2           0           0
Sacramento (CCM) - CSC                      1                0             1           0           0
Safford (FCI) - SAF                         1                0             1           0           0
San Antonio (CCM) - CSA                     2                1             0           1           0
Sandstone (FCI) - SST                       2                0             2           0           0
Schuylkill (FCI) - SCH                      2                0             2           0           0
Seagoville (FCI) - SEA                      1                0             1           0           0
SeaTac (FDC) - SET                          2                1             1           0           0
Seattle (CCM) - CSE                         1                0             0           1           0
Springfield (MCFP) - SPG                    5                1             3           1           0
St Louis (CCM) - CST                        3                1             0           2           0
Taft (CI) - TAF                             2                0             2           0           0
Talladega (FCI) - TDG                       3                1             2           0           0
Tallahassee (FCI) - TAL                     10               0             8           2           0
Terminal Island (FCI) - TRM                 3                0             2           1           0
Terre Haute (FCC) - THX                     7                1             6           0           0
Texarkana (FCI) - TEX                       6                1             5           0           0
Tucson (FCC) - TCX                          11               1            10           0           0
Victorville (FCC) - VIX                     19               0             8           1           10
Waseca (FCI) - WAS                          3                0             2           1           0
Willacy County Corr. Ctr (CI) - WLC         1                0             0           1           0
Williamsburg (FCI) - WIL                    1                0             1           0           0
Yazoo City (FCC) - YAX                      2                0             2           0           0




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                                                    2016 Staff-on-Inmate
                                          Opened Between 01/01/2016 to 12/31/2016
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Adams County Corr CTR (CI) - ACC              3                1                1           1            0
Alderson (FPC) - ALD                          1                1                0           0            0
Aliceville (FCI) - ALI                        6                1                3           2            0
Allenwood (FCC) - ALX                        20                1               18           1            0
Annapolis Junction (CCM) - CBR                4                0                0           4            0
Ashland (FCI) - ASH                           4                0                4           0            0
Atlanta (USP) - ATL                          10                0               10           0            0
Atwater (USP) - ATW                           3                0                2           1            0
Baltimore (CCM) closed - CDR                  1                0                0           1            0
Bastrop (FCI) - BAS                           2                0                2           0            0
Beaumont (FCC) - BMX                         14                4               10           0            0
Beckley (FCI) - BEC                           4                2                1           1            0
Bennettsville (FCI) - BEN                     8                1                6           0            1
Berlin (FCI) - BER                            6                1                4           1            0
Big Sandy (USP) - BSY                         2                0                2           0            0
Big Spring (CI) - BSC                         7                0                5           2            0
Big Spring (FCI) - BIG                        4                2                2           0            0
Brooklyn (MDC) - BRO                          7                2                3           2            0
Bryan (FPC) - BRY                             1                0                1           0            0
Butner (FCC) - BUX                            9                2                5           2            0
Canaan (USP) - CAA                            6                1                5           0            0
Carswell (FMC) - CRW                          7                2                4           1            0
Chicago (CCM) - CCH                           1                0                1           0            0
Chicago (MCC) - CCC                           2                0                2           0            0
Cibola County (CI) - CIB                      1                0                1           0            0
Cincinnati (CCM) - CCN                        2                0                2           0            0
Coleman (FCC) - COX                          22                2               20           0            0
Cumberland (FCI) - CUM                        2                0                2           0            0
D. Ray James Correctional Fac - DRJ           1                0                0           1            0
Dallas (CCM) - CDA                            6                1                3           2            0
Danbury (FCI) - DAN                           4                0                2           1            1
Devens (FMC) - DEV                            2                0                2           0            0
Dublin (FCI) - DUB                            6                1                3           1            1
Edgefield (FCI) - EDG                         3                0                3           0            0
El Reno (FCI) - ERE                           3                0                3           0            0
Elkton (FCI) - ELK                            5                1                4           0            0
Englewood (FCI) - ENG                         3                1                2           0            0
Fairton (FCI) - FAI                           3                0                3           0            0
Florence (FCC) - FLX                         30                1               28           1            0
Forrest City (FCC) - FOX                     10                2                8           0            0
Fort Dix (FCI) - FTD                          6                2                4           0            0
Fort Worth (FCI) - FTW                        9                0                7           2            0
Gilmer (FCI) - GIL                            7                0                7           0            0
Great Plains Correc.Facility (GPC)            3                0                2           1            0
Greenville (FCI) - GRE                        3                0                3           0            0

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                                                    2016 Staff-on-Inmate
                                          Opened Between 01/01/2016 to 12/31/2016
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Guaynabo (MDC) - GUA                          2                0                1           1            0
Hazelton (FCC) - HAX                         16                2               12           2            0
Herlong (FCI) - HER                           1                1                0           0            0
Honolulu (FDC) - HON                          3                2                1           0            0
Houston (FDC) - HOU                           1                0                1           0            0
Jesup (FCI) - JES                             3                0                3           0            0
La Tuna (FCI) - LAT                           4                0                3           1            0
Leavenworth (USP) - LVN                       2                0                2           0            0
Lee (USP) - LEE                               3                0                3           0            0
Lewisburg (USP) - LEW                         9                0                9           0            0
Lexington (FMC) - LEX                        12                1                8           3            0
Lompoc (FCC) - LOX                            2                0                2           0            0
Loretto (FCI) - LOR                           1                0                1           0            0
Manchester (FCI) - MAN                        2                0                2           0            0
Marianna (FCI) - MNA                          7                1                6           0            0
Marion (USP) - MAR                            2                0                2           0            0
McCreary (USP) - MCR                          5                0                4           1            0
McDowell (FCI) - MCD                          1                1                0           0            0
McKean (FCI) - MCK                            1                0                1           0            0
Memphis (FCI) - MEM                           3                0                3           0            0
Miami (CCM) - CMM                             1                0                0           1            0
Miami (FCI) - MIA                             3                0                2           0            1
Miami (FDC) - MIM                            11                7                4           0            0
Milan (FCI) - MIL                             1                0                1           0            0
Montgomery (CCM) - CMY                        3                1                0           2            0
Montgomery (FPC) - MON                        3                0                3           0            0
Morgantown (FCI) - MRG                        2                0                2           0            0
Moshannon Valley (CI) - MVC                   6                0                4           2            0
Nashville (CCM) - CNV                         3                0                1           2            0
New York (CCM) - CNK                          1                0                0           1            0
New York (MCC) - NYM                          3                0                3           0            0
Oakdale (FCC) - OAX                           2                0                2           0            0
Oklahoma City (FTC) - OKL                     4                0                4           0            0
Orlando (CCM) - COR                           4                0                2           2            0
Oxford (FCI) - OXF                            1                0                1           0            0
Petersburg (FCC) - PEX                       11                2                8           0            1
Philadelphia (CCM) - CPA                      2                1                0           1            0
Philadelphia (FDC) - PHL                      1                0                1           0            0
Phoenix (FCI) - PHX                           1                0                1           0            0
Pittsburgh (CCM) - CPG                        5                0                5           0            0
Pollock (FCC) - POX                           6                1                5           0            0
Raleigh (CCM) - CRL                           3                1                1           1            0
Ray Brook (FCI) - RBK                         2                0                2           0            0
Reeves I and II (CI) - REE                    3                1                2           0            0
Reeves III (CI) - RVS                         5                2                3           0            0

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                                                    2016 Staff-on-Inmate
                                          Opened Between 01/01/2016 to 12/31/2016
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Rivers (CI) - RIV                             6                0                6           0            0
Rochester (FMC) - RCH                         2                0                2           0            0
Sacramento (CCM) - CSC                        3                1                1           1            0
Safford (FCI) - SAF                           1                0                1           0            0
San Antonio (CCM) - CSA                       2                0                2           0            0
San Diego (MCC) - SDC                         3                0                3           0            0
Schuylkill (FCI) - SCH                        1                0                1           0            0
Seagoville (FCI) - SEA                        5                0                5           0            0
SeaTac (FDC) - SET                            1                0                1           0            0
Sheridan (FCI) - SHE                          1                0                0           1            0
Springfield (MCFP) - SPG                      3                0                2           1            0
St Louis (CCM) - CST                          1                0                0           1            0
Taft (CI) - TAF                               3                1                1           1            0
Talladega (FCI) - TDG                         3                0                3           0            0
Tallahassee (FCI) - TAL                       9                1                5           2            1
Terminal Island (FCI) - TRM                   6                0                3           1            2
Terre Haute (FCC) - THX                       5                1                4           0            0
Texarkana (FCI) - TEX                         5                2                3           0            0
Thomson (AUSP) - TOM                          1                1                0           0            0
Three Rivers (FCI) - TRV                      1                0                1           0            0
Tucson (FCC) - TCX                           11                0               11           0            0
Victorville (FCC) - VIX                      16                0               11           1            4
Waseca (FCI) - WAS                            5                1                3           1            0
Williamsburg (FCI) - WIL                      1                0                1           0            0
Yazoo City (FCC) - YAX                        9                1                8           0            0




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                                                    2017 Staff-on-Inmate
                                          Opened Between 01/01/2017 to 12/31/2017
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Adams County Corr CTR (CI) - ACC              4                1                1           2            0
Alderson (FPC) - ALD                          3                0                2           0            1
Aliceville (FCI) - ALI                        4                3                0           0            1
Allenwood (FCC) - ALX                        12                0               11           1            0
Annapolis Junction (CCM) - CBR                2                1                0           1            0
Ashland (FCI) - ASH                           3                0                3           0            0
Atlanta (CCM) - CAT                           4                1                0           3            0
Atlanta (USP) - ATL                           8                1                5           0            2
Atwater (USP) - ATW                           3                0                3           0            0
Bastrop (FCI) - BAS                           1                0                1           0            0
Beaumont (FCC) - BMX                         18                3               14           1            0
Beckley (FCI) - BEC                           6                1                5           0            0
Bennettsville (FCI) - BEN                     4                0                3           1            0
Berlin (FCI) - BER                            2                0                2           0            0
Big Sandy (USP) - BSY                         5                1                4           0            0
Big Spring (CI) - BSC                         7                2                5           0            0
Big Spring (CI) - BSF                         1                0                1           0            0
Big Spring (FCI) - BIG                        1                0                1           0            0
Brooklyn (MDC) - BRO                          8                1                6           1            0
Bryan (FPC) - BRY                             5                0                4           0            1
Butner (FCC) - BUX                           12                0               10           2            0
Canaan (USP) - CAA                            7                0                6           0            1
Carswell (FMC) - CRW                         10                3                6           1            0
Chicago (CCM) - CCH                           2                0                0           2            0
Chicago (MCC) - CCC                           3                0                3           0            0
Coleman (FCC) - COX                          28                3               21           4            0
Cumberland (FCI) - CUM                        1                0                1           0            0
D. Ray James Correctional Fac - DRJ           2                2                0           0            0
Dalby (CI) - DAL                              3                1                2           0            0
Dallas (CCM) - CDA                            7                1                1           5            0
Danbury (FCI) - DAN                           6                0                3           0            3
Devens (FMC) - DEV                            5                0                5           0            0
Dublin (FCI) - DUB                            3                2                1           0            0
Eden Dention Center (CI) - EDN                1                1                0           0            0
Edgefield (FCI) - EDG                         2                0                2           0            0
El Reno (FCI) - ERE                           5                0                4           1            0
Elkton (FCI) - ELK                            3                1                2           0            0
Englewood (FCI) - ENG                         4                3                1           0            0
Fairton (FCI) - FAI                           4                0                4           0            0
Florence (FCC) - FLX                         24                6               17           1            0
Forrest City (FCC) - FOX                      5                2                3           0            0
Fort Dix (FCI) - FTD                          7                0                4           3            0
Gilmer (FCI) - GIL                            6                1                5           0            0
Great Plains Correc.Facility (GPC)            2                1                1           0            0
Greenville (FCI) - GRE                        2                0                2           0            0

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                                                    2017 Staff-on-Inmate
                                          Opened Between 01/01/2017 to 12/31/2017
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Guaynabo (MDC) - GUA                          2                1                0           1            0
Hazelton (FCC) - HAX                         20                1               17           0            2
Herlong (FCI) - HER                           4                0                3           1            0
Honolulu (FDC) - HON                          2                0                2           0            0
Houston (CCM) - CHN                           2                0                1           1            0
Houston (FDC) - HOU                           4                3                1           0            0
Jesup (FCI) - JES                             1                0                1           0            0
Kansas City (CCM) - CKC                       2                1                0           1            0
La Tuna (FCI) - LAT                           3                1                2           0            0
Leavenworth (USP) - LVN                       1                0                0           1            0
Lee (USP) - LEE                               8                0                8           0            0
Lewisburg (USP) - LEW                         6                0                6           0            0
Lexington (FMC) - LEX                        20                2                9           7            2
Lompoc (FCC) - LOX                            1                0                1           0            0
Los Angeles (MDC) - LOS                       2                1                1           0            0
Manchester (FCI) - MAN                        5                2                2           1            0
Marianna (FCI) - MNA                          3                1                2           0            0
Marion (USP) - MAR                           10                0               10           0            0
McCreary (USP) - MCR                          9                0                9           0            0
McDowell (FCI) - MCD                          4                1                3           0            0
McKean (FCI) - MCK                            3                0                2           1            0
Memphis (FCI) - MEM                           3                1                1           1            0
Mendota (FCI) - MEN                           4                2                2           0            0
Miami (CCM) - CMM                             2                0                1           1            0
Miami (FCI) - MIA                             1                1                0           0            0
Miami (FDC) - MIM                             5                0                5           0            0
Milan (FCI) - MIL                             6                2                4           0            0
Minneapolis (CCM) - CMS                       1                0                0           1            0
Montgomery (CCM) - CMY                        1                0                0           1            0
Montgomery (FPC) - MON                        1                0                1           0            0
Morgantown (FCI) - MRG                        1                0                1           0            0
Nashville (CCM) - CNV                         6                0                2           4            0
New York (MCC) - NYM                          4                0                4           0            0
Oakdale (FCC) - OAX                           6                0                5           1            0
Oklahoma City (FTC) - OKL                     1                1                0           0            0
Orlando (CCM) - COR                           3                0                1           2            0
Otisville (FCI) - OTV                         5                1                4           0            0
Oxford (FCI) - OXF                            4                0                2           2            0
Pekin (FCI) - PEK                             3                0                3           0            0
Petersburg (FCC) - PEX                        3                0                2           0            1
Philadelphia (CCM) - CPA                      2                0                1           1            0
Philadelphia (FDC) - PHL                      3                1                2           0            0
Phoenix (FCI) - PHX                           7                2                3           2            0
Pittsburgh (CCM) - CPG                        4                0                3           1            0
Pollock (FCC) - POX                           7                0                7           0            0

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                                                    2017 Staff-on-Inmate
                                          Opened Between 01/01/2017 to 12/31/2017
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Raleigh (CCM) - CRL                           1                0                0           1            0
Ray Brook (FCI) - RBK                         4                0                3           1            0
Reeves I and II (CI) - REE                    1                1                0           0            0
Reeves III (CI) - RVS                         4                4                0           0            0
Rivers (CI) - RIV                             1                0                1           0            0
Rochester (FMC) - RCH                         1                0                1           0            0
Sacramento (CCM) - CSC                        2                1                0           1            0
Safford (FCI) - SAF                           3                0                3           0            0
San Antonio (CCM) - CSA                       4                0                1           3            0
San Diego (MCC) - SDC                         1                0                0           1            0
Sandstone (FCI) - SST                         2                1                1           0            0
Schuylkill (FCI) - SCH                        4                2                2           0            0
Seagoville (FCI) - SEA                        4                2                2           0            0
Sheridan (FCI) - SHE                          3                0                3           0            0
Springfield (MCFP) - SPG                      3                0                3           0            0
St Louis (CCM) - CST                          2                1                0           1            0
Taft (CI) - TAF                               1                1                0           0            0
Talladega (FCI) - TDG                         1                0                0           1            0
Tallahassee (FCI) - TAL                      11                1                6           2            2
Terminal Island (FCI) - TRM                   1                0                0           1            0
Terre Haute (FCC) - THX                       7                0                7           0            0
Tucson (FCC) - TCX                           15                2               13           0            0
Victorville (FCC) - VIX                      10                1                6           1            2
Waseca (FCI) - WAS                            2                0                1           0            1
Western Regional Office - WXO                 1                0                1           0            0
Williamsburg (FCI) - WIL                      5                0                4           0            1
Yankton (FPC) - YAN                           1                0                1           0            0
Yazoo City (FCC) - YAX                        7                2                4           1            0




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                                                    2018 Staff-on-Inmate
                                          Opened Between 01/01/2018 to 12/31/2018
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Adams County Corr CTR (CI) - ACC              6                3                3           0            0
Alderson (FPC) - ALD                          3                0                1           0            2
Aliceville (FCI) - ALI                        3                0                2           0            1
Allenwood (FCC) - ALX                        14                2               11           0            1
Annapolis Junction (CCM) - CBR                3                1                1           1            0
Ashland (FCI) - ASH                           2                0                2           0            0
Atlanta (CCM) - CAT                           1                1                0           0            0
Atlanta (USP) - ATL                           9                0                5           1            3
Atwater (USP) - ATW                           4                0                4           0            0
Bastrop (FCI) - BAS                           2                0                2           0            0
Beaumont (FCC) - BMX                         17                1               16           0            0
Beckley (FCI) - BEC                           4                1                3           0            0
Bennettsville (FCI) - BEN                     3                0                3           0            0
Berlin (FCI) - BER                            4                1                2           1            0
Big Sandy (USP) - BSY                         5                0                3           2            0
Big Spring (CI) - BSC                         1                0                1           0            0
Big Spring (FCI) - BIG                        5                0                4           1            0
Brooklyn (MDC) - BRO                          7                1                2           0            4
Bryan (FPC) - BRY                             4                0                0           0            4
Butner (FCC) - BUX                           21                2               18           1            0
Canaan (USP) - CAA                           16                1               14           0            1
Carswell (FMC) - CRW                          8                1                6           1            0
Central Office - COF                          1                1                0           0            0
Chicago (MCC) - CCC                           2                1                1           0            0
Coleman (FCC) - COX                          34                7               20           5            2
Cumberland (FCI) - CUM                        3                0                3           0            0
D. Ray James Correctional Fac - DRJ           2                2                0           0            0
Dalby (CI) - DAL                              2                0                0           2            0
Dallas (CCM) - CDA                            4                0                2           2            0
Danbury (FCI) - DAN                           7                1                3           0            3
Detroit (CCM) - CDT                           1                0                0           1            0
Devens (FMC) - DEV                            2                1                1           0            0
Dublin (FCI) - DUB                            4                1                1           0            2
Duluth (FPC) - DTH                            3                0                3           0            0
Edgefield (FCI) - EDG                        11                0                8           1            2
El Reno (FCI) - ERE                           2                1                1           0            0
Elkton (FCI) - ELK                            5                1                3           1            0
Estill (FCI) - EST                            1                0                0           0            1
Fairton (FCI) - FAI                           3                2                1           0            0
Florence (FCC) - FLX                         15                2               13           0            0
Forrest City (FCC) - FOX                      7                2                4           0            1
Fort Dix (FCI) - FTD                         18                0               14           3            1
Fort Worth (FCI) - FTW                        1                0                0           1            0
Fort Worth (FMC) - FTW                        2                1                1           0            0
Gilmer (FCI) - GIL                            4                1                3           0            0

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                                                    2018 Staff-on-Inmate
                                          Opened Between 01/01/2018 to 12/31/2018
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Greenville (FCI) - GRE                        5                0                4           1            0
Guaynabo (MDC) - GUA                          2                0                2           0            0
Hazelton (FCC) - HAX                         14                3                8           3            0
Herlong (FCI) - HER                           5                0                1           2            2
Honolulu (FDC) - HON                          2                1                0           0            1
Houston (CCM) - CHN                           3                0                2           1            0
Houston (FDC) - HOU                           1                0                1           0            0
Jesup (FCI) - JES                             5                0                3           0            2
La Tuna (FCI) - LAT                           1                0                1           0            0
Leavenworth (USP) - LVN                       8                0                8           0            0
Lee (USP) - LEE                               3                0                3           0            0
Lewisburg (USP) - LEW                        12                0               12           0            0
Lexington (FMC) - LEX                        21                3               12           4            2
Long Beach (CCM) - CLB                        1                0                0           1            0
Loretto (FCI) - LOR                           1                0                1           0            0
Los Angeles (MDC) - LOS                       1                0                0           0            1
Manchester (FCI) - MAN                        1                0                1           0            0
Marianna (FCI) - MNA                          2                0                2           0            0
Marion (USP) - MAR                            7                0                7           0            0
McCreary (USP) - MCR                         16                0               16           0            0
McDowell (FCI) - MCD                          3                0                3           0            0
McKean (FCI) - MCK                           10                1                9           0            0
McRae (CI) - MCA                              2                0                1           1            0
Memphis (FCI) - MEM                           9                1                6           0            2
Mendota (FCI) - MEN                           1                0                0           1            0
Miami (FCI) - MIA                             2                1                1           0            0
Miami (FDC) - MIM                             2                1                1           0            0
Minneapolis (CCM) - CMS                       3                0                2           1            0
Montgomery (CCM) - CMY                        1                0                0           1            0
Montgomery (FPC) - MON                        1                0                1           0            0
Morgantown (FCI) - MRG                        2                0                2           0            0
Moshannon Valley (CI) - MVC                   1                0                1           0            0
New York (CCM) - CNK                          3                1                1           1            0
New York (MCC) - NYM                          2                1                1           0            0
Oakdale (FCC) - OAX                           3                0                2           0            1
Oklahoma City (FTC) - OKL                     3                1                2           0            0
Orlando (CCM) - COR                           2                0                1           1            0
Otisville (FCI) - OTV                         4                1                0           2            1
Oxford (FCI) - OXF                            3                0                3           0            0
Pekin (FCI) - PEK                             8                0                6           2            0
Petersburg (FCC) - PEX                        7                1                4           0            2
Philadelphia (FDC) - PHL                      3                1                2           0            0
Phoenix (CCM) - CPH                           5                0                4           1            0
Phoenix (FCI) - PHX                           1                0                1           0            0
Pittsburgh (CCM) - CPG                        2                0                1           1            0

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                                                    2018 Staff-on-Inmate
                                          Opened Between 01/01/2018 to 12/31/2018
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Pollock (FCC) - POX                          10                1                9           0            0
Ray Brook (FCI) - RBK                         8                0                7           1            0
Reeves III (CI) - RVS                         3                0                3           0            0
Rivers (CI) - RIV                             4                0                3           1            0
Rochester (FMC) - RCH                         6                1                4           1            0
Sacramento (CCM) - CSC                        4                0                0           4            0
Safford (FCI) - SAF                           5                0                4           1            0
San Antonio (CCM) - CSA                       3                0                0           3            0
San Diego (MCC) - SDC                         4                1                2           1            0
Sandstone (FCI) - SST                         1                0                1           0            0
Schuylkill (FCI) - SCH                        2                1                0           0            1
Seagoville (FCI) - SEA                        3                1                2           0            0
Sheridan (FCI) - SHE                          8                0                8           0            0
South Central Regional Office - SCO           1                0                1           0            0
Springfield (MCFP) - SPG                     11                0               11           0            0
St Louis (CCM) - CST                          1                0                0           1            0
Taft (CI) - TAF                               2                0                2           0            0
Talladega (FCI) - TDG                         1                0                1           0            0
Tallahassee (FCI) - TAL                      11                0                6           1            4
Terminal Island (FCI) - TRM                   2                0                1           0            1
Terre Haute (FCC) - THX                       8                0                6           1            1
Texarkana (FCI) - TEX                         5                1                4           0            0
Three Rivers (FCI) - TRV                      4                0                3           1            0
Tucson (FCC) - TCX                           21                1               19           1            0
Victorville (FCC) - VIX                       6                2                1           0            3
Waseca (FCI) - WAS                            2                0                1           1            0
Williamsburg (FCI) - WIL                      2                0                2           0            0
Yankton (FPC) - YAN                           1                1                0           0            0
Yazoo City (FCC) - YAX                       13                0               12           0            1




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                                                    2019 Staff-on-Inmate
                                          Opened Between 01/01/2019 to 12/31/2019
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Adams County Corr CTR (CI) - ACC              2                0                0           2            0
Alderson (FPC) - ALD                          2                0                2           0            0
Aliceville (FCI) - ALI                        8                0                0           0            8
Allenwood (FCC) - ALX                        13                0               13           0            0
Annapolis Junction (CCM) - CBR                1                0                0           1            0
Ashland (FCI) - ASH                           5                0                5           0            0
Atlanta (CCM) - CAT                           1                0                0           1            0
Atlanta (USP) - ATL                           7                0                4           1            2
Atwater (USP) - ATW                           3                0                1           1            1
Bastrop (FCI) - BAS                           3                0                3           0            0
Beaumont (FCC) - BMX                         16                0               11           4            1
Beckley (FCI) - BEC                           8                1                7           0            0
Bennettsville (FCI) - BEN                     1                0                1           0            0
Berlin (FCI) - BER                            6                0                4           0            2
Big Sandy (USP) - BSY                         4                0                4           0            0
Big Spring (CI) - BSC                         4                1                0           3            0
Big Spring (CI) - BSF                         2                0                1           1            0
Big Spring (FCI) - BIG                        1                0                1           0            0
Brooklyn (MDC) - BRO                         13                1                4           1            7
Bryan (FPC) - BRY                             2                0                2           0            0
Butner (FCC) - BUX                           13                1                9           2            1
Canaan (USP) - CAA                            5                2                2           0            1
Carswell (FMC) - CRW                          5                0                4           1            0
Central Office - COF                          1                1                0           0            0
Chicago (MCC) - CCC                           1                1                0           0            0
Coleman (FCC) - COX                          40                5               21           7            7
Cumberland (FCI) - CUM                        1                0                1           0            0
D. Ray James Correctional Fac - DRJ           2                0                0           2            0
Dallas (CCM) - CDA                            1                0                0           0            1
Danbury (FCI) - DAN                           4                0                2           0            2
Devens (FMC) - DEV                            4                0                1           2            1
Dublin (FCI) - DUB                            3                0                1           0            2
Duluth (FPC) - DTH                            1                0                1           0            0
Edgefield (FCI) - EDG                         2                1                0           1            0
El Reno (FCI) - ERE                           1                0                1           0            0
Elkton (FCI) - ELK                            4                1                3           0            0
Englewood (FCI) - ENG                         3                0                3           0            0
Estill (FCI) - EST                            3                0                2           0            1
Fairton (FCI) - FAI                           3                1                1           1            0
Florence (FCC) - FLX                         10                0                9           1            0
Forrest City (FCC) - FOX                      8                0                8           0            0
Fort Dix (FCI) - FTD                          7                2                1           2            2
Fort Worth (FCI) - FTW                        1                0                1           0            0
Fort Worth (FMC) - FTW                        3                1                2           0            0
Gilmer (FCI) - GIL                            9                0                9           0            0

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                                                    2019 Staff-on-Inmate
                                          Opened Between 01/01/2019 to 12/31/2019
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Great Plains Correc.Facility (GPC)            3                0                0           3            0
Greenville (FCI) - GRE                        3                0                3           0            0
Guaynabo (MDC) - GUA                          1                0                0           0            1
Hazelton (FCC) - HAX                         13                1               10           0            2
Herlong (FCI) - HER                           3                0                0           2            1
Honolulu (FDC) - HON                          2                0                2           0            0
Houston (CCM) - CHN                           3                0                2           1            0
Houston (FDC) - HOU                           4                0                2           1            1
Jesup (FCI) - JES                             6                0                4           0            2
Kansas City (CCM) - CKC                       1                0                1           0            0
Lee (USP) - LEE                               8                0                7           0            1
Lewisburg (USP) - LEW                        12                0               11           0            1
Lexington (FMC) - LEX                         7                2                4           0            1
Lompoc (FCC) - LOX                            8                0                8           0            0
Long Beach (CCM) - CLB                        2                0                0           1            1
Loretto (FCI) - LOR                           5                0                4           0            1
Manchester (FCI) - MAN                        2                0                2           0            0
Marianna (FCI) - MNA                          2                2                0           0            0
Marion (USP) - MAR                            6                0                6           0            0
McCreary (USP) - MCR                         20                0               12           1            7
McDowell (FCI) - MCD                          1                1                0           0            0
McKean (FCI) - MCK                            1                0                1           0            0
Memphis (FCI) - MEM                           5                1                2           0            2
Mendota (FCI) - MEN                           3                0                1           2            0
Miami (FCI) - MIA                             2                0                1           0            1
Miami (FDC) - MIM                             3                0                1           2            0
Milan (FCI) - MIL                             1                0                0           0            1
Minneapolis (CCM) - CMS                       2                1                0           1            0
Montgomery (FPC) - MON                        2                0                1           0            1
Morgantown (FCI) - MRG                        3                0                2           1            0
New York (MCC) - NYM                          1                0                0           1            0
Oakdale (FCC) - OAX                           2                0                2           0            0
Oklahoma City (FTC) - OKL                     1                0                1           0            0
Orlando (CCM) - COR                           4                0                1           3            0
Otisville (FCI) - OTV                         1                0                1           0            0
Oxford (FCI) - OXF                            5                2                2           1            0
Pekin (FCI) - PEK                             3                1                2           0            0
Petersburg (FCC) - PEX                        2                0                1           0            1
Philadelphia (CCM) - CPA                      1                0                0           1            0
Philadelphia (FDC) - PHL                      5                0                4           1            0
Phoenix (CCM) - CPH                           3                2                1           0            0
Phoenix (FCI) - PHX                           7                2                1           2            2
Pittsburgh (CCM) - CPG                        5                0                1           4            0
Pollock (FCC) - POX                           3                0                1           2            0
Raleigh (CCM) - CRL                           1                0                0           1            0

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                                                    2019 Staff-on-Inmate
                                          Opened Between 01/01/2019 to 12/31/2019
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Ray Brook (FCI) - RBK                         4                0                3           0            1
Reeves III (CI) - RVS                         3                1                2           0            0
Rivers (CI) - RIV                             5                1                1           3            0
Rochester (FMC) - RCH                         4                0                3           1            0
Sacramento (CCM) - CSC                        2                0                1           1            0
Safford (FCI) - SAF                           7                0                4           0            3
San Antonio (CCM) - CSA                       1                0                0           1            0
San Diego (MCC) - SDC                         2                1                1           0            0
Sandstone (FCI) - SST                         1                0                1           0            0
Schuylkill (FCI) - SCH                        7                0                3           0            4
Seagoville (FCI) - SEA                        6                0                3           0            3
SeaTac (FDC) - SET                            6                1                5           0            0
Seattle (CCM) - CSE                           3                0                1           2            0
Sheridan (FCI) - SHE                          4                0                4           0            0
Springfield (MCFP) - SPG                      2                1                1           0            0
Taft (CI) - TAF                               2                0                1           1            0
Talladega (FCI) - TDG                         9                0                4           0            5
Tallahassee (FCI) - TAL                      13                3                5           2            3
Terminal Island (FCI) - TRM                   1                1                0           0            0
Terre Haute (FCC) - THX                       5                1                2           0            2
Texarkana (FCI) - TEX                         7                1                6           0            0
Thomson (AUSP) - TOM                         11                0               10           1            0
Three Rivers (FCI) - TRV                      2                0                1           1            0
Tucson (FCC) - TCX                           15                0               14           1            0
Victorville (FCC) - VIX                      15                1                2           1           11
Waseca (FCI) - WAS                            2                0                2           0            0
Williamsburg (FCI) - WIL                      5                0                2           1            2
Yankton (FPC) - YAN                           4                0                4           0            0
Yazoo City (FCC) - YAX                        9                1                6           2            0




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                                                    2020 Staff-on-Inmate
                                          Opened Between 01/01/2020 to 12/31/2020
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Alderson (FPC) - ALD                          1                0                1           0            0
Aliceville (FCI) - ALI                       10                0                3           0            7
Allenwood (FCC) - ALX                        12                2                5           1            4
Annapolis Junction (CCM) - CBR                1                0                1           0            0
Ashland (FCI) - ASH                           2                0                2           0            0
Atlanta (CCM) - CAT                           4                0                0           3            1
Atlanta (USP) - ATL                           7                1                3           1            2
Atwater (USP) - ATW                           2                1                1           0            0
Bastrop (FCI) - BAS                           7                1                6           0            0
Beaumont (FCC) - BMX                          6                0                3           0            3
Beckley (FCI) - BEC                           3                0                3           0            0
Bennettsville (FCI) - BEN                     1                0                1           0            0
Big Sandy (USP) - BSY                         5                0                1           0            4
Big Spring (CI) - BSC                         7                2                0           3            2
Big Spring (FCI) - BIG                        1                0                0           0            1
Brooklyn (MDC) - BRO                         20                0                3           2           15
Bryan (FPC) - BRY                             4                0                2           0            2
Butner (FCC) - BUX                            6                1                3           0            2
Canaan (USP) - CAA                            2                0                1           0            1
Carswell (FMC) - CRW                          5                0                0           3            2
Chicago (MCC) - CCC                           4                1                1           2            0
Cincinnati (CCM) - CCN                        5                0                1           4            0
Coleman (FCC) - COX                          43                1               23           3           16
D. Ray James Correctional Fac - DRJ           1                0                1           0            0
Dalby (CI) - DAL                              5                0                4           1            0
Dallas (CCM) - CDA                            7                0                1           3            3
Danbury (FCI) - DAN                           7                0                1           0            6
Detroit (CCM) - CDT                           2                1                0           0            1
Devens (FMC) - DEV                            3                0                3           0            0
Dublin (FCI) - DUB                            3                0                0           0            3
Eden Dention Center (CI) - EDN                1                0                1           0            0
Edgefield (FCI) - EDG                         2                1                0           0            1
El Reno (FCI) - ERE                           5                0                2           0            3
Elkton (FCI) - ELK                            3                0                0           0            3
Englewood (FCI) - ENG                         2                0                1           1            0
Estill (FCI) - EST                            1                0                1           0            0
Fairton (FCI) - FAI                           5                0                4           1            0
Florence (FCC) - FLX                         17                0               14           1            2
Forrest City (FCC) - FOX                      4                0                3           1            0
Fort Dix (FCI) - FTD                          3                0                2           0            1
Fort Worth (FCI) - FTW                        2                0                2           0            0
Fort Worth (FMC) - FTW                        3                1                1           0            1
Gilmer (FCI) - GIL                            2                0                1           0            1
Great Plains Correc.Facility (GPC)            4                1                0           3            0
Greenville (FCI) - GRE                        9                2                5           1            1

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                                                    2020 Staff-on-Inmate
                                          Opened Between 01/01/2020 to 12/31/2020
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Hazelton (FCC) - HAX                         11                2                4           0            5
Herlong (FCI) - HER                           3                2                0           1            0
Honolulu (FDC) - HON                          2                1                0           0            1
Houston (CCM) - CHN                           2                1                0           0            1
Houston (FDC) - HOU                           3                0                0           0            3
Jesup (FCI) - JES                             6                0                5           0            1
Kansas City (CCM) - CKC                       2                0                0           2            0
La Tuna (FCI) - LAT                           3                0                2           0            1
Leavenworth (USP) - LVN                       3                0                3           0            0
Lee (USP) - LEE                               3                0                3           0            0
Lewisburg (USP) - LEW                         1                0                1           0            0
Lexington (FMC) - LEX                         4                1                2           0            1
Lompoc (FCC) - LOX                            2                0                2           0            0
Long Beach (CCM) - CLB                        4                0                0           3            1
Loretto (FCI) - LOR                           3                0                3           0            0
Los Angeles (MDC) - LOS                       2                1                1           0            0
Manchester (FCI) - MAN                        5                0                5           0            0
Marianna (FCI) - MNA                          2                2                0           0            0
Marion (USP) - MAR                            8                0                6           0            2
McCreary (USP) - MCR                          4                0                3           0            1
McDowell (FCI) - MCD                          2                0                2           0            0
McKean (FCI) - MCK                            5                0                3           1            1
McRae (CI) - MCA                              3                1                1           0            1
Memphis (FCI) - MEM                           5                0                1           0            4
Miami (FCI) - MIA                             1                0                0           0            1
Miami (FDC) - MIM                             2                1                0           0            1
Minneapolis (CCM) - CMS                       4                0                1           3            0
Morgantown (FCI) - MRG                        1                0                1           0            0
Moshannon Valley (CI) - MVC                   4                1                2           1            0
Nashville (CCM) - CNV                         3                0                0           3            0
New York (CCM) - CNK                          3                2                0           1            0
New York (MCC) - NYM                          2                0                0           1            1
North Lake Corr. Ctr (CI) - NLK               2                0                0           2            0
Oakdale (FCC) - OAX                           3                0                2           0            1
Oklahoma City (FTC) - OKL                     2                0                2           0            0
Orlando (CCM) - COR                           3                1                1           1            0
Otisville (FCI) - OTV                         1                1                0           0            0
Oxford (FCI) - OXF                            2                0                1           1            0
Pekin (FCI) - PEK                             2                0                1           0            1
Petersburg (FCC) - PEX                       11                3                1           0            7
Philadelphia (CCM) - CPA                      3                0                0           3            0
Philadelphia (FDC) - PHL                      7                1                6           0            0
Phoenix (FCI) - PHX                           2                2                0           0            0
Pittsburgh (CCM) - CPG                        2                1                0           1            0
Pollock (FCC) - POX                           3                1                2           0            0

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                                                    2020 Staff-on-Inmate
                                          Opened Between 01/01/2020 to 12/31/2020
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Raleigh (CCM) - CRL                           1                0                1           0            0
Reeves I and II (CI) - REE                    2                1                0           1            0
Reeves III (CI) - RVS                         4                0                3           1            0
Rivers (CI) - RIV                             7                0                4           3            0
Rochester (FMC) - RCH                         2                0                2           0            0
Sacramento (CCM) - CSC                        2                2                0           0            0
Safford (FCI) - SAF                           3                2                1           0            0
San Antonio (CCM) - CSA                       1                0                0           0            1
Sandstone (FCI) - SST                         2                0                0           2            0
Schuylkill (FCI) - SCH                        7                0                0           0            7
Seagoville (FCI) - SEA                        5                0                1           0            4
SeaTac (FDC) - SET                            3                0                2           0            1
Seattle (CCM) - CSE                           1                0                0           1            0
Sheridan (FCI) - SHE                          3                0                0           2            1
Springfield (MCFP) - SPG                      9                1                8           0            0
St Louis (CCM) - CST                          1                0                0           1            0
Taft (CI) - TAF                               1                0                0           1            0
Talladega (FCI) - TDG                         5                0                2           0            3
Tallahassee (FCI) - TAL                       6                0                0           2            4
Terre Haute (FCC) - THX                      10                0                4           0            6
Texarkana (FCI) - TEX                         3                0                3           0            0
Thomson (AUSP) - TOM                         18                0               10           3            5
Three Rivers (FCI) - TRV                      2                2                0           0            0
Tucson (FCC) - TCX                           12                0               12           0            0
Victorville (FCC) - VIX                      11                0                0           0           11
Waseca (FCI) - WAS                            3                0                3           0            0
Williamsburg (FCI) - WIL                      3                0                2           0            1
Yazoo City (FCC) - YAX                       11                0                5           1            5




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                                                    2021 Staff-on-Inmate
                                          Opened Between 01/01/2021 to 12/31/2021
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Alderson (FPC) - ALD                          6                0                4           0            2
Aliceville (FCI) - ALI                        8                0                4           0            4
Allenwood (FCC) - ALX                         5                0                1           1            3
Ashland (FCI) - ASH                           2                0                2           0            0
Atlanta (CCM) - CAT                           1                0                1           0            0
Atlanta (USP) - ATL                          26                0                7           1           18
Atwater (USP) - ATW                           3                0                0           1            2
Baltimore (CCM) closed - CDR                  1                0                0           1            0
Bastrop (FCI) - BAS                           3                0                1           1            1
Beaumont (FCC) - BMX                         14                1                1           1           11
Beckley (FCI) - BEC                           7                1                5           0            1
Bennettsville (FCI) - BEN                     4                0                2           0            2
Berlin (FCI) - BER                            8                0                4           0            4
Big Sandy (USP) - BSY                         1                0                1           0            0
Big Spring (CI) - BSC                         5                0                5           0            0
Big Spring (CI) - BSF                         1                0                1           0            0
Big Spring (FCI) - BIG                        3                0                1           0            2
Brooklyn (MDC) - BRO                         15                0                4           0           11
Bryan (FPC) - BRY                             2                0                1           0            1
Butner (FCC) - BUX                            5                0                2           0            3
Canaan (USP) - CAA                            4                0                0           0            4
Carswell (FMC) - CRW                          7                1                1           1            4
Central Office - COF                          1                0                0           1            0
Chicago (CCM) - CCH                           3                0                0           3            0
Chicago (MCC) - CCC                           6                0                5           0            1
Cincinnati (CCM) - CCN                        6                0                0           6            0
Coleman (FCC) - COX                          23                0                8           3           12
Dalby (CI) - DAL                              5                0                2           1            2
Dallas (CCM) - CDA                            5                0                2           3            0
Danbury (FCI) - DAN                           3                0                0           0            3
Detroit (CCM) - CDT                           1                0                0           0            1
Dublin (FCI) - DUB                            5                0                0           0            5
Edgefield (FCI) - EDG                         6                2                0           0            4
El Reno (FCI) - ERE                           4                0                0           0            4
Englewood (FCI) - ENG                         3                0                2           0            1
Fairton (FCI) - FAI                           1                0                1           0            0
Florence (FCC) - FLX                          6                0                6           0            0
Forrest City (FCC) - FOX                      1                0                0           1            0
Fort Dix (FCI) - FTD                          6                1                0           0            5
Fort Worth (FMC) - FTW                        2                0                0           1            1
Gilmer (FCI) - GIL                            6                1                3           2            0
Greenville (FCI) - GRE                        1                0                1           0            0
Hazelton (FCC) - HAX                          5                0                4           0            1
Honolulu (FDC) - HON                          2                0                2           0            0
Houston (FDC) - HOU                           4                0                3           0            1

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                                                    2021 Staff-on-Inmate
                                          Opened Between 01/01/2021 to 12/31/2021
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
Jesup (FCI) - JES                            3                 0                2           0            1
Kansas City (CCM) - CKC                      2                 0                0           2            0
La Tuna (FCI) - LAT                          3                 0                1           0            2
Leavenworth (USP) - LVN                      2                 0                2           0            0
Lee (USP) - LEE                              2                 0                1           0            1
Lewisburg (USP) - LEW                        3                 1                1           0            1
Lexington (FMC) - LEX                        5                 1                0           0            4
Lompoc (FCC) - LOX                           3                 0                2           1            0
Long Beach (CCM) - CLB                       2                 0                0           2            0
Los Angeles (MDC) - LOS                      2                 0                0           0            2
Marianna (FCI) - MNA                         1                 0                1           0            0
Marion (USP) - MAR                           1                 0                0           0            1
McCreary (USP) - MCR                         3                 0                2           0            1
McKean (FCI) - MCK                           1                 0                0           0            1
McRae (CI) - MCA                             1                 0                0           1            0
Memphis (FCI) - MEM                          4                 0                0           0            4
Mendota (FCI) - MEN                          4                 0                2           0            2
Miami (FCI) - MIA                            3                 0                3           0            0
Miami (FDC) - MIM                            4                 0                0           0            4
Minneapolis (CCM) - CMS                      1                 0                0           1            0
Montgomery (CCM) - CMY                       8                 0                2           6            0
Montgomery (FPC) - MON                       1                 0                1           0            0
Nashville (CCM) - CNV                        1                 0                0           1            0
New York (CCM) - CNK                         2                 0                1           1            0
New York (MCC) - NYM                         3                 0                1           0            2
North Lake Corr. Ctr (CI) - NLK              6                 0                4           2            0
Oakdale (FCC) - OAX                          1                 0                1           0            0
Oklahoma City (FTC) - OKL                    3                 0                1           0            2
Orlando (CCM) - COR                          5                 0                0           4            1
Otisville (FCI) - OTV                        1                 0                0           0            1
Oxford (FCI) - OXF                           1                 0                0           1            0
Pekin (FCI) - PEK                            2                 0                0           1            1
Pensacola (FPC) - PEN                        1                 0                0           0            1
Petersburg (FCC) - PEX                       7                 0                1           0            6
Philadelphia (FDC) - PHL                     5                 2                2           0            1
Phoenix (CCM) - CPH                          3                 0                1           2            0
Phoenix (FCI) - PHX                          3                 1                1           0            1
Pittsburgh (CCM) - CPG                       2                 0                0           2            0
Pollock (FCC) - POX                          2                 0                1           0            1
Raleigh (CCM) - CRL                          2                 0                0           2            0
Ray Brook (FCI) - RBK                        3                 1                0           0            2
Reeves I and II (CI) - REE                   1                 0                0           1            0
Sacramento (CCM) - CSC                       2                 0                0           2            0
Safford (FCI) - SAF                          2                 1                0           0            1
San Antonio (CCM) - CSA                      4                 0                2           2            0

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                                                    2021 Staff-on-Inmate
                                          Opened Between 01/01/2021 to 12/31/2021
Institution/Facility                  Total No. Opened Closed, Sustained   Closed, Not   Admin.    Currently Open
                                                                            Sustained    Closure
San Diego (MCC) - SDC                         5                0                3           1            1
Sandstone (FCI) - SST                         4                0                1           2            1
Schuylkill (FCI) - SCH                        5                0                1           0            4
Seagoville (FCI) - SEA                        6                0                1           0            5
SeaTac (FDC) - SET                            3                0                0           1            2
Seattle (CCM) - CSE                           3                1                0           2            0
Sheridan (FCI) - SHE                          5                0                0           0            5
Springfield (MCFP) - SPG                      3                0                2           0            1
St Louis (CCM) - CST                          2                0                0           2            0
Talladega (FCI) - TDG                         4                0                0           0            4
Tallahassee (FCI) - TAL                       8                0                3           1            4
Terminal Island (FCI) - TRM                   1                0                0           0            1
Terre Haute (FCC) - THX                       8                0                0           0            8
Texarkana (FCI) - TEX                         5                2                2           0            1
Thomson (AUSP) - TOM                         13                0                4           0            9
Tucson (FCC) - TCX                            6                0                4           0            2
Victorville (FCC) - VIX                      14                0                1           1           12
Waseca (FCI) - WAS                            1                0                0           1            0
Williamsburg (FCI) - WIL                      2                0                0           0            2
Yazoo City (FCC) - YAX                        4                0                1           0            3




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     EXHIBIT                                           G
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Report and Recommendations
Concerning the Department of
 Justice’s Response to Sexual
Misconduct by Employees of the
  Federal Bureau of Prisons


                        November 2, 2022
      The Principal Associate Deputy Attorney General
             Working Group of DOJ Components




                                   i
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                                         Use of this Report

This Report was drafted to provide an overview of the Department’s approach to sexual
misconduct perpetrated by employees of the Federal Bureau of Prison and to propose
recommendations to improve that response. The Report is not intended to, and does not, create any
right or benefit, substantive or procedural, enforceable at law or in equity by any party against the
United States, its departments, agencies, or entities, its officers, employees, or agents, or any other
person. Nothing in this Report, including the policy recommendations, should be construed to
impair or otherwise affect the authority granted by law to a department or agency, or the head
thereof, or the functions of government officials relating to budgetary, administrative, or legislative
proposals. Recommendations will be implemented only as consistent with applicable law and
subject to the availability of appropriations. Both implementation and application of policy
recommendations involve the exercise of judgment of relevant Department officials.




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                                       INTRODUCTION
        On July 14, 2022, Deputy Attorney General Lisa O. Monaco issued a memorandum
identifying deep concerns about instances of reported and proven sexual misconduct by Federal
Bureau of Prisons (“BOP”) employees. The memorandum directed the Principal Associate Deputy
Attorney General to chair a group of senior officials (the “Working Group”) from relevant
components of the Department of Justice (the “Department” or “DOJ”) to review the Department’s
approach to rooting out and preventing sexual misconduct by BOP employees. This group was
tasked with developing and proposing “recommendations and reforms to address gaps,
deficiencies, and problems identified.”

        Over a 90-day review period, the Working Group 1 has assessed the Department’s policies
and practices related to preventing, reporting, investigating, prosecuting, and administratively
disciplining sexual misconduct by BOP employees. During its review, the Working Group
engaged with components across the Department, including BOP, the Executive Office for U.S.
Attorneys (“EOUSA”), the Civil Rights Division (“CRT”), the Federal Bureau of Investigation
(“FBI”), and the Office of the Inspector General (“OIG”), among others. It reviewed relevant BOP
Program Statements, policies, and procedures, and collected relevant data related to the incidence
of and response to sexual misconduct. The Working Group also held multiple listening sessions
with external stakeholders, including formerly incarcerated persons and victim advocacy
organizations. During one particularly powerful session, the Working Group heard firsthand
accounts from survivors of sexual assault by corrections officers.

        In this report, the Working Group outlines recommendations for immediate action—and
areas for further review—to better protect the safety and wellbeing of those in BOP custody and
better hold accountable those who abuse positions of trust. These recommendations center around
five pillars: (1) Prevention; (2) Reporting; (3) Investigation; (4) Prosecution; and (5) Employee
Discipline. The recommendations and their rationales are detailed below.

                                 EXECUTIVE SUMMARY
       The Working Group was charged with reviewing the Department’s response to allegations
of sexual misconduct perpetrated by BOP personnel and identifying recommendations to improve
that approach. 2 During the 90-day review period, the Working Group reviewed representative

1
  In addition to the PADAG, the Working Group included representatives from the following components:
Access to Justice, BOP, CRT, EOUSA, FBI, Justice Management Division, Office of Legal Policy, Office
of Public Affairs, Office on Violence Against Women, U.S. Attorney’s Office (“USAO”) for the District
of Colorado, Office of the Associate Attorney General, Office of the Deputy Attorney General (“ODAG”),
and Office of the Attorney General. This written report memorializes the findings and recommendations
from the Working Group’s review, which were previously briefed to the Deputy Attorney General at a
meeting on October 12, 2022.
2
 The Working Group was asked to examine only issues of sexual misconduct by BOP personnel. Although
some of our recommendations may also apply to issues of sexual misconduct by individuals in custody, we
have not reviewed that issue directly.
                                                  1
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BOP policies and practices, collected relevant data, consulted with relevant components, convened
listening sessions with stakeholders, and drew from the expertise and experience of its members.
This review reinforced the need for immediate actions to address the Department’s approach to
sexual misconduct perpetrated by BOP staff, as well as the importance of further review to consider
longer-term—and more systemic—changes.

       In particular, the Working Group recommends the following actions:

   1. BOP should enhance prevention of sexual misconduct perpetrated by BOP staff. The
      Department’s most basic goal is to prevent sexual misconduct before it occurs, and that
      begins with changing the culture and environment in BOP facilities. To do so, BOP should
      adopt early intervention models, promote stronger leadership at its women’s facilities, and
      improve staff training and wellness. It should increase camera technology and coverage
      and consider leveraging the insights of formerly incarcerated persons in assessing the
      safety of its facilities. Finally, the Department should conduct a comprehensive, data-based
      review of BOP facilities and prevention programs, while also collecting and analyzing data
      on sexual misconduct cases at particular facilities and across specific time periods, and
      make appropriate changes based on that review.

   2. BOP should enhance reporting of BOP staff who commit sexual misconduct. BOP
      should encourage reporting, protect the safety and wellbeing of those who report, and
      ensure that its response to misconduct reporting is meaningful and consequential. Victims
      and witnesses should have secure and readily available channels to report sexual abuse.
      BOP should remove barriers to reporting and create checks to ensure victims do not face
      negative consequences—including retaliation—for reporting abuse. Likewise, BOP
      should assess how to offer channels for family and friends of incarcerated persons to report
      abuse, including through the creation of new liaison or ombudsperson positions across the
      Bureau.

   3. DOJ should enhance and prioritize investigations of BOP staff who are accused of
      sexual misconduct. The Department should ensure that investigations are purpose-driven,
      victim-centric, and trauma-informed and that BOP’s structure and law enforcement
      coordination support those investigations. BOP’s investigators, who often conduct initial
      interviews and investigations, should receive specialized training and operate
      independently from the leadership of the facility. The FBI, which may jointly investigate
      these cases with OIG, should consider establishing specially trained points of contact for
      investigations of staff-involved sexual assault, as well as investigations involving inmate-
      perpetrated sexual assaults. Consistent with the Deputy Attorney General’s directive, FBI
      and OIG should continue to prioritize these investigations and coordinate investigative
      efforts with prosecutors from the U.S. Attorneys’ Offices and the Civil Rights Division.

   4. DOJ should enhance and prioritize prosecutions of BOP employees who commit sexual
      misconduct. The Department should ensure that prosecutors handling these cases have
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        appropriate training and experience, and it should encourage prosecutors to seek sentences
        that reflect the egregiousness of the conduct at issue. At the same time, the Department
        should pursue legislative changes to strengthen the statutes that prohibit and punish this
        conduct, and it should continue to urge the U.S. Sentencing Commission to strengthen the
        applicable sentencing guidelines. The Department’s prosecution practice should be victim-
        centered. It should encourage the use of victim assistance specialists throughout the
        lifecycle of a case. On a case-by-case basis—and only at the appropriate juncture of a case
        and after appropriate consultations—Department prosecutors should consider filing
        motions to seek sentence reductions for victims, paying careful attention to the impact such
        a motion could have on any pending prosecution and any resulting disclosure obligations.
        Finally, the Department should consider creating a continuing Advisory Group to further
        consider and coordinate best practices for investigating and prosecuting sexual misconduct
        cases.

    5. BOP should enhance the use of administrative actions and discipline of BOP employees
       who commit sexual misconduct. Following a report of sexual misconduct, the Bureau of
       Prisons should take steps to (1) ensure appropriate separation between the reporting party,
       the alleged victim (if different than the reporting party), and the alleged perpetrator, and
       (2) elevate allegations and their proposed dispositions to sufficiently high levels within
       BOP to ensure appropriate attention to and oversight of the disciplinary action process. In
       the short term, BOP leadership should emphasize the importance and availability of
       administrative actions, while also instituting appropriate documentation and reporting
       requirements to allow for oversight of these decisions (including reporting up to the
       Director). The Director should also immediately issue guidance to relevant staff that
       reiterates that all allegations of misconduct must receive individualized and equitable
       treatment, consistent with the Prison Rape Elimination Act (“PREA”). 3 In the long term,
       BOP should conduct a comprehensive review of its disciplinary procedures and options.

                                          BACKGROUND
        Consistent with the Deputy Attorney General’s directive, the Working Group conducted a
top-to-bottom, 90-day review of the Department’s approach to sexual misconduct cases involving
BOP officials. Given the expedited timeframe, the Working Group’s review was necessarily



3
  In 2003, Congress unanimously passed PREA, which has a stated purpose to “provide for the analysis of
the incidence and effects of prison rape in federal, state, and local institutions and to provide information,
resources, recommendations and funding to protect individuals from prison rape.” PREA also created the
National Prison Rape Elimination Commission and charged it with recommending standards for eliminating
prison rape to the Attorney General. Following the Commission’s report, in 2012, the Department of Justice
issued “National Standards to Prevent, Detect, and Respond to Prison Rape” as a final rule codified at 28
C.F.R § 115.
                                                      3
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targeted, 4 but it reinforced the view of Department leadership that the problem warrants significant
and expedited attention.

        As an initial matter, the Working Group collected data from BOP, OIG, CRT, and EOUSA
related to the current level of misconduct cases and their dispositions. 5 This data reflected that
BOP has received hundreds of complaints of sexual abuse perpetrated by its employees over the
past five years. While not every complaint is meritorious or prosecutable, the volume alone is a
strong signal of the need for attention to this problem. Likewise, over the past five years, the
Department has prosecuted 45 cases of sexual misconduct involving BOP corrections officers, and
the recurrence of this egregious conduct across multiple facilities poses serious concerns.

        The Working Group also heard direct reports that reinforced those concerns. During its
review period, the Working Group convened three listening sessions. In one, the Department heard
accounts from formerly incarcerated women who were survivors of sexual assault by corrections
officers. 6 Other listening sessions featured representatives from the following organizations:

       •    American Civil Liberties Union
       •    California Coalition for Women Prisoners
       •    Centro Legal De La Raza
       •    Just Detention International
       •    Ladies of Hope Ministries
       •    MacArthur Justice Center
       •    The Legal Defense Fund
       •    National Council for Incarcerated and Formerly Incarcerated Women. 7

Each of these external stakeholders raised troubling allegations of a culture of permissiveness
toward staff misconduct and retaliation against victims who report abuse.

         Finally, the Working Group reviewed examples of recent cases involving sexual
misconduct by BOP staff. These revealed instances of inadequate administrative sanctions and
initial prosecutorial declinations for employees ultimately convicted of egregious misconduct. 8


4
  Because of the expedited timeframe, the Working Group has not obtained clearance for these
recommendations from stakeholders such as the Attorney General’s Advisory Committee.
5
    See Appendix A for the full list of data requested and policies reviewed.
6
    To protect the privacy of these individuals, their names are omitted from this report.
7
    The Working Group also reviewed correspondence to the Deputy Attorney General from FAMM.
8
  In particular, the Working Group reviewed the timeline of events related to the prosecution of BOP
Correctional Officer/Recreation Specialist Jimmy Highsmith in the Northern District of Florida. BOP first
received allegations in 2012 that Mr. Highsmith had engaged in sexual abuse of inmates starting in October

                                                        4
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Even where prosecutions were brought, the Working Group reviewed cases where applicable
sentencing guidelines called for disproportionately lenient sentences when compared to the
admitted or proven misconduct. For example: 9

    •    In the Eastern District of Kentucky, the Department prosecuted BOP corrections officer
         Hosea Lee, who served as a Drug Treatment Specialist. He eventually pleaded guilty to
         five counts of violating 18 U.S.C. § 2243(b) for engaging in sexual acts with four different
         female inmates who were assigned to his drug treatment classes. Not unlike other BOP
         official defendants, he groomed his victims, exploiting vulnerabilities that he knew from
         treating them. He sought to cover up his conduct by avoiding detection on surveillance
         video and by directing them to destroy physical evidence. Under Section 2A3.3 of the
         United States Sentencing Guidelines, Lee’s advisory guideline range was 18 to 24 months.
         As a result, the government moved for an above-guidelines sentence, and the court granted
         the motion, varying upward to a sentence of 80 months in prison.

    •    In the Northern District of California, the Department prosecuted James Highhouse, a BOP
         chaplain, who, like Hosea Lee, was sentenced in August 2022. Highhouse pleaded guilty
         to two counts of 18 U.S.C. § 2243(b), two counts of 18 U.S.C. § 2244(a)(4), and one count
         of 18 U.S.C. § 1001, for his repeated sexual abuse of an incarcerated woman over a nine-
         month period. Despite the egregious nature of the conduct and his predatory pattern of
         behavior towards other incarcerated women, Highhouse faced an advisory guidelines range
         of only 24 to 30 months. Ultimately, despite indicating that it had rarely, if ever, imposed
         an upward variance before, the court granted the government’s motion for an above-
         guidelines sentence and sentenced the defendant to 84 months in prison.

                                          DISCUSSION
         Following its review, the Working Group advanced the following recommendations:

    1. Enhance Prevention of Sexual Misconduct by BOP Staff.
       The core purpose of this review is to better protect the safety of individuals in BOP custody.
While it is important to identify—and appropriately punish—misconduct when it happens, the
Department’s most fundamental goal is to prevent instances of sexual misconduct in the first place.
During this review, internal and external stakeholders all emphasized that prevention begins with
changing culture. To that end, the Working Group recommends that BOP adopt several practices
to promote a safer culture and environment.


2010. In March 2022, Mr. Highsmith was sentenced to 48 months’ imprisonment for engaging in sexual
acts with one inmate.
9
 The Department also detailed these two prosecutions in its annual report to the U.S. Sentencing
Commission, sent on September 12, 2022.
                                                  5
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          1.1      Apply early-intervention models.
       BOP should adopt an early-intervention approach that identifies warning signals and
enables and rewards reporting, and it should pilot innovative programs from related disciplines. 10
      1.1.1     Develop an early warning system. BOP should train its personnel to detect and report
                warning signs that other staff may be engaging in misconduct and to intervene before
                the situation escalates. There are several indicators that may signal problems,
                including, for example, a disproportionate number of complaints targeting a particular
                office or prison setting, officer tardiness following rounds, and routine AWOL status
                of officers during shifts. BOP should equip, encourage, and support supervisors and
                fellow officers to recognize and report those indicators, and approach stopping
                wrongful conduct before it occurs as a core responsibility.

      1.1.2     Pilot early intervention programs. BOP should consider adopting on a pilot basis
                prevention programs used in law-enforcement settings, many of which have already
                proven effective in changing culture and preventing harm. Such programs include
                “duty to intervene” models like the New Orleans Police Department’s EPIC program
                and PERF’s ICAT de-escalation model. 11 Likewise, BOP should explore bystander
                intervention models, such as the Active Bystandership for Law Enforcement (“ABLE”)
                program (used for incidents of law enforcement excessive force), 12 as well as models
                used by the Department of Defense and other federal agencies to prevent sexual assault
                and misconduct. 13 BOP could consult with the experts from these projects, as well as
                corrections experts and formerly incarcerated people, to develop its own model.




10
   We recommend that BOP explore already existing PREA-related resources. The National PREA
Resource Center site highlights webinars related to PREA efforts and activities. Information about targeted
training and technical assistance, BJA demonstration sites, and curricula is available in the Training &
Technical Assistance section of the National PREA Resource Center site. Also, the National Institute of
Corrections (“NIC”) conducts training, technical assistance, and education programs for federal, state, and
local authorities responsible for the prevention, investigation, and punishment of instances of prison rape.

11
     See http://epic.nola.gov/home/; https://www.policeforum.org/icat-training-guide.
12
     See https://www.law.georgetown.edu/cics/able/.
13
  See, e.g., https://dod.defense.gov/News/Special-Reports/0417_sexual-assault-awareness-and-
prevention/.
                                                      6
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          1.2      Examine how BOP selects, supervises, and supports wardens in
                   women’s facilities.
         Leadership is essential to creating the appropriate culture in BOP facilities, but
stakeholders and some BOP employees have reported a perception that wardens assigned to female
facilities are less qualified than those assigned to male facilities. 14 BOP’s current pay scale
compounds the problem: BOP wardens can be classified and compensated either at the GS-15
level or at the more coveted and higher salaried Senior Executive Service (“SES”) level, but BOP
currently ties compensation to factors which include the security designation of the warden’s
facility. Because women’s facilities are designated as low- or minimum-security, wardens at all
the solely women’s facilities are currently at the GS-15 level. 15

         BOP should consider the following steps to improve the leadership at its women’s
facilities:

      1.2.1 Improve compensation for wardens in women’s facilities. BOP should ensure that the
            wardens of women’s facilities receive compensation that is equitable compared to
            wardens of men’s facilities and appropriate to reflect the complexity of their
            responsibilities, notwithstanding the security designation of these facilities. Increasing
            the pay scale would not only recognize the unique challenges and security risks
            presented at women’s facilities; it would also signal that serving as warden at these
            facilities is a prestige post, reserved for the most talented administrators and those with
            genuine interest and passion for ensuring the protection of women housed in these
            facilities. 16

      1.2.2     Identify strong candidates to serve as wardens in women’s facilities. BOP should
                prioritize selection of wardens with a strong desire to work at women’s facilities and
                the necessary skills to address the unique issues faced in such facilities.

      1.2.3     Strengthen performance criteria for wardens and their supervisors. BOP should
                consider an official’s past approach to addressing sexual misconduct—including
                through implementation of innovative prevention programs, as well as prompt and
                appropriate responses to allegations as they arise—as part of the performance criteria
                for all wardens, as well as for the Regional Directors who monitor the performance of
                wardens in each facility.

14
   The Working Group recognizes that staff-perpetrated sexual assault occurs at both male and female
facilities. Moreover, there is reason to believe that male victims may be less likely to come forward as
victims. While most of our recommendations apply equally at all BOP facilities, some recommendations
address issues unique to women’s facilities.
 The only exception to this rule is FMC Fort Worth, which is primarily a female facility, but is also a
15

medical center that includes male inmates. The warden at that facility is an SES employee.
16
     In addition to the SES level, the Senior Level (“SL”) also offers compensation above the GS schedule.
                                                      7
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       1.3      Promote employee wellness.
         During its review, the Working Group repeatedly heard—including from formerly
incarcerated individuals—the importance of promoting employee wellness, which helps improve
the culture of the institution and, in turn, prevent instances of misconduct. The Working Group
understands that the new BOP Director is acutely focused on these issues, including addressing
staffing shortages and considering other climate issues that might foster misconduct. In addition
to that review, the Working Group recommends that BOP consider the following steps to promote
employee wellness:
   1.3.1     Adopt strict policies to prevent sexual harassment of BOP staff. Sexual harassment
             among staff, particularly of female corrections officials, contributes to and reflects a
             poor climate in BOP facilities. “Bureau of Prisons Anti-Harassment Policy,” codified
             at Program Statement 3713.2, prohibits “both sexual and non-sexual” harassment in the
             workplace, but it does not specifically distinguish between those two forms of
             harassment or provide recommended penalties for those who engage in sexual
             harassment. BOP should continue to highlight existing policies that prohibit sexual
             harassment of colleagues—and emphasize the gravity of this conduct—during
             mandatory annual training. It should also update those policies to specifically address
             the penalties of sexual harassment and impose significant disciplinary consequences on
             policy violators. Likewise, BOP should address sexual harassment perpetrated by
             inmates against staff, which can impair BOP’s ability to recruit and retain staff and also
             contribute to a culture of acceptance of sexual harassment more generally. BOP should
             establish support systems for staff who report being sexually harassed by inmates and
             impose meaningful consequences for such conduct.

   1.3.2     Adopt training and screening specific to staff at women’s facilities. BOP should adopt
             measures to ensure that staff are adequately equipped to address the unique issues faced
             in women’s facilities. In her recent testimony before the Senate Judiciary Committee,
             Director Peters explained that this begins with “hir[ing] the right people,” i.e., those
             “who show a propensity to succeed in our correctional environments.” The Working
             Group agrees that during the hiring stage, it is critical that BOP screen for persons who
             understand—and are interested in addressing—the challenges posed at women’s
             facilities. Likewise, Director Peters testified that BOP is exploring providing
             “additional training, including gender responsive training, trauma-informed training,
             and de-escalation training.” The Working Group endorses that effort and recommends
             that BOP develop mandatory training that is tailored to the specific challenges
             presented at women’s facilities, including sexual abuse and harassment.




                                                   8
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        1.4      Improve monitoring in BOP facilities.
       Detection is critical to deterrence. BOP should leverage both technological and human
resources to better detect—and therefore prevent—sexual misconduct in its facilities, including
through the following steps: 17
     1.4.1    Improve use of camera technology. BOP should continue to upgrade camera
              technology and implementation and, beginning with female institutions, review and
              expand coverage of currently deployed cameras across BOP systems to eliminate
              “blind spots.” We understand that this work is already underway in BOP, but we
              recommend that BOP prioritize this effort on an accelerated time frame to be
              determined by the Director, including as to allocation of existing resources. BOP
              should review its video preservation and collection practices, with a view towards
              extending the time that all video footage is preserved for as long as practically possible,
              as well as isolating and collecting all video footage relating to incidents under
              investigation and preserving such footage for the pendency of all criminal and
              administrative investigations.

     1.4.2    Collaborate with formerly incarcerated people and use the lessons learned from their
              experiences. BOP Office of Internal Affairs (“OIA”) and the Women and Special
              Population Branch co-chair the ongoing Women’s Institution Cultural (“WIC”)
              Assessment, which is responsible for regularly visiting and assessing women’s
              facilities. BOP should solicit the views of outside advocates and former inmates in
              conducting assessments; in appropriate circumstances, and consistent with security
              concerns and within the confines of policy, BOP may wish to include external
              stakeholders—including a formerly incarcerated individual—in its visits. Formerly
              incarcerated individuals can provide insight into a facility’s culture, help communicate
              with currently incarcerated individuals, identify facility-specific compliance problems,
              such as the physical locations of blind spots where abuse occurs, and offer suggestions
              for prevention and response.

        1.5      Enhance research and data.
      Consistent with the Department’s increased emphasis on evidence-based practices, 18 the
Department should develop enhanced data and research so that it can better target its prevention

17
  In addition to the steps outlined below, the Working Group recommends that BOP address the open
recommendations in OIG’s 2016 Review of the Federal Bureau of Prisons’ Contraband Interdiction Efforts.
OIG reported that contraband has been used to groom victims, so steps to reduce the introduction of
contraband into its facilities can also reduce the opportunity for sexual exploitation.
18
   The Department’s FY2022-FY2026 Strategic Plan and Learning Agenda emphasizes the importance of
“rigorous evidence building, including research, evaluation, statistics, and analysis,” which “will advance
the Department’s ability to effectively achieve its strategic goals and objectives, both in the short term and
in the long term.”
                                                      9
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efforts, including the investigations and prosecutions designed to deter this misconduct. In
particular, the Working Group recommends that the Department consider the following steps:
     1.5.1   Conduct a climate study focused on sexual abuse and misconduct. BOP should
             consider executing a climate study to determine the prevalence of sexual abuse and
             misconduct in its facilities. This survey could be tied to efforts by the Department’s
             Sexual Harassment Steering Committee. BOP could also examine—and possibly
             replicate—the Department of Defense’s approach, which recently updated its annual
             climate survey to include additional questions about sexual harassment and sexual
             assault. 19 BOP might similarly use climate data to identify facility-specific risk and
             protective factors, which can be used in hiring and screening of staff and to develop
             targeted prevention efforts.

     1.5.2   Review and validate BOP’s prevention programs. BOP should partner with the
             National Institute of Justice for research, development, and evaluation of its prevention
             programs, including its development of early-intervention models described in
             Recommendation 1.1.2.

     1.5.3   Use data to develop targeted, district-level recommendations to address misconduct.
             The Working Group compiled basic data on the incidence of complaints of sexual
             misconduct perpetrated by BOP officials; the number of such complaints sustained by
             OIG; the number of such complaints referred for prosecution; and the number of
             prosecutions of these cases. As explained above, this data reinforced the Working
             Group’s view that the problem of sexual misconduct warrants significant and expedited
             attention. The Working Group, however, did not conduct an in-depth analysis of this
             data or compare the data across districts. Moving forward, the Working Group
             recommends that the Department further analyze this data—and collect additional data,
             as needed—to identify trends and advance recommendations targeted to specific
             facilities or districts. This project should be assigned for immediate execution to the
             recommended advisory group, see Recommendation 4.6.

     2. Enhance Reporting as to BOP Staff who Engage in Sexual Misconduct.
       BOP should create and foster a culture where all stakeholders—from inmates to families to
BOP personnel—feel empowered to report misconduct and confident that such reporting will
result in a meaningful response from BOP officials, investigators, and prosecutors. During
listening sessions, advocates and formerly incarcerated women identified several obstacles to
reporting sexual abuse, including a fear of not being believed, a fear of retaliation, and a fear that

19
  https://media.defense.gov/2022/Mar/31/2002967307/-1/-1/1/2021-ON-SITE-INSTALLATION-
EVALUATION-REPORT.PDF. The Department of Defense also has a new function called the Violence
Prevention Cell (“VPC”) that resides at the Office of Force Resiliency. The VPC is examining integrated
prevention, including as to sexual assault, sexual harassment, and other problematic behaviors, and linking
it to climate and culture.
                                                    10
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reporting would not result in consequences for the perpetrator. In part, addressing these issues
requires systemic changes to the culture in BOP facilities. (See Recommendations 1.1, 1.2, and
1.3.). We also recommend the following steps to encourage reporting, protect the safety and
wellbeing of reporting parties, and ensure that reporting misconduct is meaningful and
consequential. 20

          2.1      Improve the mechanisms and procedures for victim reporting.
      During listening sessions, the Working Group heard about the barriers to reporting, and the
importance of readily available and anonymous reporting channels. BOP should consider the
following steps to facilitate reporting by the victims of sexual abuse or other inmates:
      2.1.1     Standardize the information inmates receive about the reporting process. BOP should
                regularly provide each inmate with detailed information on how to report sexual
                misconduct, which should include specific instructions on what to include in any report
                (e.g., details on who, what, where, when, and whether there are other potential victims).
                Where possible, BOP should provide additional guidance to inmates on what to expect
                after a report is made (e.g., “You should expect to be contacted for a statement.”).

      2.1.2     Emphasize the availability of confidential reporting to OIG. Inmates can currently send
                reports of sexual abuse to a dedicated email address run by OIG, and they can request
                that the report remain confidential. In highlighting this reporting option consistent with
                Recommendation 2.1.1, BOP should stress that OIG is entirely independent of BOP
                and that OIG protects the identity of victims and complainants to the greatest extent
                possible, while still thoroughly vetting and investigating the allegations. BOP should
                also make it clear that both inmates and staff can make third-party reports to OIG
                regarding victimization of other inmates and encourage inmates and staff to exercise
                that option.

      2.1.3     Expand the available channels for reporting. BOP should consider developing a hotline
                option for the use of inmates and their families and representatives to report sexual
                abuse, and this hotline should be staffed by individuals trained in working with victims
                of sexual assault. Indeed, in consultation with BOP staff and inmates, OVW is
                currently working on a blueprint for a national line that could facilitate reporting to
                outside entities and victim services. We recommend that a hotline option be
                implemented as soon as possible.

      2.1.4     Install a victim liaison position at BOP headquarters and an ombudsperson in each of
                the Regions. BOP should establish new positions designed to facilitate and monitor
                victim reporting. First, BOP should consider creating a new, headquarters-level
                position for a “victim liaison,” who would interact with victims who have reported

20
     Recommendations 3, 4 and 5 are all designed to promote accountability following a report of misconduct.
                                                      11
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               sexual misconduct, assure victims that reports have been received and ongoing
               investigations will be tracked, and provide victims with guidance about what to expect
               during the investigative process. Likewise, we recommend that BOP establish a cadre
               of ombudspersons in each Region, who can serve as a resource for both victims and
               their families (see Recommendation 2.3.2), while also reviewing the facility-level
               response to reports of sexual misconduct.

         2.2      Ensure victims do not experience penalties for reporting.
        During its review, the Working Group consistently heard that victims feared the
consequences of reporting abuse perpetrated by BOP staff. During listening sessions, formerly
incarcerated individuals reported that corrections officers have threatened retaliation against
reporting individuals, including by restricting access to children. Furthermore, BOP policies
meant to protect victims may inadvertently cause negative consequences for those who report
abuse. For security reasons, well-intentioned officials may transfer a victim to another BOP
facility, where they are usually more distant from their family and community, or place them into
the Special Housing Unit (“SHU”), where they inevitably lose privileges—such as visits, phone
calls, and commissary access—which are lifelines to those who are incarcerated. The placement
of victims in SHU, even if intended for protection, can have a chilling effect on reporting.
      To better encourage reporting, the Working Group recommends that BOP consider the
following steps:
      2.2.1    Examine BOP policy on review or appeal of privilege restrictions and access to
               necessity items. To prevent retaliation, BOP should create additional review structures
               for any disciplinary actions relating to inmates who have made reports of sexual
               misconduct. It should also require reporting to the Regional Office when any
               individual who reports sexual abuse is placed in the SHU or transferred to another
               facility, with notice to and oversight from the Central Office. This report should be
               made to either the Regional Director or, as suggested in Recommendation 2.1.4, a
               regional ombudsperson.

      2.2.2    Review BOP policy on restrictive housing. As part of BOP’s ongoing review of its
               SHU and SMU policies, BOP should address any policy or practice that results in an
               individual being placed in restrictive housing after a report of sexual misconduct by
               staff and ensure compliance with applicable PREA regulations. 21 This includes
               ensuring that victims are not subjected to other punitive conditions (restrictions on
               property, visitation, phone, etc.) while segregated. Ultimately, BOP should consider
               creating an area in its female facilities that is specifically designated as administrative
               segregation—rather than disciplinary segregation—that allows similar programming
               and visitation opportunities as standard housing. Where feasible, administrative
               segregation should be in a physically different location from disciplinary segregation;

21
     See 28 CFR § 115.43.
                                                     12
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                  at minimum, BOP should emphasize that inmates on administrative segregation should
                  not share cells with those on disciplinary segregation. In all events, we recommend
                  that BOP make clear to both staff and incarcerated individuals that, under BOP policies,
                  security measures like SHU placement or facility transfer will be voluntary or imposed
                  only as an option of last resort in response to imminent threats to inmate safety, not as
                  a measure of discipline for reporting.

           2.3       Enhance reporting options for third parties.
        BOP should improve the ability of third parties, including the family and friends of victims,
to report sexual misconduct, including through the following steps:
       2.3.1      Improve publicly available channels for third-party reporting. BOP should consider
                  how to better facilitate third-party reports through its reporting website, 22 which directs
                  parties to report abuse via a mailing address to BOP OIA. This website should include
                  an email or web form so that families can connect directly with OIA and OIG.

       2.3.2      Make regional ombudspersons available to families. Consistent with Recommendation
                  2.1.4, BOP should install in each of BOP’s Regions an ombudsperson, who, among
                  other responsibilities, could serve as a liaison for family members, including with
                  respect to reports of sexual misconduct.

       2.3.3      Review BOP policy as to staff reporting of misconduct by other staff members. BOP
                  policy requires “[e]mployees [t]o immediately report any violation, or apparent
                  violation, of standards of conduct to their Chief Executive Officer (“CEO”) or another
                  appropriate authority.” 23 The Department currently has robust policies protecting staff
                  whistleblowers from retaliation, and BOP policy likewise makes “retaliation or
                  discrimination against those who make such a report” a removable offense. 24 BOP
                  should review these policies to ensure they provide the maximum protection for staff
                  reporting of other staff members’ sexual misconduct and regularly remind staff,
                  including through training, of the importance of reporting misconduct, including
                  conduct related to sexual misconduct in particular.




22
     https://www.bop.gov/inmates/custody_and_care/sexual_abuse_prevention.jsp.
23
  See P.S. 3420.11 at 2; see also id. at 5-6 (requiring employees to “[a]s soon as practicable (but no later
than 24 hours) report to their CEO (or other appropriate authority such as the Office of Internal Affairs or
OIG) any violation, appearance of a violation, or attempted violation of these Standards or of any law, rule,
or regulation”).
24
     Id. at 34.
                                                        13
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       3. Enhance Investigations of BOP Staff who are Accused of Sexual
          Misconduct.
        To a greater degree than investigations of other forms of BOP staff misconduct, sexual
misconduct investigations frequently rely heavily on the victim’s account. Sexual misconduct
allegations often do not lend themselves to direct corroboration from law enforcement or other
inmates, as such crimes typically do not occur in front of witnesses. Perpetrators of sexual
misconduct often engage in behavior to avoid detection, for example by committing misconduct
outside surveillance camera view, disposing of DNA evidence, threatening victims with
repercussions if they report, and otherwise convincing them that no one will believe them because
of their incarcerated status. As a result, these cases often rise and fall primarily based on the
credibility of the victim.

        Investigating these cases successfully thus requires an understanding of trauma-informed,
victim-centered practices. 25 Investigators should recognize, for instance, that victims reporting a
sexual assault frequently elide details or recount events out of order because of the neurobiological
impact of traumatic memory. 26 Likewise, victims may minimize events during the first interview
or interviews thereafter because, for example, the victim may be embarrassed, may think she will
not be believed, or may be uncomfortable with the prosecutor or investigator. 27 This is especially
applicable in connection with allegations of sexual misconduct at BOP, as victims may already
distrust law enforcement and fear for their safety because of the roles and status of the perpetrators
involved. The Working Group’s recommendations are therefore meant to ensure that
investigations are purpose-driven, victim-centric, and trauma-informed. Investigations should be
objective, with the purposes of assessing the victim’s account, developing corroboration, and
protecting victims from unfair attacks on their credibility, while adhering to the Department’s
Principles of Federal Prosecution. 28




25
   See Identifying and Preventing Gender Bias in Law Enforcement Response to Sexual Assault and
Domestic Violence, Dep’t of Justice (May 22, 2022), https://www.justice.gov/opa/file/799366/download;
Investigating and Prosecuting Law Enforcement Sexual Misconduct Cases, DOJ J. OF FED. LAW &
PRACTICE, Jan. 2018, at 77, https://perma.cc/9DGQ-FEPZ.
26
     Id. at 87.
27
     Id. at 86-87.
28
   See JM § 9-27.220 (“The attorney for the government should commence or recommend federal
prosecution if he/she believes that the person’s conduct constitutes a federal offense, and that the admissible
evidence will probably be sufficient to obtain and sustain a conviction, unless (1) the prosecution would
serve no substantial federal interest; (2) the person is subject to effective prosecution in another jurisdiction;
or (3) there exists an adequate non-criminal alternative to prosecution.”).
                                                       14
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        3.1      Assign specially trained, neutral agents to investigate allegations of
                 sexual misconduct by BOP staff.

    Given the special considerations applicable to investigations of sexual misconduct at prison
facilities, it is important that those investigating such allegations are provided proper training to
promote a trauma-informed, victim-centered approach. The Working Group heard anecdotal
stories of flawed investigations from a variety of components where prosecutors or agents did not
fully or effectively adhere to this approach. Additionally, the Working Group is concerned about
whether investigative staff working in the BOP facility where the alleged misconduct took place
can be—and can appear to victims to be—neutral and free from undue influence. Therefore, we
recommend the following steps to shift structural assignments and improve training and support
provided to those investigating sexual misconduct committed by BOP staff.

     3.1.1    Eliminate the use of SIS officers in initial interviews or investigations. Historically,
              BOP has assigned Special Investigative Services (“SIS”) lieutenants to conduct intake
              of allegations of sexual misconduct, which often includes taking initial statements from
              victims or witnesses. This assignment prompts several concerns. First, SIS officers
              are usually corrections officers who rotate in and out of that position without
              specialized sex-crime or trauma-informed training. Because these officers lack specific
              training in this area, they may conduct or document interviews in a manner detrimental
              to an ensuing investigation. Second, the nature of the SIS position and the rotation of
              correctional officers into and out of the SIS Unit may deter the reporting of sexual
              assault allegations. SIS officers may be—or appear to victims to be—friends or
              colleagues of the alleged perpetrators, creating at least the appearance of a conflict of
              interest. As a result, victims may fear that if they report sexual misconduct, they will
              face retaliation from fellow inmates or from staff members who are friendly with the
              perpetrator. We understand that a BOP reorganization designed, in part, to address
              these concerns is already underway. To mitigate these concerns, the Working Group
              recommends that, as part of this reorganization, no SIS officer—or any other person
              who reports to institution leadership—should participate in any initial interview or
              investigation involving a report of sexual misconduct perpetrated by BOP staff. 29

     3.1.2    Dedicate Special Investigative Agents (“SIAs”) to investigate sexual misconduct
              allegations. Rather than using SIS officers, BOP should assign specially trained SIAs
              to these investigations. Consistent with this recommendation, we understand that BOP
              plans to assign SIAs to the 29 BOP facilities that house female inmates. BOP should
              ensure that these SIAs (a) have a commitment to conducting effective sex crimes
              investigations; and (b) are trained in conducting trauma-informed investigations.
              SIAs—rather than another member of the SIS staff—should further facilitate
              interviews by OIG, FBI, or BOP’s OIA to the extent those interviews must occur in the
29
  Consistent with Recommendation 3.2.1, BOP should also ensure that adequate alternative staffing is
available so that implementation of this recommendation does not slow down the response to misconduct.
                                                   15
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              BOP facility. Additionally, BOP should have specially trained SIAs available for
              deployment to its other facilities as needed, as sexual assault and related misconduct
              are not limited to women’s facilities.

     3.1.3    Create reporting structures that promote objectivity. To ensure objectivity, the
              Working Group recommends that BOP hire the requisite staff and reorganize its
              investigative structure to ensure that SIAs report to OIA and not the individual
              institution’s leadership, i.e., the warden. We understand that BOP intends to implement
              such an approach—a change we endorse. Likewise, BOP should ensure that all SIAs
              report allegations of misconduct to the Central Office, OIG, and the FBI, where
              appropriate, and that SIAs provide all reports and evidence gathered to date at the time
              of the report. BOP’s revamped reporting structure should require full and regular
              reporting of allegations of sexual misconduct to BOP’s Central Office.

     3.1.4    Publicize these changes to incarcerated individuals. BOP should inform inmates that
              sexual misconduct investigations will be handled by either by independent OIG or FBI
              agents or investigators assigned to the Headquarters internal affairs unit, rather than by
              local facility personnel. BOP should make clear that investigators and officials at the
              local facility, including the warden, will not participate in the investigation and will
              have no control over the outcomes of sexual misconduct investigations involving BOP
              staff. Finally, BOP should inform reporting parties about statutes that protect the rights
              of crime victims and assist with victim services.

        3.2      Employ victim-centered, trauma-informed investigative techniques
                 during BOP investigations.

        The Working Group recommends that BOP approach investigations consistently with
PREA and best practices for investigations discussed above, see supra at 14. In particular, the
Working Group highlighted one BOP practice that caused concerns: Until recently, SIS officers
were encouraged during initial intake interviews to obtain from victims sworn declarations in
writing under penalty of perjury, presumably for a later administrative investigation. There is no
legal requirement for sworn statements or affidavits, and the evidentiary value of these sworn
affidavits may be limited. 30 At the same time, requiring such sworn statements run counter to
trauma-informed practices and may chill reporting, as it heightens a victim’s fear that she may face
prosecution if her account is not believed. The Working Group therefore recommends that BOP
discourage its SIA investigators from asking or requiring a victim of sexual misconduct to give
sworn affidavits or sworn statements as a standard practice.




30
   For example, an intentional false statement in the affidavit could constitute a violation of 18 U.S.C.
§ 1001, but that statute does not require the statement to be under oath.
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        3.3      Promote expertise among FBI agents who investigate allegations of
                 sexual misconduct perpetrated at BOP facilities, including any joint
                 investigations into misconduct by employees where OIG has primary
                 jurisdiction.
        OIG has primary jurisdiction for all investigations of criminal conduct by DOJ employees
from any component, including BOP. At BOP facilities, the FBI primarily investigates criminal
activity by and between inmates, as well as criminal activity involving non-DOJ staff. In some
circumstances, including where an investigation of employee conduct stems from an FBI inquiry
into the conduct of an inmate or another individual who is not a BOP employee or contractor, or
where a joint investigation is appropriate, the FBI is also involved in investigations that involve
BOP staff. The Working Group recommends that the FBI take the following steps, consistent with
those investigative responsibilities:

     3.3.1    Designate trained points of contact at FBI field offices. FBI field offices with BOP
              facilities within their areas of responsibility should formally identify a Special Agent
              to serve as a BOP Point of Contact (“POC”). That POC would be responsible for
              engaging directly with OIG and the SIA within the facility, who could then alert the
              POC when sexual misconduct allegations warranting FBI attention arise. The POC
              should receive appropriate and effective training on how to investigate sexual
              misconduct, as discussed directly below.

     3.3.2    Require training for agents who investigate these cases. We recommend that agents at
              all DOJ components with responsibility to investigate sexual misconduct cases at BOP
              receive training on effective investigation of allegations of sexual misconduct,
              including by corrections officers and other government actors. 31 We also suggest
              broader consideration of mandatory training for all agents who investigate sex crimes. 32




31
   For example, CRT has created a three-part webinar series on investigating and prosecuting law
enforcement sexual misconduct. That series is currently available on FBI’s Virtual Academy as an optional
training, but we suggest it be assigned training for all agents responsible for sexual misconduct
investigations involving BOP personnel. To the extent additional training is necessary or appropriate, we
recommend that the FBI work to develop such training or contract with outside experts.
32
  We note that many agents are assigned color of law/sexual misconduct investigations, to include BOP
sexual misconduct allegations, at the outset of their careers. As a result, we would encourage review of
whether the FBI and other agencies who conduct these investigations should include training on
investigating sexual misconduct allegations as part of their initial training module.
                                                   17
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        3.4      Improve coordination and communication among investigators and
                 prosecutors.
      The Working Group recommends that investigators take several steps to improve
communication and coordination among the different entities responsible for investigating and
prosecuting sexual misconduct cases.
     3.4.1    Provide appropriate notifications to OIA. Currently, pursuant to OIG’s internal
              policies, OIG notifies BOP OIA when it learns of allegations of sexual misconduct and
              when it declines to pursue any matter, so that BOP OIA can take administrative action
              as appropriate. When the FBI learns of allegations of sexual misconduct by BOP
              employees, it is required to notify the OIG. To the extent that FBI learns of an
              allegation of BOP sexual misconduct and notifies the OIG of such misconduct, FBI
              should also notify BOP OIA of having made such notification to OIG, thereby
              providing OIG the right of first refusal to investigate. Upon request by OIA or OIG,
              we recommend that FBI turn over investigative materials, including FD-302s, so that
              OIA is aware of the universe of evidence and need not conduct redundant interviews,
              particularly of victims.

     3.4.2    Provide appropriate notifications to headquarters and prosecutors. We recommend
              further discussion about ways to increase communication and coordination of
              allegations and investigations of sexual misconduct at BOP facilities. As of now, FBI
              field agents only notify FBI headquarters of assessments if they deem the allegation
              “significant,” but it is unclear how a determination of significance is made. FBI should
              explore earlier notifications to headquarters, the local USAO, and CRT.

     4. Enhance Prosecutions of Sexual Misconduct Perpetrated by BOP Staff.
       While prosecution alone cannot solve the problem of sexual misconduct in prison, the
Working Group believes that accountability and deterrence, including through criminal
prosecution, are critical to any effective strategy to address this issue. The purpose of the
following subset of recommendations is to promote consistency and best practices in BOP sexual
misconduct prosecutions. 33




33
  These best practices might also be applied more broadly to sexual misconduct cases committed under
color of law. As noted in Recommendation 4.6, we recommend creating an Advisory Group to further
explore these issues, as we recognize that sexual misconduct by BOP officials is a subset of these broader
color of law prosecutions and shares similar prosecution challenges. Thus, raising competency on cases
involving sexual misconduct by those acting under color of law generally will also improve the more
specific response to sexual misconduct by BOP officials.
                                                   18
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          4.1      Designate points of contact in U.S. Attorneys’ Offices with BOP facilities
                   in their districts.

       We recommend that each USAO—beginning with USAOs whose district contains a BOP
facility where female inmates are housed—be directed to designate a criminal Assistant United
States Attorney (AUSA) as a POC for intake of sexual misconduct prosecutions and other criminal
matters involving BOP staff. 34 As a best practice, the POC should be trained and/or have
experience in conducting trauma-informed investigations, should have reviewed relevant
Department training for prosecuting sex crimes by government actors and other sexual misconduct
cases, and should be well-versed in the federal statutes and federal rules of evidence that govern
these investigations and prosecutions. 35 The POC should work with USAO leadership to ensure
that any federal prosecutor assigned to a sexual misconduct case involving an incarcerated victim
should be different from the prosecutor who originally prosecuted the victim for her offense of
conviction.

           4.2     Use available tools to pursue a fair and proportional sentence.

        The Department of Justice has jurisdiction to prosecute BOP staff members under a variety
of statutes. Prosecutors should become familiar with these options and, consistent with the
Principles of Federal Prosecution, make appropriate, individualized charging decisions and
sentencing recommendations to reflect the seriousness of the conduct. 36

      4.2.1     Consistent with the Principles of Federal Prosecution, prosecutors should consider the
                full array of statutes—including recently enacted authorities—when making charging
                decisions. Prosecutors handling these cases should consider the availability of all
                statutes—including the new substantive and penalty statutes that became effective on
                October 1, 2022, following the reauthorization of the Violence Against Women Act
                (“VAWA”)—when making charging decisions. 37 These authorities include, but are not


34
  As previously noted, BOP sexual abuse is a subset of color of law violations involving sexual misconduct
where the subjects are government actors, government contractors, or law enforcement officers. As
discussed in Recommendation 4.6.3, U.S. Attorneys’ Offices may also benefit from designating a POC to
cover this broader group of allegations.
35
  Depending on the case, this POC may have overlapping responsibility with other coordinators and POCs
in the USAO, such as the Criminal Civil Rights Coordinator, Project Safe Childhood and Human
Trafficking Coordinator, or the Tribal Liaison. In some cases, USAOs may choose an AUSA to perform
multiple POC/coordinator roles. But where expertise and jurisdiction of multiple coordinators overlap, the
sexual misconduct POC and others in the USAO should work together.
36
  In general, cases may be declined for a variety of appropriate reasons. Nothing in these recommendations
conflicts with proper and faithful application of the Principles of Federal Prosecution.
37
     See Appendix B for additional information on the new authorities set forth in VAWA 2022.
                                                    19
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              limited to, offenses for which consent is not a defense. 38 Misconduct can also be
              prosecuted under other federal sexual abuse and civil rights statutes, which require
              proof of lack of consent or coercion, or another element that shows that the victim was
              an unwilling participant (e.g., physical force or placing in fear of physical harm). 39
              Such statutes carry higher maximum penalties and higher recommended advisory
              sentencing guidelines ranges and may thus provide an alternative means to obtain more
              just sentences than moving for variances, as discussed below in 4.2.2. Likewise, 18
              U.S.C. § 2244(a)(1)-(2) governs cases involving sexual contact that would violate
              Section 2241(a) or (b) or Section 2242 had the sexual contact been a sexual act. The
              POC at each USAO, see Recommendation 4.1, should serve as an expert resource for
              AUSAs on statutory authorities and available training on sexual misconduct
              investigation and prosecution.

     4.2.2    In appropriate cases, prosecutors should move for upward departures or variances from
              the applicable Sentencing Guidelines range. As described further in Recommendation
              4.3, the Department has recently urged the U.S. Sentencing Commission to review—
              and strengthen—the guidelines applicable to sexual misconduct cases involving federal
              corrections officers, specifically violations of 18 U.S.C. §§ 2243(b) and 2244(a)(4).
              Until the guidelines are strengthened, we recommend that Department leadership
              encourage prosecutors to seek upward departures or variances in appropriate cases,
              consistent with JM § 9-27.730, to secure sentences that reflect just punishment.

        4.3      Pursue appropriate changes to the statutes and sentencing guidelines
                 applicable to these cases.
       The Department should advocate for changes to both the United States Sentencing
Guidelines and the United States Code to strengthen its response to BOP sexual abuse specifically
and sexual misconduct by government actors more broadly. In particular, the Working Group
recommends that the Department:



38
   This includes 18 U.S.C. §§ 2243(b) and 2244(a)(4), which prohibit sexual acts and sexual contact,
respectively, and apply to prosecutions of sexual abuse of inmates by BOP staff; 18 U.S.C. §2243(c),
applicable to conduct that occurs on or after October 1, 2022, essentially expands the jurisdiction of Section
2243(b) beyond the prison walls to all federal law enforcement officers who engage in sexual acts with
those in their custody, under their supervision, or in detention. 18 U.S.C. § 2244(a)(6) provides penalties
for sexual contact that would violate Section 2243(c) had the sexual contact been a sexual act.
39
   This includes violations of 18 U.S.C. § 2241 and 2242, as well as 18 U.S.C. §§ 250 and 2242(3), which
are applicable to conduct that occurs on or after October 1, 2022. Section 250 is a penalty statute for civil
rights offenses involving sexual misconduct and can be charged in conjunction with violations of 18 U.S.C.
§ 242; Section 2243(3) expands the definition of federal sexual abuse to include knowingly engaging in
nonconsensual or coercive sexual acts.
                                                     20
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     4.3.1    Continue to encourage the U.S. Sentencing Commission to strengthen applicable
              guidelines. In its recent annual report to the U.S. Sentencing Commission, the
              Department highlighted that the current guidelines provision applicable to sexual abuse
              of a ward, in violation of 18 U.S.C. § 2243(b), is often insufficiently punitive to reflect
              the egregious conduct at issue, promote respect for the law, afford adequate deterrence,
              and protect the public; further, the overly lenient guidelines provision is at odds with
              the statutory maximum penalty provided by Congress and the guidelines provisions
              applicable to comparable sex offenses. 40 The Department reiterated its concerns in a
              follow-up letter submitted earlier this month. 41 We recommend continued engagement
              with the U.S. Sentencing Commission to urge it to review—and strengthen—these
              guidelines.

     4.3.2    Pursue appropriate legislation to strengthen the Department’s tools to prosecute sexual
              misconduct. Following the enactment of 18 U.S.C. § 250 (penalties for civil rights
              offenses involving sexual misconduct), 18 U.S.C. § 2242(3) (sexual abuse involving
              lack of consent or coercion), and 18 U.S.C. §§ 2243(c) and 2244(a)(6) (sexual acts or
              contact with individuals in federal custody), there is a need to amend several non-
              substantive existing statutes and guidelines that cover sex offenses − e.g., the limitation
              period for prosecution, pretrial release or detention, supervised release, and sentencing
              − to integrate these new provisions. We therefore propose consideration of legislative
              language, including through expedited clearance with appropriate components, such as
              the Office of Legislative Affairs (“OLA”), as well as the Attorney General Advisory
              Committee. In order to expedite this process, the Working Group has developed draft
              legislative text for a proposed bill and an accompanying analysis for submission to
              OLA for review, which are available to share upon request.

        4.4      Consider seeking a reduced sentence or other benefit for qualifying
                 sexual misconduct victims, where warranted, only at the appropriate
                 juncture and only after thoughtful, individualized consultations.

        During listening sessions and in written submissions, external stakeholders have urged
BOP to seek, and federal prosecutors to file, motions for sentence reduction for victims whose
allegations of sexual assault have been found credible, as well as to consider signing U-Visa
certifications on behalf of non-citizen survivors. The Working Group carefully considered these
proposals and recommends an approach that balances ensuring effective criminal enforcement and
overall accountability with recognizing the detrimental impact of sexual assault on victims and the
potential suitability of early release.

 Letter from Assistant Attorney General Kenneth A. Polite, Jr. & Jonathan J. Wroblewski to Hon. Carlton
40

W. Reeves, Chair, U.S. Sentencing Commission (September 12, 2022).
 Letter from Deputy Attorney General Lisa O. Monaco to Hon. Carlton W. Reeves, Chair, U.S. Sentencing
41

Commission (October 17, 2022).
                                                    21
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4.4.1   BOP and federal prosecutors should make individualized assessments as to the
        appropriateness of sentence reductions or U-Visa certifications, taking into account
        both timing and justification. The Working Group takes seriously the trauma that
        victims of sexual misconduct suffer, and we recognize the ongoing harm that victims
        may experience while in custody. At the same time, members of the Working Group
        had serious concerns that the use of these actions during the pendency of an
        investigation would undermine victim credibility and thus compromise the
        Department’s ability to hold perpetrators of these offenses accountable. The Working
        Group therefore encourages BOP and federal prosecutors to make individualized
        assessments as to the appropriateness of a Rule 35 motion or a U-Visa application on a
        case-by-case basis, taking into account both timing and justification. Particularly
        during the pendency of an investigation or prosecution, prosecutors should carefully
        consider the impact that any such action may have on the credibility of the victim, with
        the understanding that such motions are likely best suited (and have a better chance of
        success on the merits) after a case or investigation is completed. Such a decision should
        be made in consultation with the USAO POC, a supervisor with relevant experience,
        or another prosecutor experienced in sexual misconduct cases.

4.4.2   BOP should address the use of compassionate release for individuals determined to be
        victims of sexual assault perpetrated by BOP personnel. At the direction of the Deputy
        Attorney General, the BOP Director is considering whether and how BOP policy
        regarding compassionate release can be implemented or modified to
        address circumstances where an individual in BOP custody has been determined to
        have been the victim of sexual assault perpetrated by BOP personnel. The Working
        Group supports expedited completion of this review. The Advisory Group (discussed
        in Recommendation 4.6) will also assess how BOP and DOJ prosecutors are addressing
        the applicability of compassionate release in these circumstances on a case-by-case
        basis.

4.4.3   Prosecutors should provide appropriate notifications—and, as appropriate,
        recommendations—reflecting the victim’s experience. In cases where a Rule 35
        sentence reduction, U-Visa, or compassionate release motion is under consideration,
        the U.S. Attorney’s Office or component that prosecuted the sexual misconduct should
        notify and coordinate with the U.S. Attorney’s Office or component that originally
        prosecuted the victim. If the victim is informed or aware of the possibility of a reduced
        sentence or other benefit prior to any testimony or sworn statement, that fact must be
        disclosed to the defendant in accordance with Department policy and our constitutional
        obligations. Likewise, prosecutors should consider the victims of the underlying
        conviction when considering sentence reductions, U-Visas, or compassionate release
        for those affected by misconduct, and prosecutors should act consistently with victim’s
        rights and after appropriate notifications are made to those victims.


                                             22
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        4.5      Increase the availability of victim specialists through a prosecution’s life
                 cycle.

     4.5.1    Promote the use of OIG victim specialists. We recommend that victim specialists be
              made available in all BOP sexual misconduct prosecutions. Under an agreement
              currently in place between the FBI and EOUSA, USAO victim specialists take over for
              FBI advocates upon indictment. The OIG has requested funds to hire a victim
              advocate, but in the interim, we recommend that federal prosecutors work with OIG
              agents to promote access for victims to a specialist before indictment. CRT currently
              employs two victim-witness specialists who work with victims from the investigative
              stage throughout the pendency of a case.

     4.5.2    Promote continuity of victim advocacy. We further recommend that prosecutors
              evaluate on a case-by-case basis whether the continuity of a victim specialist would
              benefit the victim, and work with the FBI, OIG, the USAO, and/or CRT to determine
              if there is a specialist who can work with the victim throughout the pendency of the
              entire case, from investigation to prosecution. 42 This practice will further promote the
              principles underlying the Crime Victims’ Rights Act, 18 U.S.C. § 3771.

        4.6      Create a continuing Advisory Group to further address investigations
                 and prosecutions of sexual misconduct.

        We recommend continuing the efforts of the Working Group by creating an Advisory
Group with representatives from across the Department—including OVW, CRT, the U.S. Attorney
community, the FBI, and OIG—to further consider improvements to sexual misconduct
investigations and prosecutions, including those that involve other government actors. We
recommend that this group report regularly to ODAG and consider at least the following areas for
policy and procedure development:

     4.6.1    Develop best practices for sexual misconduct cases. We recommend that the Advisory
              Group develop best practices for prosecuting sexual misconduct cases involving BOP
              personnel or, as appropriate, other government actors. Given the concerns discussed
              in connection with Recommendation 3.2, the group should consider issues related to
              the use of audio or video recordings during victim interviews and subject employee
              interviews; taking sworn statements from victims and subject employees; placing a
              victim before a grand jury to testify; preservation and collection of evidence, including
              BOP video footage; and the Department’s role in and approach to representing BOP
              personnel accused of sexual abuse in civil proceedings. The Advisory Group should
              also oversee data collection and analysis, see Recommendation 1.5.3, and consider
42
   Because of the different roles of investigative and prosecutive victim advocates, the Working Group
recognizes that a single victim advocate may not be suited to handle all aspects of a case from investigation
to prosecution in all cases.
                                                     23
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             ways to expand the “community of practice” that is created by the pilot group of POCs,
             including ways to engage and coordinate with local prosecutors responsible for sex
             crimes prosecutions where federal jurisdiction may overlap. The purpose of such
             coordination and collaboration is to determine whether federal prosecution may better
             remedy the violation, to ensure that federal interests are appropriately vindicated, and
             to facilitate the effective identification, investigation, and prosecution of such
             allegations.

     4.6.2   Consider dedicating investigators to crimes of sexual misconduct. We recommend
             that the Advisory Group consider the viability of the Department creating a specialized
             unit, team, or task force of sex crimes investigators. For example, the FBI does not
             have a cadre of agents who are trained in best practices for sexual assault investigations,
             including trauma-informed interviewing. 43 This stands in contrast to many local and
             some federal law enforcement agencies with dedicated sex crimes units. 44 As the Group
             considers whether and how to adopt a specialized unit at the Department, relevant
             components could consider whether such agents will be from OIG, the FBI, or some
             combination thereof, as well as the interplay of these investigations with human
             trafficking and child exploitation investigations.

     4.6.3   Consider identifying POCs for sexual misconduct cases across all USAOs.          In
             Recommendation 4.1, we proposed that USAOs with BOP facilities that house female
             inmates in their districts be directed to create a POC dedicated to responding to
             allegations of sexual misconduct. The Advisory Group could assess the effectiveness
             of this POC system and consider whether it should be expanded to all USAOs whose
             districts contain BOP facilities—male or female—or to all USAOs across the country.

     4.6.4   Assess the role of BOP’s Central Office in overseeing applicable policies, procedures,
             and compliance. The Advisory Group should assess whether BOP’s Central Office is
             receiving sufficient levels of notice and conducting appropriate oversight of policies
             and procedures to root out sexual misconduct by BOP personnel and is sufficiently
             engaged in overseeing compliance therewith.

     5. Enhance the Use of Administrative Actions and Discipline of Sexual
        Misconduct by BOP Staff.
       When a BOP employee is the subject of credible allegations of sexual misconduct,
administrative action is critical to protect the safety of the reporter and to hold accountable the
43
  Agents assigned to investigate crimes in Indian Country may be the exception by default, but they are
assigned to investigate violent crime in general. Moreover, it is the Subcommittee’s understanding that
there is no mandatory specialized sex crimes training for any FBI agent.
44
  The Department of Defense, for example, is developing Offices of Special Trial Counsel devoted entirely
to the prosecuting of military sex crimes.
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perpetrator. In the view of the Working Group, supported by input from BOP, BOP’s decisions
on reassignment, administrative leave, and appropriate discipline require more effective and
heightened levels of review. As a result, the Working Group focused on ways to (1) ensure
appropriate separation between the reporting party, the victim (if someone other than the reporting
party), and the alleged perpetrator, and (2) elevate allegations and disposition of those allegations
to sufficiently high levels within BOP to ensure appropriate oversight of the disciplinary action
process. Recommendations 5.1-5.4 operate in the context of BOP’s current disciplinary
procedures and are intended for immediate implementation. Recommendation 5.5 is meant to
supplement these recommendations as a long-term course of action to be implemented over time.

       5.1      Issue immediate tone-from-the-top guidance from the BOP Director.

   5.1.1     Issue message of gravity of misconduct and seriousness of consequences. The Director
             of BOP should issue a message reiterating the gravity of sexual misconduct and
             expressing that sexual misconduct will not be tolerated.

   5.1.2     Issue directive highlighting attention to sexual misconduct allegations from BOP
             leadership and the Director. The BOP Director should issue a directive instructing
             Chief Executive Officers (“CEOs”) of BOP facilities, including wardens, that
             immediately upon receiving any allegation of sexual misconduct, the CEOs must report
             it to their Regional Director and to BOP OIA, which will track all allegations of sexual
             misconduct and report them to the Director’s Office.

   5.1.3     Issue guidance that reiterates that all allegations of misconduct must receive
             individualized and equitable treatment. In particular, the BOP Director should issue
             guidance to relevant staff reiterating that all administrative misconduct assessments,
             investigations, and disciplinary determinations must be assessed on a case-by-case
             basis, without any prohibition against substantiating misconduct based on inmate
             testimony, and that the credibility of all alleged victims, suspects, and witnesses will
             be assessed on a case-by-case basis and not determined solely based on the person’s
             status as inmate or staff. This guidance, drawn from PREA, 34 U.S.C. § 30307, and
             implementing regulations, 28 C.F.R. Part 115, applies to all allegations of BOP staff
             misconduct.

       5.2      Promote the appropriate use of administrative actions or reassignment.

   5.2.1     Issue written guidance to ensure safety following serious allegations of sexual
             misconduct. BOP should circulate written guidance for CEOs to ensure they
             immediately leverage all available options to ensure the safety and security of the
             institution and its relevant populations (including the reporting party, the victim, if
             different than the reporting party, the overall prisoner population, and BOP staff) and
             to ensure that the sexual misconduct does not recur. The written guidance should
             include factors for CEOs to consider when deciding, for example, whether to assign
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         the subject of the investigation to other responsibilities or duties, place the subject on
         limited duty, recommend re-assignment of the subject to another facility or assignment
         within BOP, or recommend placing the employee on administrative leave. The CEO
         should likewise determine whether additional steps should be taken to protect victims
         and witnesses, which also should be documented.

5.2.2    Require documentation and review of CEO decisions. Together with the Regional
         Director, CEOs should consider how best to continue addressing the status of the
         accused employee while the allegations are pending. CEOs must document the
         decision they have made concerning whether to change the subject’s work assignments
         or take other administrative actions, which should be shared with Regional Directors
         and the Central Office. Regional Directors should ensure that the CEO’s determination
         is reasonable. The Employment Law Branch of the Office of General Counsel should
         track all decisions so that a regular report can be made to the BOP Director regarding
         BOP’s handling of sexual misconduct allegations and associated personnel and safety
         decisions.

5.2.3    Report to the Director on a regular basis regarding these decisions. In order to ensure
         transparency, accountability, and consistency about use of administrative leave and
         allegations of misconduct to BOP leadership, each region should regularly provide to
         the Central Office and the Director’s Office a summary report detailing the decisions
         regarding administrative and other leave resulting from allegations of sexual
         misconduct.

   5.3      Promote the appropriate use of administrative discipline.

5.3.1    Require reporting of disciplinary actions to the Director’s Office. To better promote
         accountability and consistency, at the conclusion of misconduct investigations, CEOs
         should be required to report to their supervising Regional Director the investigative
         findings, as well as proposed disciplinary actions, which can include reprimand,
         suspension, and/or removal from federal service. The Regional Director will then
         report the disposition to the Central Office and the Director’s Office, who will draw on
         that data in regularly reviewing the policies and procedures applicable to administrative
         discipline in these cases.

5.3.2    Commission a comprehensive review of employee discipline. In the long-term, BOP
         — potentially with help from outside consultants — should conduct a comprehensive
         and data-based review of options for discipline involving allegations of sexual
         misconduct. This should include whether there are options — such as training —
         available when there is insufficient evidence to take legal action (administrative or
         prosecutorial) to force separation but it nonetheless seems likely that abuse or
         harassment has occurred.

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APPENDICES
  • Appendix A – Data Requests and Policies Reviewed
  • Appendix B – Explanation of the Violence Against Women Act Reauthorization of 2022




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                                          APPENDIX A

Data

  •     From DOJ OIG:
           o Number of staff-on-inmate sexual misconduct complaints (FY 2017-2022 YTD)
           o Number of DOJ prosecutions for sexual misconduct (FY 2017-2022 YTD)
           o Number of complaints of sexual misconduct or abuse at each BOP Women’s
              Facility (January 2019-March 2022)
           o Number of BOP employees with multiple allegations of sexual misconduct (April
              2017-April 2022)
           o Number of complaints of staff-on-inmate sexual misconduct or abuse at all BOP
              facilities (with disposition) (FY 2016-2022 YTD)
                   Of these complaints, the number which OIG substantiated
                   Of these complaints, the number which OIG referred to BOP OIA (with
                       disposition)
                   Of these complaints, the number of which OIG referred (by entity) and the
                       number of such referrals declined, including (by entity)
           o Number of prosecutions related to staff-on-inmate sexual misconduct (FY 2016-
              2022 YTD)
                   For each of these prosecutions, identify which charges were brought (e.g.,
                       18 U.S.C. § 2243, 242, etc).
                   For each of these prosecutions, identify the entity was involved (USAO or
                       CRT or both)
           o Average length of time elapsed from (1) complaint of sexual misconduct to
              referral for prosecution; and (2) from referral to prosecution (2016-2022 YTD)

  •     From BOP OIA:
           o Number of complaints of staff-on-inmate sexual misconduct or abuse at female
              facilities (2017- 2021)
           o OIG referrals related to sexual misconduct to BOP OIA from female facilities,
              with disposition (January 2017 – March 2022)
            o Complaints of staff-on-inmate sexual misconduct and abuse at all facilities,
               including disposition (2016-2022 YTD)
                    If possible, please include a brief description of the allegation
            o Number of substantiated findings and description of discipline imposed by BOP
               in cases involving allegations of staff-on-inmate sexual misconduct (2016-2022
               YTD)
            o Number of BOP employees who, after previous discipline for misconduct, (i) are
               the subject of a separate allegation of sexual misconduct (regardless of
               disposition); and (ii) are the subject of a separate allegation of sexual misconduct
               that is sustained (2016-2022 YTD).

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    •    From EOUSA:
            o Identify (by case name and number) any BOP sexual misconduct cases
               prosecuted, including how the case was referred, what was charged, the case
               outcome, and the sentence imposed (2016-2022 YTD)
            o Identify any cases involving alleged sexual misconduct by BOP staff that they
               have declined (FY2016-FY2022 YTD)
    •    From FBI:
            o Number of sexual misconduct complaints to FBI in BOP facilities or BOP-
               contracted facilities where the allegations were staff-on-inmate (FY 2017-2022
               YTD)
                   Number of these allegations that FBI jointly investigated with DOJ OIG
                   Number of such allegations that were marked as a potential civil rights
                      violation.
            o Number of such allegations referred (by entity) and the number of such referrals
               declined (by entity)

Policies/Guidance

   •    BOP Master Collective Bargaining Agreement
   •    BOP Program Statements
           o P.S. 1210.24 – Office of Internal Affairs
           o P.S. 1330.18 – Administrative Remedy Program
           o P.S. 1351.05 – Release of Information
           o P.S. 3420.11 – Standards of Employee Conduct
           o P.S. 3713.24 – Discrimination and Retaliation Complaints Processing
           o P.S. 3713.25 – BOP Anti-Discrimination Policy
           o P.S. 3713.26 – BOP Anti-Harassment Policy
           o P.S. 3730.05 – Workplace Violence Prevention, Staff
           o P.S. 5324.12 – Sexually Abusive Behavior Prevention and Intervention Program
   •    Office of Internal Affairs Annual Report for FY2020, FY2019, FY2018, FY2017, and
        FY2016


Other Materials
   • Combined Press Releases of Recent Prosecutions Involving Sexual Misconduct by BOP
      Staff
   • BOP Sexual Abusive Behavior Prevention and Intervention Booklet (For Offenders)
   • BOP PREA Poster (English)
   • DOJ Book: Sexual Misconduct by Law Enforcement and Other Government Actors
   • Fara Gold, 2022 Update: Prosecuting Sexual Misconduct by Government Actors, DOJ
      Journal of Federal Law and Practice 49 (March 2022)


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•    Sexual Misconduct Committed by Law Enforcement & Other Government Actors
     (PowerPoint)




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                                      APPENDIX B

          2022 VAWA Sexual Misconduct Statutes: Effective as of Oct. 1, 2022

-    18 U.S.C. § 250 (Penalties for Civil Rights Offenses Involving Sexual Misconduct): This
     statute applies to all Chapter 13 Offenses, i.e., violations of 18 U.S.C. §§ 241, 242 and
     hate crime statutes.

        o This new penalty statute will mostly impact violations of 18 U.S.C. § 242
          (Deprivation of Rights Under Color of Law).

        o Prior to enactment of § 250, most color of law/sexual misconduct violations were
          misdemeanors, absent one of the Section 242 statutory enhancements; even
          coerced penetration, coerced oral sex; and groping under clothes were all
          misdemeanors.

        o Newly enacted 18 U.S.C. § 250 makes every form of sexual assault under color of
          law a felony. The potential penalty varies depending on the type of sexual conduct
          involved (i.e., sexual act or sexual contact, as defined pursuant to 18 U.S.C.
          § 2246(2) and (3), respectively), as well as other attendant circumstances (e.g.,
          whether the conduct was under or through clothing; whether the conduct involved
          coercion, physical force, or placing the victim in fear of varying degrees of
          physical harm; whether the victim was physically incapable of showing
          unwillingness or was otherwise rendered unconscious by the defendant).

        o Because 18 U.S.C. § 250 is a penalty statute, it should be charged in conjunction
          with substantive civil rights violations, e.g., 18 U.S.C. § 242 or hate crimes.

        o For a violation of 18 U.S.C. § 242 based on sexual misconduct committed under
          color of law, the government must prove that the victim did not consent and that
          the defendant had no legitimate purpose (such as in the case of a pretextual
          medical procedure or a gratuitous pat search).

        o Resources for investigating and prosecuting sexual misconduct under color of law
          can be found here: https://dojnet.doj.gov/usao/eousa/ole/tables/subject/sexle.htm

-    New Provision Under 18 U.S.C. § 2243, now called “Sexual Abuse of a Minor, Ward,
     or an Individual in Custody:”

        o The new provision, 18 U.S.C. § 2243(c), makes it a federal crime for a federal
          law enforcement officer, while acting in that capacity, to “knowingly engage in a
          sexual act with an individual who is under arrest, under supervision, in detention,

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              or in Federal custody.” It is a felony punishable up to 15 years in prison, and
              consent is not a defense.

           o This applies to every federal law enforcement officer as defined by 18 U.S.C. §
             115.


   -    New Provision Under 18 U.S.C. § 2242 (Sexual Abuse).

           o The new provision, 18 U.S.C. § 2242(3), makes it a crime to “knowingly engage[]
             in a sexual act with another person without that other person’s consent, to include
             doing so through coercion” where there is federal jurisdiction (e.g., in SMTJ,
             federal prisons, etc.).

           o This provision filled a statutory gap by extending the sexual abuse statute to
             criminalize all nonconsensual sexual acts that occur (e.g., in SMTJ, federal
             prisons, etc.).


These statutes went into effect on October 1, 2022, and cannot be applied retroactively.




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